                Case 24-10164-KBO               Doc 280       Filed 03/06/24         Page 1 of 119




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    CANO HEALTH, INC., et al                                         ) Case No. 24-10164 (KBO)
                                                                     )
                             Debtors.1                               ) (Jointly Administered)
                                                                     )

        GLOBAL NOTES AND STATEMENTS OF LIMITATION, METHODOLOGY,
          AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
        ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS



General

       The Schedules of Assets and Liabilities (collectively, the “Schedules”) and the Statements
of Financial Affairs (collectively, the “Statements” and, together with the Schedules,
the “Schedules and Statements”) filed by Cano Health, Inc. and certain of its subsidiaries, as
debtors and debtors in possession (collectively, the “Debtors”) in the above-captioned chapter 11
cases pending in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”), were prepared, pursuant to section 521 of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”), by the Debtors’ management, with the assistance of the
Debtors’ advisors.

       Although the Debtors’ management has made reasonable efforts to ensure the Schedules
and Statements are as accurate and complete as possible under the circumstances, based on
information available at the time of preparation, inadvertent errors, inaccuracies, or omissions may
have occurred and subsequent information or discovery may result in material changes to these
Schedules and Statements.

        The Schedules and Statements are unaudited and subject to potential adjustment. Because
the Schedules and Statements contain unaudited information and remain subject to further review,
verification, and potential adjustment, there can be no assurance these Schedules and Statements
are complete. Nothing contained in the Schedules and Statements shall constitute a waiver of any
right of the Debtors, and the Debtors reserve all rights, to amend or supplement the Schedules and
Statements from time to time, in all respects, as may be necessary or appropriate, including, but
not limited to, the right to dispute or otherwise assert offsets or defenses to any claim reflected in

1     The last four digits of Cano Health, Inc.’s tax identification number are 4224. A complete list of the Debtors in
      the chapter 11 cases may be obtained on the website of the Debtors’ claims and noticing agent at
      https://www.kccllc.net/CanoHealth. The Debtors’ mailing address is 9725 NW 117th Avenue, Miami, Florida
      33178.
              Case 24-10164-KBO              Doc 280         Filed 03/06/24       Page 2 of 119




the Schedules and Statements as to amount, liability, or classification, or to otherwise subsequently
designate any claim as “disputed,” “contingent,” or “unliquidated.”

        The Debtors’ management prepared the Schedules and Statements with the assistance of
their advisors and other professionals and have necessarily relied upon the efforts, statements,
advice, and representations of personnel of the Debtors and the Debtors’ advisors and other
professionals. The Schedules and Statements have been signed by Eladio Gil, Interim Chief
Financial Officer of the Debtors. Accordingly, in reviewing and signing the Schedules and
Statements, Mr. Gil necessarily relied upon the efforts, statements, and representations of the
Debtors’ other personnel and professionals. Mr. Gil has not (and could not have) personally
verified the accuracy of each such statement and representation, including, but not limited to,
statements and representations concerning amounts owed to creditors, classification of such
amounts, and their addresses.

       The Schedules and Statements and Global Notes (as defined below) should not be relied
upon by any persons for information relating to current or future financial conditions, events, or
performances of the Debtors.

        These Global Notes and Statements of Limitation, Methodology, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Global Notes”) are incorporated by reference in, and comprise an integral part of, all of the
Schedules and Statements, and should be referred to and considered in connection with any review
of the Schedules and Statements.2

Description of the Cases and Reporting Date

        Beginning on February 4, 2024 (the “Petition Date”), the Debtors each commenced with
this Court a voluntary case under chapter 11 of the Bankruptcy Code. The Debtors are authorized
to continue to operate their business and manage their properties as debtors in possession pursuant
to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed
in these chapter 11 cases. The Debtors’ chapter 11 cases are being jointly administered for
procedural purposes only pursuant to Bankruptcy Rule 1015(b) and Rule 1015-1 of the Local Rules
of Bankruptcy Practice and Procedure of the United State Bankruptcy Court for the District of
Delaware (the “Local Bankruptcy Rules”) under Case No. 24-10164 (KBO). On February 21,
2024, the Office of the United States Trustee for the District of Delaware appointed the Official
Committee of Unsecured Creditors (the “Creditors’ Committee”). Additional information about
these chapter 11 cases, court filings, and claims information is available on the Debtors’
restructuring website: https://kccllc.net/canohealth.



2   These Global Notes supplement and are in addition to any specific notes contained in each Debtor’s Schedules or
    Statements. The fact that the Debtors have prepared a Global Note with respect to any of the Debtor’s individual
    Schedules and Statements and not to those of another should not be interpreted as a decision by the Debtors to
    exclude the applicability of such Global Note to any of the Debtors’ other Schedules and Statements, as
    appropriate. Disclosure of information in one Schedule, one Statement, or an exhibit or attachment to a Schedule
    or Statement, even if incorrectly placed, shall be deemed to be disclosed in the correct Schedule, Statement,
    exhibit, or attachment.



                                                         2
             Case 24-10164-KBO           Doc 280       Filed 03/06/24     Page 3 of 119




       The information contained in (i) Schedules A/B represents data of the Debtors as of
December 31, 2023, except with respect to Part 1, Question 3, which such data represents data of
the Debtors as of the Petition Date, and (ii) Schedules D, E, F, G, and H represents data of the
Debtors as of the Petition Date (such dates, the “Reporting Date”).

Basis of Presentation

        The Debtors prepare consolidated financial statements, which are audited annually.
Combining the assets and liabilities set forth in the Debtors’ Schedules and Statements would
result in amounts that would be substantially different from financial information that would be
prepared on a consolidated basis under Generally Accepted Accounting Principles (“GAAP”).
Therefore, these Schedules and Statements do not purport to represent financial statements
prepared in accordance with GAAP nor are they intended to fully reconcile to the consolidated
financial statements prepared by the Debtors.

        Unlike the consolidated financial statements, these Schedules and Statements reflect the
assets and liabilities of each separate Debtor, except where otherwise indicated. Information
contained in the Schedules and Statements has been derived from the Debtors’ books and records.
The Debtors attempted to attribute the assets and liabilities, certain required financial information,
and various cash disbursements to the particular Debtor entity. However, because the Debtors’
accounting systems, policies, and practices were developed for consolidated reporting purposes,
rather than reporting by legal entity, it is possible that not all assets, liabilities or amounts of cash
disbursements have been recorded with the correct legal entity on the Schedules and Statements.
Moreover, given the Company has gone through several acquisitions since 2020, there have been
limitations related to historical knowledge, which may impact reporting. Accordingly, the Debtors
reserve all rights to supplement and/or amend the Schedules and Statements in this regard.

        Moreover, given, among other things, the uncertainty surrounding the collection and
ownership of certain assets and the valuation and nature of certain liabilities, to the extent a Debtor
shows more assets than liabilities, it is not an admission that the Debtor was solvent as of the
Petition Date or at any time prior thereto. Likewise, to the extent a Debtor shows more liabilities
than assets, it is not an admission that the Debtor was insolvent at the Petition Date or any time
prior thereto.

Amendment

        While reasonable efforts have been made to prepare and file complete and accurate
Schedules and Statements, inadvertent errors or omissions may exist. The Debtors reserve all
rights to amend and/or supplement the Schedules and Statements from time to time as is necessary
or appropriate.

                 General Disclosures Applicable to Schedules and Statements

        1.      Causes of Action. Despite their reasonable efforts to identify all known assets, the
Debtors may not have listed all of their causes of action or potential causes of action against third
parties as assets in their Schedules and Statements. The Debtors reserve all of their rights with
respect to any claims or causes of action. These Global Notes and the Schedules and Statements



                                                   3
             Case 24-10164-KBO          Doc 280       Filed 03/06/24     Page 4 of 119




shall not be deemed a waiver of any such claims or causes of actions or in any way prejudice or
impair the assertion of such claims.

       2.       Recharacterization. The Debtors have made reasonable efforts to correctly
characterize, classify, categorize, and designate the assets, liabilities, claims, executory contracts,
unexpired leases, and other items reported in the Schedules and Statements. However, the Debtors
may have improperly characterized, classified, categorized, or designated certain items. The
Debtors reserve all of their rights to recharacterize, reclassify, recategorize, or redesignate items
reported in the Schedules and Statements at a later time as necessary or appropriate.

        3.      Claim Designations. The Debtors reserve all of their rights to dispute, and to assert
setoff rights, counterclaims, and defenses to any claim reflected on their Schedules or Statements
on any grounds, including, but not limited to, amount, liability, priority, status, and classification,
and to otherwise subsequently designate any claim as “contingent,” “unliquidated,” or “disputed.”

        4.     Unliquidated Claim Amounts. Claim amounts that could not be readily
quantified by the Debtors are scheduled as “unliquidated.”

       5.       Undetermined Amounts. The description of an amount as “undetermined” is not
intended to reflect upon the materiality of such amount.

        6.     Court Orders. Pursuant to certain final “first day” orders entered by the
Bankruptcy Court (the “First Day Orders”), the Debtors were authorized (but not directed) to
pay or satisfy, among other things, certain prepetition obligations owing to employees,
employment vendors, insurance and surety providers, banks and credit card providers, customers,
vendors, and taxing authorities. Accordingly, these liabilities may have been or may be satisfied
in accordance with such orders and therefore generally are not listed in the Schedules and
Statements. Regardless of whether such claims are listed in the Schedules and Statements, to the
extent such claims are satisfied pursuant to an order of the Bankruptcy Court (including the First
Day Orders), the Debtors reserve all rights to amend or supplement their Schedules and Statements
as is necessary or appropriate.

         7.      Valuation. In many instances, current market valuations are not maintained by or
readily available to the Debtors. It would be prohibitively expensive, unduly burdensome, and an
inefficient use of estate assets for the Debtors to obtain current market valuations of all of their
assets. Accordingly, unless otherwise indicated, net book values as of the Reporting Date are
reflected on the Schedules and Statements. Exceptions to this include operating cash, cash
equivalents, and certain other assets. Operating cash is presented as bank balances as of the
Petition Date. Certain other assets, such as investments in subsidiaries and other intangible assets,
are listed at undetermined amounts, as the net book values may vary materially from fair market
values. Amounts ultimately realized may vary from net book value (or other value so ascribed)
and such variance may be material. Accordingly, the Debtors reserve all rights to amend,
supplement, and adjust the value of each asset set forth herein. In addition, the amounts shown for
total liabilities exclude items identified as “unknown” or “undetermined,” and, thus, ultimate
liabilities may differ materially from those stated in the Schedules and Statements.




                                                  4
             Case 24-10164-KBO          Doc 280       Filed 03/06/24    Page 5 of 119




       8.      Liabilities. The Debtors have sought to allocate liabilities between the prepetition
and postpetition periods based on the information and research that was conducted in connection
with the preparation of the Schedules and Statements. As additional information becomes
available and further research is conducted, the allocation of liabilities between prepetition and
postpetition periods may change. The Debtors reserve the right to amend the Schedules and
Statements as they deem appropriate in this regard.

        9.      Excluded Assets and Liabilities. The Debtors believe that they have identified,
but did not necessarily value, all material categories of assets and liabilities in the Schedules and
Statements. The Debtors have excluded certain categories of assets, tax accruals, and liabilities
from the Schedules and Statements. The Debtors also have excluded rejection damage claims of
counterparties to executory contracts and unexpired leases that have been or may be rejected (if
any), to the extent such damage claims exist. In addition, certain immaterial assets and liabilities
may have been excluded.

       10.     Personally Identifiable Information. In accordance with the relief granted in the
Order Authorizing Implementation of Procedures to Protect Confidential Patient Information
[Docket No. 90] (the “Patient Confidentiality Order”) and due to the need to protect confidential
information and individual privacy, the home addresses of individuals have been redacted from
the Schedules and Statements.

        11.     Leases. The Debtors have not included in the Schedules and Statements the future
obligations of any operating leases. To the extent that there was an amount outstanding as of the
Petition Date, the creditor has been included on Schedule E/F of the Schedules.

        12.     Contingent Assets. The Debtors believe that they may possess certain claims and
causes of action against various parties. The Debtors may also possess contingent claims in the
form of various avoidance actions they could commence under the provisions of chapter 5 of the
Bankruptcy Code and other relevant non-bankruptcy laws. The Debtors, despite reasonable
efforts, may not have set forth all of their causes of action against third parties as assets in their
Schedules and Statements. The Debtors reserve all of their rights with respect to any claims, causes
of action, or avoidance actions they may have and nothing contained in these Global Notes or the
Schedules and Statements shall be deemed a waiver of any such claims, avoidance actions, or
causes of action or in any way prejudice or impair the assertion of such claims.

       13.      Receivables. The Debtors have included only the aggregate book value of accounts
receivables and have not listed individual customer receivable balance information as the Debtors
consider their customer list to be proprietary and confidential.

        14.     Guarantees and Other Secondary Liability Claims. The Debtors have used
reasonable efforts to locate and identify guarantees and other secondary liability claims
(collectively, “Guarantees”) in their executory contracts, unexpired leases, secured financings,
debt instruments, and other agreements. Where such Guarantees have been identified, they have
been included in the relevant Schedule H for the Debtor or Debtors affected by such Guarantees.
However, certain Guarantees embedded in the Debtors’ executory contracts, unexpired leases,
secured financings, debt instruments, and other agreements may have been inadvertently omitted.




                                                  5
             Case 24-10164-KBO          Doc 280       Filed 03/06/24    Page 6 of 119




        15.     Intellectual Property Rights. Exclusion of certain intellectual property should
not be construed to be an admission that such intellectual property rights have been abandoned,
have been terminated or otherwise have expired by their terms, or have been assigned or otherwise
transferred pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of certain
intellectual property should not be construed to be an admission that such intellectual property
rights have not been abandoned, have not been terminated or otherwise expired by their terms, or
have not been assigned or otherwise transferred pursuant to a sale, acquisition, or other transaction.
 The Debtors have made every effort to attribute intellectual property to the rightful Debtor owner;
however, in some instances, intellectual property owned by one Debtor may, in fact, be owned by
another. Accordingly, the Debtors reserve all of their rights with respect to the legal status of any
and all intellectual property rights.

        16.    Executory Contracts. The Debtors have not set forth executory contracts as assets
in the Schedules and Statements. The Debtors’ executory contracts have been set forth in Schedule
G. In addition, the businesses of the Debtors are complex—the Debtors have made diligent
attempts to properly identify all executory contracts and unexpired leases, but inadvertent errors,
omissions, or over-inclusion may have occurred.

       17.    Estimates. To prepare and file the Schedules as close to the Petition Date as
possible, management was required to make certain estimates and assumptions that affected the
reported amounts of these assets and liabilities. The Debtors reserve all rights to amend the
reported amounts of assets and liabilities to reflect changes in those estimates or assumptions.

       18.     Fiscal Year. Each Debtor’s fiscal year ends on December 31.

       19.     Property and Equipment. Unless otherwise indicated, owned property and
equipment are stated at net book value. The Debtors may lease furniture, fixtures, and equipment
from certain third-party lessors. Any such leases are set forth in the Schedules and Statements.
Nothing in the Schedules and Statements is or should be construed as an admission as to the
determination of the legal status of any lease (including whether any lease is a true lease or a
financing arrangement), and the Debtors reserve all rights with respect to same.

         20.    Claims of Third-Party Related Entities. While the Debtors have made every
effort to properly classify each claim listed in the Schedules as being either disputed or undisputed,
liquidated or unliquidated, and contingent or noncontingent, the Debtors have not been able to
fully reconcile all payments made to certain third parties and their related entities on account of
the Debtors’ obligations to such parties. Therefore, to the extent the Debtors have classified their
estimate of claims of a creditor as disputed, all claims of such creditor’s affiliates listed in the
Schedules and Statements shall similarly be considered disputed, whether or not they are
designated as such.

        21.       Interest in Subsidiaries and Affiliates. Cano Health, Inc. (“CHI”) owns the
equity interests in Primary Care (ITC) Intermediate Holdings, LLC (“PCIH”) through 67.72%
economic interests and 100% voting interests. PCIH owns 100% of the membership interests in
Cano Health, LLC (“CH LLC”). CH LLC directly or indirectly owns 100% of the membership
interests in all remaining Debtors. Each Debtor’s Schedule A/B Part 4, Question 15.1 or Statement
Part 13, Question 25 schedules its ownership interests, if any, in subsidiaries and affiliates. Assets


                                                  6
             Case 24-10164-KBO          Doc 280       Filed 03/06/24   Page 7 of 119




such as investments in subsidiaries are listed as undetermined amounts as of the Petition Date
because the book values may materially differ from fair market values.

       In order for the Debtors to deliver healthcare services to patients in certain markets, the
Debtors contracted with entities (the “Physicians Groups”) that enabled the Debtors to employ
healthcare providers to contract with managed care payors. Each Physician Group contracted
with the Company through a Management Services Agreement (“MSA”), which allowed such
Physician Groups to provide certain services. Prior to the Petition Date, the Debtors terminated
such MSAs and have sold all or substantially all of the assets of the Physicians Groups.

       Notwithstanding such agreements having been terminated, the Schedules and Statements
for CH LLC provide financial figures for the Physician Groups, which include Cano Health
Texas, PLLC, Cano Health Nevada, PLLC, Cano Health California, PC, CHC Provider Network,
PC and Cano Health Illinois, PLLC.

         22.   Other Paid Claims. To the extent the Debtors have reached any postpetition
settlement with a vendor or other creditor, the terms of such settlement will prevail, supersede
amounts listed in the Schedules and Statements, and shall be enforceable by all parties, subject to
Bankruptcy Court approval. To the extent the Debtors pay any of the claims listed in the Schedules
and Statements pursuant to any orders entered by the Bankruptcy Court, the Debtors reserve all
rights to amend and supplement the Schedules and Statements and take other action, as is necessary
and appropriate to avoid overpayment or duplicate payment for such liabilities.

         23.     Insiders. For purposes of the Schedules and Statements, the Debtors define
“insiders” as current or former officers, directors, anyone in control of a corporate Debtor, and
any relative of the foregoing. The listing of a party as an insider for purposes of the Schedules and
Statements is not intended to be, nor should it be, construed as an admission of any fact, right,
claim, or defense and all such rights, claims, and defenses are hereby expressly reserved.
Information regarding the individuals listed as insiders in the Schedules and Statements has been
included for informational purposes only and such information may not be used for: (1) the
purposes of determining (a) control of the Debtors, (b) the extent to which any individual exercised
management responsibilities or corporate decision-making authority over the Debtors, or (c)
whether such individual could successfully argue that he or she is not an insider under applicable
law, including the Bankruptcy Code and federal securities laws, or with respect to any theories of
liability; or (2) any other purpose.

        24.     Payments. The financial affairs and businesses of the Debtors are complex. Prior
to the Petition Date, the Debtors maintained a cash management and disbursement system in the
ordinary course of their businesses (the “Cash Management System”) (as described in greater
detail in the Cash Management Motion [Docket No. 3]). Although efforts have been made to
attribute open payable amounts to the correct legal entity, the Debtors reserve the right to modify
or amend their Schedules and Statements to attribute such payment to a different legal entity, as is
necessary or appropriate. Payments made are listed by the legal entity making such payment
notwithstanding that many such payments may have been made on behalf of another legal entity.

        25.   Totals. All totals that are included in the Schedules and Statements represent totals
of all the known amounts included in the Schedules and Statements. To the extent there are


                                                  7
             Case 24-10164-KBO          Doc 280       Filed 03/06/24   Page 8 of 119




unknown or undetermined amounts, the actual total may be different than the listed total. The
description of an amount as “unknown” or “undetermined” is not intended to reflect upon the
materiality of such amount. To the extent a Debtor is a guarantor of debt held by another Debtor,
the amounts reflected in these Schedules are inclusive of each Debtor’s guarantor obligations.

        26.     Governmental or Regulatory Investigations. The Company may, from time to
time, be subject to various information requests, inquiries, or investigations from certain local,
state, or federal regulatory or governmental agencies or authorities. Such information requests,
inquiries, or investigations, may or may not ultimately result in claims asserted against the
Company. No such claims have been asserted at this time and accordingly have not been
scheduled.

Specific Notes Regarding Schedule A/B

        1.      Schedule A/B, Part 1, Question 3 – Checking, Savings, or Other Financial
Accounts, CDs, etc. The information in response to this Schedule lists closing bank balances as
of the Petition Date. See Interest in Subsidiaries and Affiliates ¶ 21 in the Schedules section of
these Global Notes.

         2.    Schedule A/B, Part 2, Questions 5-8 – Deposits and Prepayments. Certain
prepaid or amortized assets are listed in Part 2 in accordance with the Debtors’ books and records.
The amounts listed in Part 2 do not necessarily reflect assets the Debtors will be able to collect or
realize. The amounts listed in Part 2 include, among other things, security and other deposits,
facilities management prepayments and surety deposits.

       Prepaid expenses can consist of cash in advance amounts paid to certain vendors in
connection with the Debtors’ operations.

        Schedule A/B Part 3, Question 11 – Accounts Receivable. The Debtors’ accounts
receivable information includes receivables from the Debtors’ customers, vendors, and other third
parties, which are calculated net of any amounts that, as of the Petition Date, may be owed to such
parties in the form of offsets or other price adjustments. As a value-based healthcare provider, the
Debtors can generate a surplus receivable when medical expenses are lower relative to the gross
revenue for a given health plan. In the ordinary course of business, these surplus receivables may
be offset with previous deficit payables generated under the health plans. Due to the nature of the
surplus calculations, the Debtors do not maintain an aging for their accounts receivable and all
accounts receivable is listed as under 90 days. In certain other circumstances, the Debtors’
accounts receivables may, in the Debtors’ opinion, be difficult to collect from third parties due to
the passage of time or other circumstances.

      3.      Schedule A/B, Part 4, Question 15 – Stock and Interests in Incorporated and
Unincorporated Businesses. The Debtors have not performed a valuation analysis regarding such
ownership interests listed in response to this Schedule.

        4.     Schedule A/B, Part 7, Question 39 and Question 41 – Office Furniture and
Equipment. The Debtors’ office equipment, furnishings, and supplies are capitalized based on
their accounting policies and procedures. The asset values are listed at estimated net book value.
Equipment construction in progress is listed at cost.


                                                  8
             Case 24-10164-KBO          Doc 280       Filed 03/06/24    Page 9 of 119




        5.      Schedule A/B, Part 8, Item 50 – Other Machinery and Equipment. Net book
value amounts listed in this Schedule are reflected on a book basis as recorded on the fixed asset
register for each applicable Debtor. Construction in progress is listed at cost.

         6.      Schedule A/B, Part 10, Items 60 and 61 – Patents, Copyrights, Trademarks,
Trade Secrets, Internet Domain Names and Websites. The Debtors’ ownership interests in
their intellectual property are shown as undetermined. The Debtors have not performed a valuation
analysis regarding such assets.

        7.     Schedule A/B, Part 10, Item 63 – Customer Lists, Mailing Lists, or Other
Compilations. The Debtors collect and retain personally identifiable information about their
patients, including names, addresses, phone numbers, medical records, and other information.
Pursuant to the Patient Confidentiality Order, the Debtors have not provided a list of patients, and
the Debtors have not performed a valuation analysis regarding such information.

        8.    Schedule A/B, Part 11, Item 72 – Tax Refunds and Unused Net Operating
Losses (NOLs). The Debtors’ tax advisors are in the process of assessing the nature and quantity
of available NOLs. The analysis is not complete as of the time of the filing of this Schedule, and
the Debtors have listed the values of the NOLs as undetermined.

       9.     Schedule A/B, Part 11, Item 74 – Causes of Action Against Third Parties.
Schedule A/B contains information regarding potential and pending litigation involving the
Debtors. In certain instances, the Debtor that is the subject of the litigation is unclear or
undetermined. To the extent that litigation involving a particular Debtor has been identified,
however, such information is contained in the Schedule for that Debtor (even though the litigation
may actually impact another Debtor or non-Debtor affiliate).

Specific Notes Regarding Schedule D

        Except as otherwise agreed pursuant to a stipulation or agreed order or general order
entered by the Bankruptcy Court, the Debtors reserve their rights to dispute or challenge validity,
perfection, or immunity from avoidance of any lien purported to be granted or perfected in any
specific asset to a secured creditor listed on Schedule D of any Debtor. Moreover, although the
Debtors may have scheduled claims of various creditors as secured claims, the Debtors reserve all
rights to dispute or challenge the secured nature of any such creditor’s claim or the characterization
of the structure of any such transaction or any document or instrument (including, without
limitation, any intercompany agreement) related to such creditor’s claim. Further, while the
Debtors have included the results of Uniform Commercial Code searches, the listing of such results
is not, nor shall it be deemed, an admission as to the validity of any such lien. Conversely, the
Debtors made reasonable, good faith efforts to include all secured creditors on Schedule D, but
may have inadvertently failed to include an existing secured creditor because of, among other
things, the possibility that a lien may have been imposed after the Uniform Commercial Code
searches were performed or a vendor may not have filed the requisite perfection documentation.

       The Debtors have not included on Schedule D parties that may believe their claims are
secured through setoff rights. The Debtors have reported outstanding letters of credit in Schedule
D. Moreover, certain creditors are currently in possession of the Debtors’ property and, therefore,



                                                  9
            Case 24-10164-KBO         Doc 280      Filed 03/06/24     Page 10 of 119




may have statutory liens in such property. The Debtors have not done an analysis as to whether
such creditors hold secured claims or the value of the property held by such creditors but have
identified such parties on Schedule D as secured creditors out of an abundance of caution.

        With respect to the Debtors’ funded debt, only the administrative agent(s) have been listed
for purposes of Schedule D. The amounts reflected outstanding under the Debtors’ prepetition
loan facilities reflect principal and interest amounts as of the Petition Date.

        In certain instances, a Debtor may be a co-obligor, co-mortgagor, or guarantor with respect
to scheduled claims of other Debtors, and no claim set forth on Schedule D of any Debtor is
intended to acknowledge claims of creditors that are otherwise satisfied or discharged by other
entities.

        The descriptions provided in Schedule D are intended only as a summary. Reference to
the applicable loan agreements and related documents is necessary for a complete description of
the collateral and the nature, extent, and priority of any liens. Nothing in the Global Notes or the
Schedules and Statements shall be deemed a modification or interpretation of the terms of such
agreements.

        Any changes to the status of any liens or security rights since the Petition Date may not be
adequately reflected in Schedule D. Therefore, the Debtors may have listed claims with secured
status that have changed, or failed to list certain parties whose claims may be secured through
rights of setoff, deposits or advance payments posted by, or on behalf of, the Debtors, or judgment
or statutory lien rights on Schedule D.

Specific Notes Regarding Schedule E/F

        1.      Schedule E/F, Part 1, Question 1 – Creditors Holding Priority Unsecured
Claims. The Debtors reserve all rights to dispute the amount and/or the priority status of any
claim on Schedule E/F on any basis at any time. Claims owing to various taxing authorities to
which the Debtors potentially may be liable are included on the Debtors’ Schedule E/F. Certain
of such claims, however, may be subject to ongoing audits and/or the Debtors otherwise are unable
to determine with certainty the amount of the remaining claims listed on Schedule E/F. Therefore,
the Debtors have listed all such claims as unknown in amount, pending final resolution of ongoing
audits or other outstanding issues.

        The Bankruptcy Court entered a Final Order granting authority to the Debtors to pay certain
prepetition employee wage and benefit obligations [Docket No. 245] (the “Employee Wages
Final Order”). Pursuant to the Employee Wages Final Order, the Bankruptcy Court granted the
Debtors authority to pay or honor certain prepetition obligations for employee wages, salaries,
reimbursable employee expenses, and other obligations on account of compensation and benefits
programs. The Debtors have not listed on Schedule E/F any wage or wage-related obligations for
which the Debtors have been granted authority to and have paid or intend to pay pursuant to the
Employee Wages Final Order. The Debtors have not included in the Schedules and Statements (i)
accrued paid time off balances as of the Petition Date, and (ii) any prepetition amounts that may
be due employees, including provider employees, under any discretionary bonus or similar
programs, which were not reconciled prior to the Petition Date. The Debtors have listed in



                                                10
            Case 24-10164-KBO           Doc 280     Filed 03/06/24      Page 11 of 119




Schedule E/F outstanding severance amounts for former employees up to the $15,150 cap. The
Debtors will make available to their employees accrued paid time off balances as of the date of
their termination of employment with the Debtors in accordance with applicable law and will
supplement the Schedules and Statements as necessary.

       2.      Schedule E/F, Part 2, Question 3 – Creditors Holding Nonpriority Unsecured
Claims. The Debtors have used commercially reasonable efforts to list all general unsecured
claims against the Debtors on Schedule E/F based upon the Debtors’ existing books and records.
Trade payables listed on Schedule E/F contain the prepetition liability information available to the
Debtors as of the filing date of the Schedules.

         Schedule E/F does not include certain deferred credits, deferred charges, deferred
liabilities, accruals, or general reserves. Such amounts are general estimates of liabilities and do
not represent specific claims as of the Petition Date; however, such amounts are reflected on the
Debtors’ books and records as required in accordance with GAAP. Such accruals are general
estimates of liabilities and do not represent specific claims as of the Petition Date.

        Schedule E/F does not include certain reserves for potential unliquidated contingencies that
historically were carried on the Debtors’ books as of the Petition Date. Such reserves were for
potential liabilities only and do not represent actual liabilities as of the Petition Date.

       The claims listed in Schedule E/F arose or were incurred on various dates. In certain
instances, the date on which a claim arose is an open issue of fact. Determining the date upon
which each claim in Schedule E/F was incurred or arose would be unduly burdensome and cost
prohibitive and, therefore, the Debtors do not list a date for each claim listed on Schedule E/F.

       Schedule E/F contains information regarding potential and pending litigation involving the
Debtors. In certain instances, the Debtor that is the subject of the litigation is unclear or
undetermined. To the extent that litigation involving a particular Debtor has been identified,
however, such information is contained in the Schedule for that Debtor (even though the litigation
may actually impact another Debtor or non-Debtor affiliate).

        As of the Petition Date, the Debtors estimate they have approximately one million current
and former patients (collectively, the “Patients”). The Debtors generally contract with their health
plan payors to deliver accountable care in exchange for receiving recurring capitated revenue from
the health plans, rather than interfacing with Patients in a fee-for-service context. Patients are,
thus, typically billed directly by their healthcare plans and not by the Debtors. In addition, pursuant
to the relief granted by the Court under the final refunds order [Docket No. 260] and the bar date
order [Docket No. 259], each dated March 5, 2024, the Debtors are authorized to pay any Patient
claims for refunds arising in the ordinary course of business and Patients need not file claims for
any such refund amount. Accordingly, to the best of the Debtors’ knowledge and belief, the
Debtors’ Patients do not hold claims against the Debtors and have not been listed individually in
the Schedules. Moreover, a determination of the amount of any claim that each of the Debtors’
current and former patients may hold would be unduly burdensome and cost prohibitive. However,
to the extent any current or former patient is a known creditor of the Debtors (e.g., medical
malpractice claimant, slip and fall claimant, etc.), the Debtors have endeavored to include such
parties in the Schedules.


                                                  11
            Case 24-10164-KBO          Doc 280     Filed 03/06/24      Page 12 of 119




       Schedule E/F reflects the prepetition amounts owing to counterparties to executory
contracts and unexpired leases. Such prepetition amounts, however, may be paid in connection
with the assumption, or assumption and assignment, of an executory contract or unexpired lease.
In addition, Schedule E/F does not include rejection damage claims of the counterparties to the
executory contracts and unexpired leases that have been or may be rejected, to the extent such
damage claims exist.

        Except in certain limited circumstances, the Debtors have not scheduled contingent and
unliquidated liabilities related to guaranty obligations on Schedule E/F. Such guaranties are,
instead, listed on Schedule H.

        The claims of individual creditors for, among other things, goods, services, or taxes listed
on the Debtors’ books and records may not reflect credits or allowances due from such creditors.
The Debtors reserve all of their rights in respect of such credits or allowances. The dollar amounts
listed may be exclusive of contingent or unliquidated amounts.

        Unless the Debtors were required to pay ancillary costs, such as freight, miscellaneous fees
and taxes, such costs are not included in the liabilities scheduled, as such amounts do not represent
actual liabilities of the Debtor.

       Although the Debtors have made commercially reasonable efforts to identify all known
general unsecured claims, the Debtors may not have identified and/or set forth all such claims.

Specific Notes Regarding Schedule G

        While the Debtors’ existing books, records, and financial systems have been relied upon to
identify and schedule executory contracts on each of the Debtor’s Schedule G, and while the
Debtors have devoted substantial internal and external resources to identifying and providing the
requested information for as many executory contracts as possible and to ensuring the accuracy of
Schedule G, inadvertent errors, omissions, or over-inclusions may have occurred. The Debtors do
not make, and specifically disclaim, any representation or warranty as to the completeness or
accuracy of the information set forth on Schedule G. The Debtors hereby reserve all of their rights
to dispute the validity, status, or enforceability of any contract, agreement, or lease set forth in
Schedule G and to amend or supplement Schedule G as necessary. The contracts, agreements,
and leases listed on Schedule G may have expired or may have been modified, amended, or
supplemented from time to time by various amendments, restatements, waivers, estoppel
certificates, letters, memoranda, and other documents, instruments, and agreements that may not
be listed therein despite the Debtors’ use of reasonable efforts to identify such documents. Further,
unless otherwise specified on Schedule G, each executory contract or unexpired lease listed
thereon shall include all exhibits, schedules, riders, modifications, declarations, amendments,
supplements, attachments, restatements, or other agreements made directly or indirectly by any
agreement, instrument, or other document that in any manner affects such executory contract or
unexpired lease, without respect to whether such agreement, instrument or other document is listed
thereon.




                                                 12
            Case 24-10164-KBO           Doc 280      Filed 03/06/24      Page 13 of 119




       In some cases, the same supplier or provider appears multiple times on Schedule G. This
multiple listing is intended to reflect distinct agreements between the applicable Debtor and such
supplier or provider.

         In the ordinary course of business, the Debtors may have issued numerous purchase orders
for supplies, product, and related items which, to the extent that such purchase orders constitute
executory contracts, are not listed individually on Schedule G. To the extent that goods were
delivered under purchase orders prior to the Petition Date, vendors’ claims with respect to such
delivered goods are included on Schedule E/F. Similarly, in the ordinary course of business, the
Debtors may have issued numerous statements of work or similar documents for services which,
to the extent that such statements of work or similar documents constitute executory contracts, are
not listed individually on Schedule G. To the extent that services were delivered under statements
of work prior to the Petition Date, vendors’ claims with respect to such services are included on
Schedule E/F.

        As a general matter, certain of the Debtors’ executory contracts and unexpired leases could
be included in more than one category. In those instances, one category has been chosen to avoid
duplication. Further, the designation of a category is not meant to be wholly inclusive or
descriptive of the entirety of the rights or obligations represented by such contract.

        Certain of the executory contracts and unexpired leases listed on Schedule G may contain
certain renewal options, guarantees of payment, options to purchase, rights of first refusal, right to
lease additional space, and other miscellaneous rights. Such rights, powers, duties, and obligations
are not set forth separately on Schedule G. In addition, the Debtors may have entered into various
other types of agreements in the ordinary course of their business, such as easements, rights of
way, subordination, nondisturbance, and attornment agreements, supplemental agreements,
amendments/letter agreements, title agreements, employment-related agreements, and
confidentiality and non-disclosure agreements. Such documents may not be set forth in Schedule
G.

        The Debtors hereby reserve all of their rights, claims, and causes of action with respect to
the contracts and agreements listed on Schedule G, including the right to dispute or challenge the
characterization or the structure of any transaction, document, or instrument related to a creditor’s
claim, to dispute the validity, status, or enforceability of any contract, agreement, or lease set forth
in Schedule G, and to amend or supplement Schedule G as necessary. Inclusion of any agreement
on Schedule G does not constitute an admission that such agreement is an executory contract or
unexpired lease and the Debtors reserve all rights in that regard, including, without limitation, that
any agreement is not executory, has expired pursuant to its terms, or was terminated prepetition.

        In addition, certain of the agreements listed on Schedule G may be in the nature of
conditional sales agreements or secured financings. The presence of a contract or agreement on
Schedule G does not constitute an admission that such contract or agreement is an executory
contract or unexpired lease. The Debtors reserve all of their rights, claims, and causes of action
with respect to the contracts and agreements listed on Schedule G, including the right to dispute or
challenge the characterization or the structure of any transaction, or any document or instrument
(including, without limitation, any intercreditor or intercompany agreement) related to a creditor’s
claim. Certain of the contracts, agreements, and leases listed on Schedule G may have been entered


                                                  13
            Case 24-10164-KBO          Doc 280      Filed 03/06/24     Page 14 of 119




into by more than one of the Debtors. Further, the specific Debtor obligor to certain of the
executory contracts or unexpired leases could not be specifically ascertained in every
circumstance. In such cases, the Debtors used their best efforts to determine the correct Debtor’s
Schedule G on which to list such executory contract or unexpired lease.

       In the ordinary course of business, the Debtors have entered into numerous contracts or
agreements, both written and oral, regarding the provision of certain services on a month to month
basis. To the extent such contracts or agreements constitute executory contracts, these contracts
and agreements may not be listed individually on Schedule G.

        Certain of the executory contracts may not have been memorialized and could be subject
to dispute. Executory agreements that are oral in nature have not been included in Schedule G.

        Certain of the executory contracts and unexpired leases listed in Schedule G were assigned
to, assumed by, or otherwise transferred to certain of the Debtors in connection with, among other
things, acquisitions by the Debtors. The Debtors used their best efforts to determine the correct
Debtor’s Schedule G on which to list such executory contract or unexpired lease.

Specific Notes Regarding Schedule H

       The Debtors are party to various debt agreements, which were executed by multiple
Debtors. The Debtors may not have identified certain guarantees that are embedded in the Debtors’
executory contracts, unexpired leases, secured financings, debt instruments, and other agreements.
Further, certain of the guarantees reflected on Schedule H may have expired or may no longer be
enforceable. Thus, the Debtors reserve their rights to amend Schedule H to the extent that
additional guarantees are identified, or such guarantees are discovered to have expired or become
unenforceable.

        In the ordinary course of their business, the Debtors may be involved in pending or
threatened litigation and claims arising out of certain ordinary course of business transactions.
These matters may involve multiple plaintiffs and defendants, some or all of whom may assert
cross-claims and counter-claims against other parties. Because such claims are contingent,
disputed, and/or unliquidated, such claims have not been set forth individually on Schedule H.
However, some such claims may be listed elsewhere in the Schedules and Statements.

         The inclusion of or failure to include any entity on Schedule H does not constitute a waiver
or an admission that such entity is a co-debtor or co-liable with respect to any pending or threatened
litigation. The Debtors reserve all rights with respect to any claims related to any pending or
threatened litigation.

Specific Notes Regarding Statements

       1.      Statements, Part 1, Question 1 – Gross Revenue from Business. The
information provided in response to this Statement reflects Gross Revenue by the Debtors in fiscal
year 2021, fiscal year 2022 and fiscal year 2023.




                                                 14
            Case 24-10164-KBO         Doc 280      Filed 03/06/24     Page 15 of 119




       2.     Statements, Part 1, Question 2 – Non-Business Revenue. Debtors may receive
revenue from various other non-business sources of income which may not be listed in the
Statements. These other revenues are largely immaterial.

        3.      Statements, Part 2, Question 3 – Certain Payments or Transfers to Creditors
within 90 Days before the Petition Date. The information provided in response to this Statement
does not include insider payments (which transfers appear in the response to Part 2 Question 4),
transfers to bankruptcy professionals (which transfers appear in response to Part 6, Question 11)
or ordinary course compensation of individuals through salaries, wages, or related allowances.

        4.     Statements, Part 2, Question 4 – All Payments or Transfers to Insiders. Certain
of the Debtors’ directors and executive officers received distributions net of tax withholdings in
the year preceding the Petition Date. The amounts listed reflect the gross amounts paid to such
directors and executive officers rather than the net amounts after deducting for tax withholdings.
For the avoidance of doubt, the inclusion or omission of any individual in this Statement is not an
admission that such individual is or is not an insider of the Debtors.

        5.     Statements, Part 3, Question 7 – Legal Actions – While the Debtors believe they
were diligent in their efforts, it is possible that certain suits and proceedings may have been
inadvertently excluded in the Debtors’ response to this Statement. The Debtors reserve all of their
rights to amend or supplement their response to this Statement.

        6.      Statements, Part 6, Question 11 – Payments Related to Bankruptcy. All
payments for services of any entities that provided consultation concerning debt counseling or
restructuring services, relief under the Bankruptcy Code, or preparation of a petition in bankruptcy
within one year immediately preceding the Petition Date are listed on that Debtor’s response to
this Statement. Additional information regarding the Debtors’ retention of professional service
firms is more fully described in individual retention applications and related orders.

        7.      Statements, Part 13, Question 25 – Details About the Debtors’ Business or
Connections to Any Business. See Interest in Subsidiaries and Affiliates ¶ 21 in the Schedules
section of these Global Notes.

      8.      Statements, Part 13, Question 26 – Books, Records, and Financial Statements.
The Debtors financials are publicly filed.

        9.      Statements, Part 13, Question 30 – Payments to Insiders. Disbursements to
insiders of the Debtors have been listed in response to Statements, Part 2, Question 4.




                                                15
Cano Health, LLC            Case 24-10164-KBO           Doc 280        Filed 03/06/24     Page 16 of 119Case Number:        24-10167


   Part 1:    Income

1. Gross Revenue from business

       None




 Identify the Beginning and Ending Dates of the Debtor’s Fiscal Year, which    Sources of Revenue (Check all that       Gross
 may be a Calendar Year                                                        apply)                                 Revenue
                                                                                                                       (Before
                                                                                                                     Deductions
                                                                                                                         and
                                                                                                                     Exclusions)

 From the beginning of the fiscal year   From    1/1/2023    to   12/31/2023      Operating a business              $1,340,115,093
 to filing date:                                MM/DD/YYY         MM/DD/YYY       Other



 For prior year                          From    1/1/2022    to   12/31/2022      Operating a business              $1,582,787,230
                                                MM/DD/YYY         MM/DD/YYY       Other



 For the year before that                From    1/1/2021    to   12/31/2021      Operating a business              $1,613,217,314
                                                MM/DD/YYY         MM/DD/YYY       Other
Cano Health, LLC               Case 24-10164-KBO                    Doc 280          Filed 03/06/24             Page 17 of 119Case Number:                    24-10167


   Part 1:       Income

2. Non-business revenue

Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List
each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                              Description of Sources of Revenue                         Gross
                                                                                                                                                      Revenue
                                                                                                                                                       (Before
                                                                                                                                                     Deductions
                                                                                                                                                         and
                                                                                                                                                     Exclusions)

 From the beginning of the fiscal year to            From    1/1/2023 to 12/31/2023 CASH FROM DIVESTITURES                                             $37,968,834
 filing date:                                               MM/DD/YYY MM/DD/YYY



 From the beginning of the fiscal year to            From    1/1/2023 to 12/31/2023 INTEREST INCOME                                                       $199,861
 filing date:                                               MM/DD/YYY MM/DD/YYY



 From the beginning of the fiscal year to            From    1/1/2023 to 12/31/2023 NON-OPERATING INCOME - RESEARCH                                       $156,962
 filing date:                                               MM/DD/YYY MM/DD/YYY



 From the beginning of the fiscal year to            From    1/1/2023 to 12/31/2023 GAIN FROM DISPOSAL OF FIXED ASSETS                                    $605,180
 filing date:                                               MM/DD/YYY MM/DD/YYY



 From the beginning of the fiscal year to            From    1/1/2023 to 12/31/2023 SUBLEASE INCOME                                                     $1,341,286
 filing date:                                               MM/DD/YYY MM/DD/YYY
Cano Health, LLC                Case 24-10164-KBO                    Doc 280           Filed 03/06/24            Page 18 of 119Case Number:                     24-10167


    Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case

List payments or transfers — including expense reimbursements — to any creditor, other than regular employee compensation, within 90 days before filing this case
unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with
respect to cases filed on or after the date of adjustment.)

        None

 Creditor's Name and Address                                                                 Dates        Total Amount          Reasons for Payment or Transfer
                                                                                                            or Value

 3.1 1090 JUPITER PARK LLC                                                                 12/1/2023              $23,687         Secured debt
     1090 JUPITER PARK DR, 2ND FL JUPITER, FL 33458                                         1/5/2024              $23,687         Unsecured loan repayments
                                                                                            2/2/2024              $23,687         Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other
                                                             TOTAL 1090 JUPITER PARK LLC                          $71,060

 3.2 1990 N FEDERAL LLC                                                                    12/1/2023              $32,992         Secured debt
     3715 SOUTH OCEAN BLVD HIGHLAND BEACH, FL 33487                                         1/5/2024              $32,992         Unsecured loan repayments
                                                                                            2/2/2024              $32,992         Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other Landlord
                                                                 TOTAL 1990 N FEDERAL LLC                         $98,977

 3.3 2003 MCCOY ROAD, LLC                                                                 11/17/2023              $21,540         Secured debt
     PO BOX 621115 ORLANDO, FL 32862                                                       12/1/2023              $21,540         Unsecured loan repayments
                                                                                                                                  Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other Landlord
                                                              TOTAL 2003 MCCOY ROAD, LLC                          $43,079

 3.4 210 IT                                                                                11/6/2023              $24,356         Secured debt
     4706 SHAVANO OAK SAN ANTONIO, TX 78249                                                 1/5/2024              $24,356         Unsecured loan repayments
                                                                                           1/26/2024              $24,356         Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other
                                                                                     TOTAL 210 IT                 $73,069

 3.5 211 HOMESTEAD LLC                                                                     12/1/2023              $38,612         Secured debt
     1000 BRICKELL AVENUE STE 540 MIAMI, FL 33130                                           1/5/2024              $38,612         Unsecured loan repayments
                                                                                            2/2/2024              $38,612         Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other Landlord
                                                                 TOTAL 211 HOMESTEAD LLC                         $115,836

 3.6 2629 W HORIZON RIDGE LLC                                                              12/1/2023               $8,670         Secured debt
     2629 W HORIZON RIDGE, #140 HENDERSON, NV 89052                                                                               Unsecured loan repayments
                                                                                                                                  Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other
                                                        TOTAL 2629 W HORIZON RIDGE LLC                             $8,670

 3.7 2701 EAST ATLANTIC AVE LLC                                                           11/17/2023              $12,907         Secured debt
     2412 NW 87TH PL DORAL, FL 33172                                                       12/1/2023              $11,877         Unsecured loan repayments
                                                                                                                                  Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other
                                                      TOTAL 2701 EAST ATLANTIC AVE LLC                            $24,784

 3.8 276 FIFTH AVENUE REALTY CORP.                                                        11/17/2023              $15,978         Secured debt
     3518 VALLEYVIEW DRIVE KISSIMMEE, FL 34746                                             12/1/2023              $15,978         Unsecured loan repayments
                                                                                                                                  Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other Landlord
                                                  TOTAL 276 FIFTH AVENUE REALTY CORP.                             $31,957

 3.9 3 AMIS LLC                                                                           11/17/2023              $19,356         Secured debt
     696 NE 125TH ST NORTH MIAMI, FL 33161                                                 12/1/2023              $19,246         Unsecured loan repayments
                                                                   1/5/2024       $19,246   Suppliers for vendors
                       Case 24-10164-KBO           Doc 280      Filed 03/06/24   Page 19 ofServices
                                                                                            119
                                                                                            Other Landlord
                                                        TOTAL 3 AMIS LLC          $57,849

3.10 3061 COMMERCIAL BLVD LLC                                      12/1/2023      $12,500   Secured debt
     1090 JUPITER PARK DR, 2ND FL JUPITER, FL 33458                1/5/2024       $12,500   Unsecured loan repayments
                                                                   2/2/2024       $12,500   Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                        TOTAL 3061 COMMERCIAL BLVD LLC            $37,501

3.11 4201 PALM AVE II, LLC                                         12/1/2023      $42,896   Secured debt
     PO BOX 266365 WESTON, FL 33326                                1/5/2024       $42,896   Unsecured loan repayments
                                                                   2/2/2024       $42,896   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                               TOTAL 4201 PALM AVE II, LLC       $128,687

3.12 528 ALTOS DE MIAMI COMMERCIAL LLC                             12/1/2023      $26,721   Secured debt
     2937 SW 27TH AVE, SUITE 202 MIAMI, FL 33133                   1/5/2024       $26,717   Unsecured loan repayments
                                                                   2/2/2024       $26,967   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                               TOTAL 528 ALTOS DE MIAMI COMMERCIAL LLC            $80,405

3.13 807 S. PARSONS AVE LLC                                        12/1/2023       $8,399   Secured debt
     2208 BRANCH HILL ST. TAMPA, FL 33612                          1/5/2024        $8,399   Unsecured loan repayments
                                                                   2/1/2024        $8,399   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                            TOTAL 807 S. PARSONS AVE LLC          $25,198

3.14 A/W MECHANICAL SERVICES LP                                   11/20/2023      $18,176   Secured debt
     3331 W. 11TH STREET HOUSTON, TX 77008                                                  Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                      TOTAL A/W MECHANICAL SERVICES LP            $18,176

3.15 ADP INC                                                      11/20/2023     $125,550   Secured debt
     PO BOX 842875 BOSTON, MA 02284                                1/26/2024     $109,897   Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                                             TOTAL ADP INC       $235,447

3.16 ADT SECURITY SERVICES                                         11/6/2023        $467    Secured debt
     PO BOX 219044 KANSAS CITY, MO 64121                          11/16/2023       $7,936   Unsecured loan repayments
                                                                  11/17/2023         $51    Suppliers for vendors
                                                                                            Services
                                                                  12/5/2023           $68
                                                                                            Other
                                                                  12/18/2023       $2,131
                                                                   1/3/2024          $68
                                                                   1/11/2024         $82
                                                                   1/16/2024       $8,031
                                                                   1/24/2024        $122
                                                                   1/29/2024       $5,900
                                                                   1/31/2024        $292
                                            TOTAL ADT SECURITY SERVICES           $25,146

3.17 ADVANCE ENTERPRISE GROUP LLC                                  12/1/2023      $22,412   Secured debt
     1801 SW 22ND ST. MIAMI, FL 33145                              1/5/2024       $22,412   Unsecured loan repayments
                                                                   2/2/2024       $22,412   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                  TOTAL ADVANCE ENTERPRISE GROUP LLC              $67,235

3.18 AE MEDIA GROUP LLC                                            1/12/2024      $48,112   Secured debt
     15175 EAGLE NEST LANE SUITE 108 MIAMI LAKES, FL 33014                                  Unsecured loan repayments
                                                                                             Suppliers for vendors
                         Case 24-10164-KBO         Doc 280     Filed 03/06/24     Page 20 ofServices
                                                                                             119
                                                                                             Other
                                               TOTAL AE MEDIA GROUP LLC           $48,112

3.19 AETNA INC                                                    12/4/2023      $791,894    Secured debt
     PO BOX 88874 CHICAGO, IL 60695                              12/15/2023      $858,383    Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                         TOTAL AETNA INC        $1,650,276

3.20 AETNA VOLUNTARY                                              11/6/2023        $9,079    Secured debt
     151 FARMINGTON AVE. HARTFORD, CT 06156                      12/15/2023        $6,742    Unsecured loan repayments
                                                                  1/19/2024       $14,606    Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                  TOTAL AETNA VOLUNTARY           $30,427

3.21 AIR AT YOUR DOOR, INC.                                      11/20/2023       $86,076    Secured debt
     14262 SW 140TH STREET SUITE 103 MIAMI, FL 33186                                         Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                             TOTAL AIR AT YOUR DOOR, INC.         $86,076

3.22 AIRGAS USA, LLC                                             11/20/2023        $6,580    Secured debt
     PO BOX 734671 DALLAS, TX 75373                               12/8/2023        $2,034    Unsecured loan repayments
                                                                 12/15/2023        $1,399    Suppliers for vendors
                                                                                             Services
                                                                 12/22/2023          $821
                                                                                             Other
                                                                  1/5/2024         $7,066
                                                                  1/19/2024          $841
                                                   TOTAL AIRGAS USA, LLC          $18,741

3.23 ALEX ALONSO MD PA                                            11/6/2023      $175,786    Secured debt
     3470 NW 82ND AVE SUITE 119 DORAL, FL 33122                   11/7/2023      $168,888    Unsecured loan repayments
                                                                 12/22/2023       $90,511    Suppliers for vendors
                                                                                             Services
                                                                  1/12/2024       $70,792
                                                                                             Other
                                                TOTAL ALEX ALONSO MD PA          $505,977

3.24 ALEX K HSU & JUAN P LOY MD PA                               11/10/2023        $7,393    Secured debt
     2964 N. STATE RD. 7, SUITE 210 MARGATE, FL 33063                                        Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                      TOTAL ALEX K HSU & JUAN P LOY MD PA          $7,393

3.25 ALIGHT SOLUTIONS LLC                                         12/4/2023       $68,257    Secured debt
     4 OVERLOOK POINT LINCOLNSHIRE, IL 60069                     12/22/2023       $36,904    Unsecured loan repayments
                                                                  1/5/2024        $11,111    Suppliers for vendors
                                                                                             Services
                                                                  1/19/2024       $45,683
                                                                                             Other
                                              TOTAL ALIGHT SOLUTIONS LLC         $161,955

3.26 ALIGNMENT HEALTH PLAN, INC                                   12/1/2023       $13,960    Secured debt
     1100 W TOWN & COUNTRY RD STE 1600 ORANGE, CA 92868                                      Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other Landlord
                                        TOTAL ALIGNMENT HEALTH PLAN, INC          $13,960

3.27 ALL CARE TO YOU ,LLC                                        12/8/2023        $78,416    Secured debt
     PO BOX 4367 ORANGE, CA 92863                                12/15/2023       $25,039    Unsecured loan repayments
                                                                  1/5/2024        $25,417    Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                              TOTAL ALL CARE TO YOU ,LLC         $128,872

3.28 ALL STATES M.E.D.                                            11/6/2023        $9,132    Secured debt
     6157 N.W. 167TH ST, SUITE F15 MIAMI LAKES, FL 33015          11/20/2023           $91    Unsecured loan repayments
                       Case 24-10164-KBO           Doc 280     Filed  03/06/24
                                                                  12/8/2023        Page
                                                                                     $88221 of 119 for vendors
                                                                                             Suppliers
                                                                   1/5/2024         $2,832    Services
                                                                                              Other
                                                                  1/12/2024         $7,525
                                                                  1/19/2024           $155
                                                   TOTAL ALL STATES M.E.D.         $20,618

3.29 ALLSTATE REALTY ASSOCIATES, LLC.                             11/17/2023        $5,035    Secured debt
     3633 CORTEZ RD WEST, UNIT B3 BRADENTON, FL 34210             12/1/2023         $5,035    Unsecured loan repayments
                                                                                              Suppliers for vendors
                                                                                              Services
                                                                                              Other Landlord
                                 TOTAL ALLSTATE REALTY ASSOCIATES, LLC.            $10,071

3.30 ALTURNA TECH LLC                                              1/5/2024        $17,400    Secured debt
     6001 BROKEN SOUND PWKY BOCA RATON, FL 33487                                              Unsecured loan repayments
                                                                                              Suppliers for vendors
                                                                                              Services
                                                                                              Other
                                                  TOTAL ALTURNA TECH LLC           $17,400

3.31 AMAZON CAPITAL SERVICES, INC.                                11/13/2023       $10,509    Secured debt
     PO BOX 035184 SEATTLE, WA 98124                              11/20/2023        $3,694    Unsecured loan repayments
                                                                  12/4/2023        $18,953    Suppliers for vendors
                                                                                              Services
                                                                  12/8/2023           $289
                                                                                              Other
                                                                  12/15/2023        $3,819
                                                                  12/22/2023          $462
                                                                   1/5/2024           $317
                                                                  1/19/2024            $19
                                    TOTAL AMAZON CAPITAL SERVICES, INC.            $38,063

3.32 AMERICAN ACADEMY HOLDINGS, LLC DBA AAPC                      12/15/2023       $38,832    Secured debt
     2233 S PRESIDENTS DR SUITE F SALT LAKE CITY, UT 84120                                    Unsecured loan repayments
                                                                                              Suppliers for vendors
                                                                                              Services
                                TOTAL AMERICAN ACADEMY HOLDINGS, LLC                          Other
                                                           DBA AAPC                $38,832

3.33 AMERICAN FUEL SERVICES CORP                                  11/6/2023        $27,984    Secured debt
     9780 NW 115 WAY MEDLEY, FL 33178                             11/13/2023       $19,610    Unsecured loan repayments
                                                                  11/20/2023       $11,693    Suppliers for vendors
                                                                                              Services
                                                                  12/4/2023        $48,008
                                                                                              Other
                                                                  12/22/2023       $23,167
                                                                  1/12/2024       $119,002
                                                                  1/19/2024        $19,750
                                    TOTAL AMERICAN FUEL SERVICES CORP             $269,215

3.34 AMERICARE MEDICAL CENTER                                     11/10/2023      $208,360    Secured debt
     8384 W OAKLAND PARK BLVD SUNRISE, FL 33351                   12/15/2023      $171,290    Unsecured loan repayments
                                                                  1/12/2024       $121,193    Suppliers for vendors
                                                                                              Services
                                                                                              Other
                                        TOTAL AMERICARE MEDICAL CENTER            $500,843

3.35 AMERIS BANCORP DBA US PREMIUM FINANCE                        11/27/2023      $244,511    Secured debt
     3490 PIEDMONT ROAD NE ATLANTA, GA 30305                      1/25/2024       $191,899    Unsecured loan repayments
                                                                                              Suppliers for vendors
                                                                                              Services
                                 TOTAL AMERIS BANCORP DBA US PREMIUM                          Other
                                                             FINANCE              $436,410

3.36 AMITECH SOLUTIONS INC                                        11/20/2023        $6,700    Secured debt
     1 CITYPLACE DR SAINT LOUIS, MO 63141                          1/5/2024         $8,825    Unsecured loan repayments
                                                                  1/12/2024      $1,932,802   Suppliers for vendors
                                                                                              Services
                                                                                              Other
                                            TOTAL AMITECH SOLUTIONS INC          $1,948,327
3.37 AMY KATHLEEN WILSON                                         11/13/2023        $5,250   Secured debt
                     Case 24-10164-KBO
     15 BEIDLER DR WASHINGTON                  Doc 280
                              CROSSING, PA 18977               Filed  03/06/24
                                                                  11/20/2023     Page
                                                                                 $10,50022 of 119 loan repayments
                                                                                            Unsecured
                                                                 12/4/2023        $15,750   Suppliers for vendors
                                                                                            Services
                                                                 12/15/2023       $10,500
                                                                                            Other
                                                                 12/22/2023        $5,250
                                                                  1/5/2024         $5,250
                                                                 1/12/2024         $5,250
                                                                 1/19/2024         $5,250
                                                                 1/26/2024         $5,250
                                           TOTAL AMY KATHLEEN WILSON              $68,250

3.38 ANDREA M SOSA MELO                                          1/12/2024        $11,900   Secured debt
     REDACTED                                                     2/2/2024        $10,500   Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other Employee
                                            TOTAL ANDREA M SOSA MELO              $22,400

3.39 ANGELES FOOD CORP                                           11/6/2023        $79,775   Secured debt
     4245 E 4TH AVE HIALEAH, FL 33013                            11/20/2023       $71,259   Unsecured loan repayments
                                                                 12/4/2023        $75,532   Suppliers for vendors
                                                                                            Services
                                                                  1/5/2024         $4,050
                                                                                            Other
                                                                 1/12/2024       $178,180
                                                                 1/19/2024         $8,500
                                             TOTAL ANGELES FOOD CORP             $417,296

3.40 ANTHONY J RANDAZZO JR                                        2/2/2024        $13,578   Secured debt
     REDACTED                                                                               Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other Employee
                                         TOTAL ANTHONY J RANDAZZO JR              $13,578

3.41 AQUA DERMATOLOGY MANAGEMENT, LLC                            11/17/2023        $6,426   Secured debt
     900 VILLAGE SQUARE CROSSING, SUITE 290 PALM BEACH           12/1/2023         $6,426   Unsecured loan repayments
     GARDENS, FL 33410                                                                      Suppliers for vendors
                                                                                            Services
                                TOTAL AQUA DERMATOLOGY MANAGEMENT,                          Other Landlord
                                                              LLC                 $12,852

3.42 ARBER INC                                                   11/20/2023        $5,027   Secured debt
     1716 S. SAN MARCOS SUITE 120 SAN ANTONIO, TX 78207-7050     12/22/2023        $1,676   Unsecured loan repayments
                                                                  1/5/2024         $1,676   Suppliers for vendors
                                                                                            Services
                                                                 1/12/2024         $3,351
                                                                                            Other
                                                                 1/19/2024         $1,676
                                                       TOTAL ARBER INC            $13,406

3.43 ASCENDO RESOURCES                                           11/6/2023         $8,613   Secured debt
     500 W CYPRESS CREEK ROAD, SUITE 230 FT LAUDERDALE, FL       11/20/2023       $17,416   Unsecured loan repayments
     33309                                                                                  Suppliers for vendors
                                                                 12/4/2023        $31,607
                                                                                            Services
                                                                 12/8/2023        $19,643
                                                                                            Other
                                                                 12/15/2023       $20,911
                                                                 12/22/2023       $34,464
                                                                  1/5/2024        $45,772
                                                                 1/12/2024        $16,058
                                                                 1/19/2024        $12,755
                                            TOTAL ASCENDO RESOURCES              $207,239

3.44 ASHOK SHAH MD, PA                                           11/10/2023       $23,584   Secured debt
     3808 SOUTH HOPKINS AVE TITUSVILLE, FL 32780                                            Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                              TOTAL ASHOK SHAH MD, PA             $23,584

3.45 ASSOCIATES OF INTERNAL MEDICINE, PA                         12/15/2023       $58,925   Secured debt
    13660 JOG ROAD SUITE B5 DELRAY BEACH, FL 33446                                       Unsecured loan repayments
                      Case 24-10164-KBO            Doc 280   Filed 03/06/24   Page 23 ofSuppliers
                                                                                         119 for vendors
                                                                                         Services
                               TOTAL ASSOCIATES OF INTERNAL MEDICINE,                    Other
                                                                  PA           $58,925

3.46 ATMOSPHERE COMMERCIAL INTERIORS, LLC.                     12/8/2023       $10,935   Secured debt
     81 S 9TH STREET STE 450 MINNEAPOLIS, MN 55402             12/15/2023        $100    Unsecured loan repayments
                                                               12/22/2023        $100    Suppliers for vendors
                                                                                         Services
                                                             1/5/2024            $778
                                       TOTAL ATMOSPHERE COMMERCIAL                       Other
                                                     INTERIORS, LLC.           $11,914

3.47 ATT                                                       11/16/2023       $3,194   Secured debt
     PO BOX 105251 ATLANTA, GA 30348                           11/17/2023        $225    Unsecured loan repayments
                                                               11/20/2023       $9,867   Suppliers for vendors
                                                                                         Services
                                                               11/21/2023       $8,312
                                                                                         Other
                                                               11/22/2023       $1,131
                                                               11/24/2023        $950
                                                               11/27/2023        $262
                                                               11/28/2023      $55,956
                                                               11/29/2023        $166
                                                               11/30/2023        $170
                                                               12/4/2023       $21,134
                                                               12/6/2023        $1,038
                                                               12/7/2023       $29,752
                                                               12/8/2023         $257
                                                               12/12/2023        $946
                                                               12/13/2023        $117
                                                               12/15/2023       $2,957
                                                               12/18/2023        $346
                                                               12/20/2023       $1,510
                                                               12/21/2023        $150
                                                               12/22/2023       $4,028
                                                               12/26/2023        $686
                                                               12/27/2023        $289
                                                               12/29/2023        $161
                                                                1/2/2024         $639
                                                                1/3/2024         $251
                                                                1/4/2024        $8,955
                                                                1/5/2024          $54
                                                                1/8/2024       $27,828
                                                               1/10/2024         $117
                                                               1/16/2024        $3,278
                                                               1/22/2024        $5,536
                                                               1/23/2024         $332
                                                               1/24/2024         $128
                                                               1/29/2024         $289
                                                               1/30/2024         $321
                                                               1/31/2024         $141
                                                                2/1/2024         $261
                                                                2/2/2024        $7,822
                                                             TOTAL ATT        $199,552

3.48 AUDACIOUS INQUIRY, LLC                                     1/5/2024       $32,218   Secured debt
     5523 RESEARCH PARK DRIVE, SUITE 370 CATONSVILLE, MD                                 Unsecured loan repayments
     21228                                                                               Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                         TOTAL AUDACIOUS INQUIRY, LLC          $32,218

3.49 AUTOMUS CONSULTING INC                                    11/6/2023        $2,415   Secured debt
     1901 AVE OF THE STARS LOS ANGELES, CA 90067               12/4/2023       $35,000   Unsecured loan repayments
                                                               12/15/2023       $3,500   Suppliers for vendors
                                                                                         Services
                                                               12/22/2023      $23,583
                                                                    1/12/2024        $2,050   Other
                       Case 24-10164-KBO             Doc 280     Filed  03/06/24
                                                                    1/19/2024      Page
                                                                                    $5,61624 of 119
                                         TOTAL AUTOMUS CONSULTING INC               $72,163

3.50 AW MEMORIAL SOUTH LLC                                          12/1/2023       $18,675   Secured debt
     11780 US HIGHWAY ONE NORTH PALM BEACH, FL 33408                1/5/2024        $18,500   Unsecured loan repayments
                                                                    2/2/2024        $18,500   Suppliers for vendors
                                                                                              Services
                                                                                              Other Landlord
                                          TOTAL AW MEMORIAL SOUTH LLC               $55,675

3.51 B & B CASH GROCERY STORES, INC                                 12/1/2023       $24,438   Secured debt
     PO BOX 1808 TAMPA, FL 33601                                    1/5/2024        $24,438   Unsecured loan repayments
                                                                    2/2/2024        $24,725   Suppliers for vendors
                                                                                              Services
                                                                                              Other Landlord
                                  TOTAL B & B CASH GROCERY STORES, INC              $73,602

3.52 B&B PROPERTIES OF HILLSBOROUGH, INC                            12/1/2023       $17,046   Secured debt
     927 US HIGHWAY 301 SOUTH TAMPA, FL 33619                       1/5/2024        $17,046   Unsecured loan repayments
                                                                    2/2/2024        $17,046   Suppliers for vendors
                                                                                              Services
                               TOTAL B&B PROPERTIES OF HILLSBOROUGH,                          Other Landlord
                                                                 INC                $51,137

3.53 BABA HEALTHCARE, INC                                          11/10/2023       $39,463   Secured debt
     948 S WICKHAM RD #101 WEST MELBOURNE, FL 32904                                           Unsecured loan repayments
                                                                                              Suppliers for vendors
                                                                                              Services
                                                                                              Other
                                              TOTAL BABA HEALTHCARE, INC            $39,463

3.54 BAI SECURITY INC                                               2/2/2024        $35,888   Secured debt
     250 PARKWAY DRIVE LINCOLNSHIRE, IL 60069                                                 Unsecured loan repayments
                                                                                              Suppliers for vendors
                                                                                              Services
                                                                                              Other
                                                     TOTAL BAI SECURITY INC         $35,888

3.55 BAMBOO HEALTH, INC.                                           11/20/2023        $1,020   Secured debt
     9901 LINN STATION LOUISVILLE, KY 40223                        12/15/2023         $110    Unsecured loan repayments
                                                                    1/5/2024        $25,260   Suppliers for vendors
                                                                                              Services
                                                                                              Other
                                               TOTAL BAMBOO HEALTH, INC.            $26,390

3.56 BARCLAY SQUARE ASSOCIATES, LTD                                11/17/2023       $12,149   Secured debt
     1645 SE 3RD COURT, STE. 200 DEERFIELD BEACH, FL 33441         12/1/2023        $12,149   Unsecured loan repayments
                                                                    1/5/2024        $12,097   Suppliers for vendors
                                                                                              Services
                                                                    2/2/2024        $12,097
                                                                                              Other Landlord
                                 TOTAL BARCLAY SQUARE ASSOCIATES, LTD               $48,491

3.57 BARLOP BUSINESS SYSTEMS CH11                                  11/20/2023       $21,626   Secured debt
     6508 NW 82 AVE MIAMI, FL 33166                                 1/5/2024         $1,710   Unsecured loan repayments
                                                                    1/12/2024       $17,108   Suppliers for vendors
                                                                                              Services
                                                                    1/19/2024        $4,912
                                                                                              Other
                                  TOTAL BARLOP BUSINESS SYSTEMS CH11                $45,355

3.58 BAUDINO LAW GROUP, PLC                                         1/12/2024        $3,382   Secured debt
     2600 GRAND AVENUE STE 100 DES MOINES, IA 50312                  2/2/2024        $4,355   Unsecured loan repayments
                                                                                              Suppliers for vendors
                                                                                              Services
                                                                                              Other
                                          TOTAL BAUDINO LAW GROUP, PLC               $7,737

3.59 BDO USA, LLP                                                   11/6/2023      $115,882   Secured debt
     100 SE 2ND STREET, SUITE 1700 MIAMI, FL 33131                 12/15/2023      $143,389   Unsecured loan repayments
                                                                                              Suppliers for vendors
                                                                                              Services
                                                                                            Other
                       Case 24-10164-KBO           DocTOTAL
                                                        280 BDO
                                                              Filed 03/06/24
                                                                USA, LLP
                                                                                 Page 25 of 119
                                                                                $259,271

3.60 BEACH HOLDING, INC                                         11/17/2023        $5,762    Secured debt
     696 NE 125TH ST NORTH MIAMI, FL 33161                       12/1/2023        $5,921    Unsecured loan repayments
                                                                 2/2/2024         $5,921    Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                                TOTAL BEACH HOLDING, INC         $17,604

3.61 BEECHER CARLSON HOLDINGS INC                                12/4/2023      $285,496    Secured debt
     1000 SE MONTEREY COMMONS BLVD SUITE 301 STUART, FL          1/12/2024      $263,047    Unsecured loan repayments
     34996                                                                                  Suppliers for vendors
                                                                 2/1/2024      $1,303,017
                                                                                            Services
                                                                                            Other
                                  TOTAL BEECHER CARLSON HOLDINGS INC           $1,851,560

3.62 BENT PROPERTY TRUST                                         12/1/2023       $42,723    Secured debt
     P.O. BOX 266365 WESTON, FL 33326                            1/5/2024        $43,175    Unsecured loan repayments
                                                                 2/2/2024        $43,175    Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                             TOTAL BENT PROPERTY TRUST          $129,073

3.63 BERKELEY RESEARCH GROUP LLC                                 1/19/2024      $300,000    Secured debt
     2200 POWELL STREET EMERYVILLE, CA 94608                                                Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other Lender advisor
                                  TOTAL BERKELEY RESEARCH GROUP LLC             $300,000

3.64 BEST OFFICE COFFEE SERVICE, INC.                           11/20/2023       $19,233    Secured debt
     13130 SW 130 TERRACE MIAMI, FL 33186                       12/22/2023        $3,143    Unsecured loan repayments
                                                                 1/5/2024        $10,568    Suppliers for vendors
                                                                                            Services
                                                                 1/12/2024       $29,967
                                                                                            Other
                                 TOTAL BEST OFFICE COFFEE SERVICE, INC.          $62,911

3.65 BIOVENTUS LLC                                               11/6/2023       $22,500    Secured debt
     P.O. BOX 732823 DALLAS, TX 75373                           11/20/2023       $12,500    Unsecured loan repayments
                                                                12/22/2023       $10,000    Suppliers for vendors
                                                                                            Services
                                                                 1/5/2024        $20,000
                                                                                            Other
                                                                 1/12/2024       $27,500
                                                    TOTAL BIOVENTUS LLC          $92,500

3.66 BOCA ADMIN INC.                                             12/1/2023       $11,973    Secured debt
     1601 FORUM PLACE WEST PALM BEACH, FL 33401                   1/5/2024       $11,973    Unsecured loan repayments
                                                                 2/2/2024        $11,973    Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                                   TOTAL BOCA ADMIN INC.         $35,918

3.67 BOF FL FLAGLER STATION LLC                                  12/1/2023      $305,616    Secured debt
     FIVE CONCOURSE PARKWAY, SUITE 500 ATLANTA, GA 30328         1/5/2024       $314,945    Unsecured loan repayments
                                                                 2/2/2024       $314,128    Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                        TOTAL BOF FL FLAGLER STATION LLC        $934,689

3.68 BOND & STEELE CLINIC                                       11/10/2023      $555,123    Secured debt
     500 E CENTRAL AVE WINTER HAVEN, FL 33880                   12/15/2023      $215,621    Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                              TOTAL BOND & STEELE CLINIC        $770,745

3.69 BREVARD INTERNAL MEDICINE & WALK-IN CLINIC                 12/15/2023       $26,683    Secured debt
     2795 W NEW HAVEN AVE W MELBORNE, FL 32904                                              Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                     TOTAL BREVARD INTERNAL MEDICINE &                   Other
                       Case 24-10164-KBO         Doc 280    Filed
                                                        WALK-IN   03/06/24
                                                                CLINIC        Page
                                                                              $26,68326 of 119

3.70 BRIGHT SERVICES LLC                                         11/20/2023     $7,108   Secured debt
     7413 NW 22 STREET MCALLEN, TX 78504                          1/5/2024      $7,108   Unsecured loan repayments
                                                                  1/12/2024     $1,420   Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                              TOTAL BRIGHT SERVICES LLC        $15,637

3.71 BROADRIDGE ICS                                               12/1/2023   $189,496   Secured debt
     P.O. BOX 416423 BOSTON, MA 02241                                                    Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                                   TOTAL BROADRIDGE ICS       $189,496

3.72 CADWALADER, WICKERSHAM & TAFT LLP                            12/4/2023    $50,000   Secured debt
     200 LIBERTY STREET NEW YORK, NY 10281                                               Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                TOTAL CADWALADER, WICKERSHAM & TAFT                      Other
                                                                LLP            $50,000

3.73 CATERING EXPRESS LV INC                                     11/20/2023    $15,702   Secured debt
     3863 VIA LUCIA DR. LAS VEGAS, NV 89115                                              Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                          TOTAL CATERING EXPRESS LV INC        $15,702

3.74 CBRE,INC.                                                    11/6/2023    $15,258   Secured debt
     400 S. HOPE ST LOS ANGELES, CA 90071                        11/20/2023    $15,258   Unsecured loan repayments
                                                                  1/12/2024    $15,258   Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                                          TOTAL CBRE,INC.      $45,775

3.75 CCA FINANCIAL LLC                                           12/15/2023    $12,844   Secured debt
     P.O. BOX 17190 RICHMOND, VA 23226                                                   Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                                 TOTAL CCA FINANCIAL LLC       $12,844

3.76 CELIMAR INC                                                  12/1/2023     $4,505   Secured debt
     5475 NW ST. JAMES DRIVE, #162 PORT ST. LUCIE, FL 34983       1/5/2024      $4,505   Unsecured loan repayments
                                                                  2/2/2024      $4,505   Suppliers for vendors
                                                                                         Services
                                                                                         Other Landlord
                                                       TOTAL CELIMAR INC       $13,514

3.77 CHANGE HEALTHCARE                                            11/6/2023    $38,887   Secured debt
     PO BOX 572490 MURRAY, UT 84157                              11/20/2023     $5,947   Unsecured loan repayments
                                                                 12/22/2023     $8,515   Suppliers for vendors
                                                                                         Services
                                                                  1/5/2024     $28,995
                                                                                         Other
                                                                  1/12/2024    $44,677
                                                                  1/19/2024       $25
                                              TOTAL CHANGE HEALTHCARE         $127,047

3.78 CHANNEL 10 BUSINESS CENTER, LLC                              12/1/2023    $15,551   Secured debt
     16 LIGHTHOUSE ST MARINA DEL REY, CA 90292                                           Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                TOTAL CHANNEL 10 BUSINESS CENTER, LLC          $15,551

3.79 CHARTER COMMUNICATIONS HOLDINGS LLC                          11/7/2023     $3,666   Secured debt
     12405 POWERSCOURT DRIVE ST LOUIS, MO 63131                  11/10/2023     $3,575   Unsecured loan repayments
                                                                 11/27/2023      $377    Suppliers for vendors
                                                                 12/8/2023        $3,696   Services
                       Case 24-10164-KBO          Doc 280      Filed  03/06/24
                                                                  12/27/2023     Page
                                                                                   $37727 of 119
                                                                                           Other
                                                                 12/28/2023       $5,043
                                                                  1/5/2024         $715
                                                                  1/9/2024       $12,246
                                                              1/10/2024           $2,521
                                        TOTAL CHARTER COMMUNICATIONS
                                                        HOLDINGS LLC             $32,216

3.80 CHECK POINT SOFTWARE TECHNOLOGIES INC                       11/6/2023       $15,120   Secured debt
     959 SKYWAY RD. SAN CARLOS, CA 94070                          1/5/2024       $15,120   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                            TOTAL CHECK POINT SOFTWARE                     Other
                                                      TECHNOLOGIES INC           $30,241

3.81 CIT                                                         11/20/2023      $13,876   Secured debt
     21146 NETWORK PLACE CHICAGO, IL 60673                        1/5/2024       $13,951   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                                               TOTAL CIT         $27,828

3.82 CITRIX SYSTEMS INC                                           1/5/2024       $12,434   Secured debt
     PO BOX 936497 ATLANTA, GA 31193                                                       Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                                TOTAL CITRIX SYSTEMS INC         $12,434

3.83 CITY OF HIALEAH                                             12/1/2023       $45,000   Secured debt
     20 EAST 6TH STREET HIALEAH, FL 33010                                                  Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                                   TOTAL CITY OF HIALEAH         $45,000

3.84 CITY OF HOMESTEAD HPS                                       11/6/2023        $3,025   Secured debt
     100 CIVIC COURT HOMESTEAD, FL 33030                         12/4/2023        $2,615   Unsecured loan repayments
                                                                 12/18/2023       $2,281   Suppliers for vendors
                                                                                           Services
                                                                 12/29/2023       $2,085
                                                                                           Other
                                                                  1/5/2024        $2,644
                                                                 1/30/2024        $1,557
                                            TOTAL CITY OF HOMESTEAD HPS          $14,207

3.85 COAST TO COAST JANITORIAL SERVICES LLC                      12/15/2023       $1,800   Secured debt
     P.O. BOX 530354 HARLINGEN, TX 78553                         12/22/2023       $5,945   Unsecured loan repayments
                                                                  1/5/2024       $14,630   Suppliers for vendors
                                                                                           Services
                                       TOTAL COAST TO COAST JANITORIAL                     Other
                                                         SERVICES LLC            $22,375

3.86 COASTAL PRIMARY CARE                                        12/15/2023      $81,925   Secured debt
     4995 S US HIGHWAY 1, FT PIERCE, FL 34982                                              Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                            TOTAL COASTAL PRIMARY CARE           $81,925

3.87 COLE, SCOTT & KISSANE P.A.                                  12/8/2023        $6,451   Secured debt
     9150 SOUTH DADELAND BLVD MIAMI, FL 33156                     1/5/2024       $13,974   Unsecured loan repayments
                                                                  2/2/2024       $13,851   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                        TOTAL COLE, SCOTT & KISSANE P.A.         $34,276

3.88 COMCAST                                                     11/6/2023        $2,991   Secured debt
     ONE COMCAST CENTER, 1701 JFK BLVD., 20 FL PHILADELPHIA,     11/7/2023         $535    Unsecured loan repayments
     PA 19103                                                                              Suppliers for vendors
                                                                 11/8/2023         $713
                                                                                           Services
                                                      11/10/2023        $1,489   Other
                      Case 24-10164-KBO   Doc 280   Filed  03/06/24
                                                       11/13/2023     Page
                                                                       $3,86828 of 119
                                                      11/14/2023        $1,339
                                                      11/15/2023        $1,297
                                                      11/16/2023         $774
                                                      11/17/2023         $453
                                                      11/20/2023        $3,798
                                                      11/21/2023         $516
                                                      11/22/2023       $42,000
                                                      11/24/2023         $798
                                                      11/27/2023        $1,302
                                                      11/28/2023        $1,902
                                                      11/29/2023        $1,526
                                                      11/30/2023         $887
                                                      12/1/2023         $1,258
                                                      12/4/2023         $1,676
                                                      12/5/2023          $390
                                                      12/6/2023          $944
                                                      12/7/2023          $535
                                                      12/8/2023          $713
                                                      12/11/2023        $2,371
                                                      12/12/2023        $1,777
                                                      12/13/2023         $910
                                                      12/14/2023        $1,004
                                                      12/15/2023        $1,323
                                                      12/18/2023        $3,285
                                                      12/19/2023         $739
                                                      12/20/2023         $637
                                                      12/21/2023       $55,482
                                                      12/22/2023        $1,765
                                                      12/26/2023        $1,157
                                                      12/27/2023         $510
                                                      12/28/2023        $1,706
                                                      12/29/2023        $1,526
                                                       1/2/2024         $2,149
                                                       1/4/2024         $1,330
                                                       1/5/2024          $736
                                                       1/8/2024         $2,193
                                                      1/10/2024         $1,315
                                                      1/11/2024          $850
                                                      1/12/2024         $1,820
                                                      1/16/2024         $3,483
                                                      1/17/2024          $459
                                                      1/18/2024         $2,129
                                                      1/19/2024         $1,487
                                                      1/22/2024         $3,719
                                                      1/23/2024          $623
                                                      1/25/2024          $359
                                                      1/26/2024          $199
                                                      1/29/2024         $3,834
                                                      1/30/2024          $453
                                                      1/31/2024         $1,396
                                               TOTAL COMCAST          $174,429

3.89 COMED AND EXELON COMPANY                         11/9/2023          $577    Secured debt
     PO BOX 6111 CAROL STREAM, IL 60197               11/15/2023         $354    Unsecured loan repayments
                                                      11/16/2023         $979    Suppliers for vendors
                                                                                 Services
                                                      11/27/2023         $765
                                                                                 Other
                                                      11/28/2023         $108
                                                      11/30/2023        $2,322
                                                      12/12/2023         $545
                                                      12/18/2023         $326
                                                      12/19/2023        $2,047
                                                                  12/27/2023        $907
                      Case 24-10164-KBO            Doc 280     Filed  03/06/24
                                                                   1/2/2024      Page
                                                                                  $2,86729 of 119
                                                                  1/12/2024         $512
                                                                  1/17/2024        $2,296
                                                                  1/30/2024         $986
                                                                   2/2/2024         $577
                                      TOTAL COMED AND EXELON COMPANY              $16,166

3.90 COMPUDILE INC                                                11/13/2023      $81,929   Secured debt
     4023 N ARMENIA AVENUE, SUITE 105 TAMPA, FL 33607             11/20/2023      $30,092   Unsecured loan repayments
                                                                  12/22/2023     $107,261   Suppliers for vendors
                                                                                            Services
                                                                   1/5/2024      $112,027
                                                                                            Other
                                                      TOTAL COMPUDILE INC        $331,310

3.91 CONGRESS 1650 LLC                                            12/1/2023       $19,378   Secured debt
     1512 SE 12TH COURT DEERFIELD BEACH, FL 33441                  1/5/2024       $19,876   Unsecured loan repayments
                                                                   2/2/2024       $19,876   Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                               TOTAL CONGRESS 1650 LLC            $59,130

3.92 CONTINENTAL STOCK TRANSFER & TRUST                           11/20/2023       $2,542   Secured debt
     1 STATE STREET, 30TH FL NEW YORK, NY 10004                   12/4/2023       $19,413   Unsecured loan repayments
                                                                   2/2/2024       $12,568   Suppliers for vendors
                                                                                            Services
                                    TOTAL CONTINENTAL STOCK TRANSFER &                      Other
                                                                 TRUST            $34,524

3.93 CONTRACTORS 911 LLC                                          12/8/2023       $44,583   Secured debt
     2225 WEST 78 ST HIALEAH, FL 33016                                                      Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                             TOTAL CONTRACTORS 911 LLC            $44,583

3.94 CORAL POINT PLAZA                                            12/1/2023        $8,161   Secured debt
     8420 WEST FLAGLER ST SUITE 216 MIAMI, FL 33144                1/5/2024        $8,161   Unsecured loan repayments
                                                                   2/1/2024        $8,161   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                               TOTAL CORAL POINT PLAZA            $24,482

3.95 CORBIN SOUTH LLC                                             12/1/2023       $30,886   Secured debt
     730 EL CAMINO WAY TUSTIN, CA 92780                                                     Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                                  TOTAL CORBIN SOUTH LLC          $30,886

3.96 COSTAR REALTY INFORMATION INC                                12/8/2023       $12,210   Secured debt
     2563 COLLECTION CENTER DR CHICAGO, IL 60693                                            Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                    TOTAL COSTAR REALTY INFORMATION INC           $12,210

3.97 COUNTYWIDE AUTO GLASS INC                                    1/12/2024        $9,352   Secured debt
     9910 SW 73ST MIAMI, FL 33173                                                           Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                       TOTAL COUNTYWIDE AUTO GLASS INC             $9,352

3.98 CREATIVE CATERING BY MONA'S CAFE                             11/20/2023       $1,363   Secured debt
     4513 W. FERN ST. TAMPA, FL 33614                             12/4/2023       $18,746   Unsecured loan repayments
                                                                  1/12/2024       $38,081   Suppliers for vendors
                                                                                            Services
                                                                                            Other
                              TOTAL CREATIVE CATERING BY MONA'S CAFE              $58,190
                      Case
3.99 CREATIVE PLANNING,  LLC 24-10164-KBO       Doc 280       Filed  03/06/24
                                                                 11/6/2023        Page
                                                                                  $11,93530 of 119 debt
                                                                                             Secured
     5454 W. 110TH STREET OVERLAND PARK, KS 66211                                            Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                            TOTAL CREATIVE PLANNING, LLC          $11,935

3.100 CREDIT SUISSE AG                                          11/30/2023        $13,903    Secured debt
      6933 LOUIS STEPHENS DR. MORRISVILLE, NC 27560             12/29/2023      $1,657,927   Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                  TOTAL CREDIT SUISSE AG        $1,671,830

3.101 CROWN CASTLE FIBER LLC                                     11/6/2023        $17,201    Secured debt
      PO BOX 28730 NEW YORK, NY 10087                            12/8/2023         $1,199    Unsecured loan repayments
                                                                 1/5/2024         $14,768    Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                          TOTAL CROWN CASTLE FIBER LLC            $33,168

3.102 CSB STRATEGIC BUSINESS SOLUTIONS                           12/8/2023        $65,283    Secured debt
      8140 N. HAYDEN RD SCOTTSDALE, AZ 85258                                                 Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                          TOTAL CSB STRATEGIC BUSINESS                       Other
                                                            SOLUTIONS             $65,283

3.103 CTS SOFTWARE                                               11/6/2023        $24,327    Secured debt
      PO BOX 57 SWANSBORO, NC 28584                              1/5/2024         $24,354    Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                    TOTAL CTS SOFTWARE            $48,681

3.104 CUSHMAN & WAKEFIELD, INC.                                  11/6/2023         $7,410    Secured debt
      575 MARYVILLE CENTER DR. TOWN AND COUNTRY, MO 63141        12/4/2023       $682,232    Unsecured loan repayments
                                                                12/22/2023       $631,551    Suppliers for vendors
                                                                                             Services
                                                                 2/1/2024        $250,000
                                                                                             Other
                                        TOTAL CUSHMAN & WAKEFIELD, INC.         $1,571,193

3.105 DANIMEN LLC                                                12/1/2023         $7,833    Secured debt
      4451 GULF SHORE BLVD NAPLES, FL 34103                      1/5/2024          $7,833    Unsecured loan repayments
                                                                 2/2/2024          $7,833    Suppliers for vendors
                                                                                             Services
                                                                                             Other Landlord
                                                      TOTAL DANIMEN LLC           $23,500

3.106 DATAINSIGHTSPRO                                            11/6/2023        $81,022    Secured debt
      5090 SW 158TH AVE MIRAMAR, FL 33027                         1/5/2024       $178,588    Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                 TOTAL DATAINSIGHTSPRO           $259,610

3.107 DATALINK SERVICE FUND SOLUTIONS, LLC                      12/22/2023        $35,000    Secured debt
      14055 RIVEREDGE DR. TAMPA, FL 33637                        1/5/2024         $14,738    Unsecured loan repayments
                                                                 1/12/2024        $14,584    Suppliers for vendors
                                                                                             Services
                              TOTAL DATALINK SERVICE FUND SOLUTIONS,                         Other
                                                                 LLC              $64,322

3.108 DATASITE LLC                                               11/6/2023        $27,497    Secured debt
      PO BOX 74007252 CHICAGO, IL 60674                         12/15/2023        $65,069    Unsecured loan repayments
                                                                1/12/2024        $148,902    Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                      TOTAL DATASITE LLC         $241,469
3.109 DAVID MILBAUER, MD PA                                      11/10/2023       $25,820   Secured debt
      6894 LAKE WORTHCase   24-10164-KBO
                       ROAD #104                Doc 280
                                 LAKE WORTH, FL 33467          Filed  03/06/24
                                                                  11/17/2023     Page
                                                                                  $8,86831 of 119 loan repayments
                                                                                            Unsecured
                                                                 12/15/2023       $54,661   Suppliers for vendors
                                                                                            Services
                                                                  1/12/2024       $29,801
                                                                                            Other
                                              TOTAL DAVID MILBAUER, MD PA        $119,149

3.110 DE PAZ HOLDINGS INC.                                        12/1/2023      $117,121   Secured debt
      7800 RED ROAD SOUTH MIAMI, FL 33143                         1/5/2024       $110,497   Unsecured loan repayments
                                                                  2/2/2024       $110,497   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                               TOTAL DE PAZ HOLDINGS INC.        $338,114

3.111 DELAWARE SECRETARY OF STATE FRANCHISE TAX FILING            12/4/2023       $40,000   Secured debt
      122 MARTIN LUTHER KING JR BLVD SOUTH DOVER, DE 19901                                  Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                   TOTAL DELAWARE SECRETARY OF STATE                        Other Tax
                                                 FRANCHISE TAX FILING             $40,000

3.112 DETAILS CUSTOM BUILDERS, INC                                11/6/2023        $8,497   Secured debt
      1773 W. LINCOLN AVE ANAHEIM, CA 92801                       1/5/2024          $756    Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                    TOTAL DETAILS CUSTOM BUILDERS, INC             $9,252

3.113 DEVOTED HEALTH PLAN OF FLORIDA, INC                         1/5/2024       $100,000   Secured debt
      221 CRESCENT ST WALTHAM, MA 02453                                                     Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                TOTAL DEVOTED HEALTH PLAN OF FLORIDA,                       Other
                                                                  INC            $100,000

3.114 DOCTORFARE, INC                                             11/6/2023       $17,670   Secured debt
      1172 S DIXIE HWY #280 CORAL GABLES, FL 33146                1/5/2024        $17,537   Unsecured loan repayments
                                                                  1/26/2024       $16,369   Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                                   TOTAL DOCTORFARE, INC          $51,575

3.115 DONNELLEY FINANCIAL, LLC                                    1/5/2024        $40,996   Secured debt
      35 W. WACKER DRIVE CHICAGO, IL 60601                        1/12/2024        $1,157   Unsecured loan repayments
                                                                  1/19/2024        $1,977   Suppliers for vendors
                                                                                            Services
                                                                  2/2/2024        $48,130
                                                                                            Other
                                        TOTAL DONNELLEY FINANCIAL, LLC            $92,259

3.116 DORIS A. VALOR AS SUCCESSOR TRUSTEE OF                     11/17/2023       $12,066   Secured debt
      6824 SW 80 STREET MIAMI, FL 33143                                                     Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                    TOTAL DORIS A. VALOR AS SUCCESSOR                       Other Landlord
                                                            TRUSTEE OF            $12,066

3.117 DR.CAMEJO PRIMARY CARE AND WALKIN CLINIC                    12/1/2023       $10,482   Secured debt
      4714 N. ARMENIA AVE, SUITE 100 TAMPA, FL 33603               1/5/2024       $10,482   Unsecured loan repayments
                                                                  2/2/2024        $10,482   Suppliers for vendors
                                                                                            Services
                                    TOTAL DR.CAMEJO PRIMARY CARE AND                        Other Landlord
                                                        WALKIN CLINIC             $31,446

3.118 DREAMS OF FREEDOM LLC                                       12/1/2023        $7,808   Secured debt
      399 CAMINO GARDENS BLVD BOCA RATON, FL 33432                1/5/2024         $8,154   Unsecured loan repayments
                                                                  2/2/2024         $8,001   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                          TOTAL DREAMS OF FREEDOM LLC             $23,964

3.119 DUKE ENERGY                                                 11/7/2023         $810    Secured debt
      PO BOX 1094 CHARLOTTE, NC 28201                           11/15/2023           $390    Unsecured loan repayments
                      Case 24-10164-KBO           Doc 280     Filed  03/06/24
                                                                 11/17/2023       Page
                                                                                   $2,23332 of 119 for vendors
                                                                                             Suppliers
                                                                11/20/2023           $748    Services
                                                                                             Other
                                                                11/22/2023            $39
                                                                11/29/2023           $505
                                                                 12/8/2023           $602
                                                                12/13/2023           $249
                                                                12/19/2023           $681
                                                                12/20/2023         $1,222
                                                                12/21/2023           $728
                                                                12/29/2023           $563
                                                                 1/5/2024            $509
                                                                 1/12/2024           $139
                                                                 1/16/2024           $460
                                                                 1/17/2024         $1,119
                                                                 1/19/2024           $729
                                                                 1/25/2024            $38
                                                                 1/29/2024           $379

                                                     TOTAL DUKE ENERGY            $12,144

3.120 EAN PROPERTIES INC                                         12/1/2023        $22,248    Secured debt
      5190 NW 167TH ST. SUITE 103 MIAMI GARDENS, FL 33014        1/5/2024         $22,248    Unsecured loan repayments
                                                                 2/2/2024         $22,248    Suppliers for vendors
                                                                                             Services
                                                                                             Other Landlord
                                               TOTAL EAN PROPERTIES INC           $66,743

3.121 ECLINICAL WORKS, LLC                                      12/20/2023      $1,138,881   Secured debt
      PO BOX 847950 BOSTON, MA 02284                             1/5/2024        $350,810    Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                             TOTAL ECLINICAL WORKS, LLC         $1,489,690

3.122 ELDORADO MEDICAL CENTER, LLC                               12/1/2023        $15,993    Secured debt
      5701 W CHARLESTON BLVD STE 208 LAS VEGAS, NV 89146                                     Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other Landlord
                                  TOTAL ELDORADO MEDICAL CENTER, LLC              $15,993

3.123 EMPIRE PHARMACY CONSULTANTS LLC                           11/20/2023         $4,845    Secured debt
      936 SW 1ST AVE #218 MIAMI, FL 33130                        1/5/2024          $2,385    Unsecured loan repayments
                                                                 1/12/2024        $12,389    Suppliers for vendors
                                                                                             Services
                                                            1/19/2024              $5,977
                                 TOTAL EMPIRE PHARMACY CONSULTANTS                           Other
                                                                LLC               $25,596

3.124 ENTERPRISE FM TRUST                                       11/13/2023       $404,325    Secured debt
      600 CORPORATE PARK DR ST. LOUIS, MO 63105                 11/20/2023        $61,957    Unsecured loan repayments
                                                                 1/5/2024        $210,765    Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                             TOTAL ENTERPRISE FM TRUST           $677,047

3.125 EPSTEIN BECKER & GREEN, P.C.                              12/8/2023         $10,587    Secured debt
      875 3RD AVENUE NEW YORK, NY 10022                         12/15/2023       $171,683    Unsecured loan repayments
                                                                 1/26/2024       $377,256    Suppliers for vendors
                                                                                             Services
                                                                 2/2/2024        $470,448
                                                                                             Other
                                    TOTAL EPSTEIN BECKER & GREEN, P.C.          $1,029,973

3.126 ERNST & YOUNG U.S. LLP                                     11/6/2023       $232,100    Secured debt
      200 SOUTH ORANGE AVE ORLANDO, FL 32801                     12/4/2023       $234,600    Unsecured loan repayments
                                                                 1/12/2024        $71,000    Suppliers for vendors
                                                                                             Services
                                                                 2/2/2024        $833,950
                                                                                             Other
                                            TOTAL ERNST & YOUNG U.S. LLP        $1,371,650
3.127 ESCREEN INC    Case 24-10164-KBO           Doc 280         11/6/2023
                                                              Filed  03/06/24   $16,84733 of
                                                                                Page       Secured
                                                                                             119 debt
      PO BOX 25902 OVERLAND PARK, KS 66225                      11/20/2023         $152    Unsecured loan repayments
                                                                 1/5/2024        $14,915   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                                     TOTAL ESCREEN INC           $31,914

3.128 ESPLANADE MEDICAL CENTER LTD                              11/7/2023        $16,407   Secured debt
      359 ALCAZAR AVE. SUITE 100 CORAL GABLES, FL 33134         12/1/2023        $16,407   Unsecured loan repayments
                                                                 1/5/2024        $16,973   Suppliers for vendors
                                                                                           Services
                                                                 2/2/2024        $17,260
                                                                                           Other Landlord
                                  TOTAL ESPLANADE MEDICAL CENTER LTD             $67,048

3.129 EVERCORE GROUP LLC                                         1/5/2024       $351,717   Secured debt
      55 E 52ND ST. NEW YORK, NY 10055                           2/2/2024       $175,000   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other Lender advisor
                                             TOTAL EVERCORE GROUP LLC           $526,717

3.130 EVOLV HEALTH LLC                                          11/20/2023        $6,080   Secured debt
      700 S ROSEMARY AVE WEST PALM BEACH, FL 33401              12/22/2023        $7,840   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                                TOTAL EVOLV HEALTH LLC           $13,920

3.131 EXCELLENT DENTAL PA                                       12/6/2023        $16,774   Secured debt
      9725 NW 117TH AVE. MIAMI, FL 33178                                                   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                             TOTAL EXCELLENT DENTAL PA           $16,774

3.132 FIFTH THIRD BANK                                          11/16/2023      $213,843   Secured debt
      PO BOX 740523 CINCINNATI, OH 45274                        12/18/2023       $10,000   Unsecured loan repayments
                                                                12/19/2023      $194,151   Suppliers for vendors
                                                                                           Services
                                                                 1/8/2024       $125,000
                                                                                           Other
                                                                1/18/2024        $80,654
                                                 TOTAL FIFTH THIRD BANK         $623,648

3.133 FIFTH THIRD EQUIPMENT FINANCE                             11/16/2023       $18,406   Secured debt
      PO BOX 630756 CINCINNATI, OH 45263                        11/17/2023       $20,493   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                   TOTAL FIFTH THIRD EQUIPMENT FINANCE           $38,900

3.134 FIOMARKA, LLC                                             11/6/2023          $571    Secured debt
      26027 S. DIXIE HWY NARANJA, FL 33032                      12/4/2023          $596    Unsecured loan repayments
                                                                 1/5/2024        $36,083   Suppliers for vendors
                                                                                           Services
                                                                1/26/2024         $1,206
                                                                                           Other Landlord
                                                                 2/2/2024        $12,189
                                                   TOTAL FIOMARKA, LLC           $50,645

3.135 FISHER & PHILLIPS LLP                                     12/8/2023         $8,460   Secured debt
      1200 ABERNATHY ROAD ATLANTA, GA 30328                      1/5/2024         $4,975   Unsecured loan repayments
                                                                 2/2/2024         $3,148   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                             TOTAL FISHER & PHILLIPS LLP         $16,583

3.136 FIVE9 INC.                                                11/13/2023       $85,705   Secured debt
      1801 W OLYMPIC BLVD PASADENA, CA 91199                    12/4/2023        $87,840   Unsecured loan repayments
                                                                 1/5/2024        $77,640   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                                       TOTAL FIVE9 INC.       $251,184
                      Case 24-10164-KBO          Doc 280     Filed 03/06/24   Page 34 of 119
3.137 FL DEPT OF CHILDREN AND FAMILIES                          11/6/2023       $5,000   Secured debt
      1317 WINEWOOD BLVD TALLAHASSEE, FL 32399                  12/4/2023       $5,000   Unsecured loan repayments
                                                                1/5/2024        $5,000   Suppliers for vendors
                                                                                         Services
                                                                2/2/2024        $5,000
                                                                                         Other
                                TOTAL FL DEPT OF CHILDREN AND FAMILIES         $20,000

3.138 FLAGLER S.C., LLC                                         12/1/2023       $3,071   Secured debt
      C/O KIMCO REALTY CORPORATION JERICHO, NY 11753            1/5/2024        $3,071   Unsecured loan repayments
                                                                2/1/2024        $3,071   Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                                TOTAL FLAGLER S.C., LLC         $9,214

3.139 FLAMINGO KIDS LTD                                         11/6/2023        $852    Secured debt
      290 NW 165 STREET, PH2 MIAMI, FL 33169                    12/1/2023      $73,511   Unsecured loan repayments
                                                                1/5/2024       $75,035   Suppliers for vendors
                                                                                         Services
                                                                2/2/2024       $77,853
                                                                                         Other Landlord
                                               TOTAL FLAMINGO KIDS LTD        $227,251

3.140 FPL                                                       11/6/2023       $7,592   Secured debt
      GENERAL MAIL FACILITY MIAMI, FL 33188                     11/7/2023      $17,204   Unsecured loan repayments
                                                                11/8/2023       $7,547   Suppliers for vendors
                                                                                         Services
                                                                11/9/2023       $1,860
                                                                                         Other
                                                               11/13/2023        $183
                                                               11/14/2023      $21,995
                                                               11/15/2023       $3,122
                                                               11/20/2023       $5,023
                                                               11/21/2023      $10,845
                                                               11/22/2023       $3,089
                                                               11/28/2023      $13,598
                                                               11/29/2023       $5,273
                                                               11/30/2023       $8,328
                                                                12/1/2023        $275
                                                                12/4/2023       $7,227
                                                                12/5/2023      $12,224
                                                                12/7/2023       $1,546
                                                                12/8/2023       $1,801
                                                               12/11/2023       $4,183
                                                               12/12/2023      $21,965
                                                               12/13/2023       $6,974
                                                               12/14/2023       $7,381
                                                               12/18/2023       $2,451
                                                               12/19/2023      $11,183
                                                               12/20/2023       $4,922
                                                               12/21/2023        $357
                                                               12/26/2023       $3,023
                                                               12/28/2023      $12,714
                                                                1/2/2024        $5,273
                                                                1/3/2024       $26,135
                                                                1/4/2024        $2,927
                                                                1/9/2024       $12,674
                                                                1/10/2024       $2,291
                                                                1/11/2024       $3,466
                                                                1/17/2024      $21,344
                                                                1/18/2024       $3,406
                                                                1/22/2024       $2,537
                                                                1/23/2024       $8,769
                                                                1/24/2024       $3,893
                                                                1/25/2024      $12,929
                                                                1/30/2024      $11,971
                                                                1/31/2024       $6,557
                                                               TOTAL FPL         $328,058
                       Case 24-10164-KBO           Doc 280     Filed 03/06/24     Page 35 of 119
3.141 FRONTIER                                                    11/7/2023          $972    Secured debt
      P.O. BOX 709 SOUTH WINDSOR, CT 06074                        11/8/2023          $132    Unsecured loan repayments
                                                                  11/9/2023          $602    Suppliers for vendors
                                                                                             Services
                                                                 11/14/2023           $95
                                                                                             Other
                                                                 11/21/2023          $450
                                                                  12/4/2023          $815
                                                                  12/5/2023          $255
                                                                  12/7/2023          $449
                                                                  12/8/2023          $524
                                                                 12/11/2023          $132
                                                                 12/12/2023          $697
                                                                 12/21/2023          $209
                                                                 12/22/2023          $208
                                                                  1/3/2024         $1,070
                                                                  1/8/2024           $850
                                                                  1/9/2024         $1,301
                                                                  1/11/2024           $95
                                                                  1/22/2024          $209
                                                                  2/1/2024           $696
                                                          TOTAL FRONTIER           $9,760

3.142 FUENTES MOVING CORP                                         12/8/2023        $1,575    Secured debt
      9730 NW 10TH ST. MIAMI, FL 33172                            1/5/2024         $2,430    Unsecured loan repayments
                                                                  1/19/2024        $1,400    Suppliers for vendors
                                                                                             Services
                                                                  1/26/2024        $4,095
                                                                                             Other
                                              TOTAL FUENTES MOVING CORP            $9,500

3.143 GEOFFREY DESIGN GROUP INC                                  11/20/2023        $1,200    Secured debt
      70 NW 3RD AVE DELRAY BEACH, FL 33444                        1/5/2024         $7,444    Unsecured loan repayments
                                                                  1/12/2024          $250    Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                         TOTAL GEOFFREY DESIGN GROUP INC           $8,894

3.144 GEORGE BORDENAVE                                            12/1/2023       $31,621    Secured debt
      12000 SW 69 PLACE MIAMI, FL 33156                                                      Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other Landlord
                                                TOTAL GEORGE BORDENAVE            $31,621

3.145 GGF PICO RIVERA, LLC                                        12/1/2023       $41,142    Secured debt
      100 WEST BROADWAY, SUITE 950 GLENDALE, CA 91210                                        Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other Landlord
                                               TOTAL GGF PICO RIVERA, LLC         $41,142

3.146 GIBSON, DUNN & CRUTCHER LLP                                 12/4/2023      $275,000    Secured debt
      333 SOUTH GRAND AVENUE LOS ANGELES, CA 90071                12/7/2023      $375,000    Unsecured loan repayments
                                                                  2/2/2024       $294,239    Suppliers for vendors
                                                                                             Services
                                                                  2/2/2024      $1,935,813
                                                                                             Other Lender advisor
                                     TOTAL GIBSON, DUNN & CRUTCHER LLP          $2,880,052

3.147 GLOBAL ALLIANCE                                            11/20/2023        $5,318    Secured debt
      1700 NORTH DIXIE HIGHWAY BOCA RATON, FL 33432              12/22/2023        $2,659    Unsecured loan repayments
                                                                   1/5/2024        $2,659    Suppliers for vendors
                                                                                             Services
                                                                  1/12/2024        $2,659
                                                                                             Other
                                                   TOTAL GLOBAL ALLIANCE          $13,295

3.148 GOLDHAWK FINANCIAL PLLC                                    11/20/2023        $5,000    Secured debt
      7274 CATALINA ISLE DR LAKE WORTH, FL 33467                 12/22/2023        $1,500    Unsecured loan repayments
                                                                  1/5/2024         $1,750    Suppliers for vendors
                                                                                           Services
                      Case 24-10164-KBO             Doc 280    Filed 03/06/24   Page 36 ofOther
                                                                                           119
                                           TOTAL GOLDHAWK FINANCIAL PLLC          $8,250

3.149 GOOD OLD FUN LLC                                            11/6/2023       $3,390   Secured debt
      PO BOX 3051 BRANDON, FL 33509                              11/13/2023        $250    Unsecured loan repayments
                                                                  12/4/2023       $3,140   Suppliers for vendors
                                                                                           Services
                                                                  12/8/2023         $70
                                                                                           Other
                                                                 12/22/2023       $1,000
                                                                  1/5/2024        $1,740
                                                                  1/12/2024        $210
                                                                  2/2/2024        $3,150
                                                  TOTAL GOOD OLD FUN LLC         $12,950

3.150 GOODWIN PROCTER LLP                                         1/5/2024        $1,004   Secured debt
      100 NORTHERN AVENUE BOSTON, MA 02210                        1/12/2024      $31,389   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                              TOTAL GOODWIN PROCTER LLP          $32,393

3.151 GREENSPOINT INVESTORS, LTD                                  12/1/2023      $37,200   Secured debt
      9545 KATY FREEWAY SUITE 450 HOUSTON, TX 77024                                        Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                      TOTAL GREENSPOINT INVESTORS, LTD           $37,200

3.152 GREENWAY HEALTH LLC                                        12/22/2023      $18,178   Secured debt
      4301 W BOY SCOUT BLVD TAMPA, FL 33607                       1/19/2024      $12,946   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                              TOTAL GREENWAY HEALTH LLC          $31,125

3.153 GROVES MEDICAL PLAZA, LLC                                  11/17/2023      $16,799   Secured debt
      PO BOX 2406 JUPITER, FL 33468-2406                          12/1/2023      $16,641   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                      TOTAL GROVES MEDICAL PLAZA, LLC            $33,440

3.154 GROW GREEN LAWN CARE LLC                                    11/6/2023      $10,190   Secured debt
      2070 SW 36 TER FORT LAUDERDALE, FL 33312                                             Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                      TOTAL GROW GREEN LAWN CARE LLC             $10,190

3.155 HAL MECHANICAL, INC                                         12/8/2023      $13,215   Secured debt
      3805 ROCKBOTTOM STREET NORTH LAS VEGAS, NV 89030                                     Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                                TOTAL HAL MECHANICAL, INC        $13,215

3.156 HALLANDALE INVESTMENTS INC                                  12/1/2023      $13,182   Secured debt
      P.O. BOX 14127 NORTH PALM BEACH, FL 33408                   1/5/2024       $13,182   Unsecured loan repayments
                                                                  2/2/2024       $12,888   Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                    TOTAL HALLANDALE INVESTMENTS INC             $39,252

3.157 HANA J. CLEMENTS, MD LLC                                   11/10/2023      $60,481   Secured debt
      1629 LAKELAND HILLS BLVD. LAKELAND, FL 33805               12/15/2023      $47,404   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                           TOTAL HANA J. CLEMENTS, MD LLC       $107,885
3.158 HANDYMED CORP                                                 1/5/2024        $1,760   Secured debt
                     CaseFL24-10164-KBO
      1801 CORAL WAY MIAMI, 33145                    Doc 280     Filed  03/06/24
                                                                    1/11/2024
                                                                                   Page
                                                                                    $8,418
                                                                                          37 ofUnsecured
                                                                                                119 loan repayments
                                                                    1/26/2024       $2,997   Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                     TOTAL HANDYMED CORP           $13,175

3.159 HANESSA REALTY LLC                                            12/1/2023      $11,307   Secured debt
      2488 N. UNIVERSITY DRIVE PEMBROKE PINES, FL 33024             1/5/2024       $13,800   Unsecured loan repayments
                                                                    2/2/2024       $11,491   Suppliers for vendors
                                                                                             Services
                                                                                             Other Landlord
                                                TOTAL HANESSA REALTY LLC           $36,599

3.160 HCA DEPOSITOR                                                 12/1/2023      $13,570   Secured debt
      P.O. BOX 281146 ATLANTA, GA 30384                             1/5/2024       $13,570   Unsecured loan repayments
                                                                    2/2/2024       $13,825   Suppliers for vendors
                                                                                             Services
                                                                                             Other Landlord
                                                      TOTAL HCA DEPOSITOR          $40,965

3.161 HCP CTE LP                                                    12/1/2023      $24,358   Secured debt
      WESTSIDE MOB, LLC C/O HOLLADAY PROPERTIES ATLANTA, GA         1/5/2024       $23,901   Unsecured loan repayments
      30384                                                                                  Suppliers for vendors
                                                                    2/2/2024       $24,130
                                                                                             Services
                                                                                             Other Landlord
                                                          TOTAL HCP CTE LP         $72,389

3.162 HEALTH EQUITY INC                                             11/7/2023       $1,041   Secured debt
      15 WEST SCENIC POINTE DR., SUITE 100 DRAPER, UT 84020        11/13/2023        $367    Unsecured loan repayments
                                                                   11/14/2023       $3,702   Suppliers for vendors
                                                                                             Services
                                                                   11/17/2023      $15,092
                                                                                             Other
                                                                   11/21/2023        $832
                                                                    12/1/2023       $7,536
                                                                    12/4/2023       $1,493
                                                                   12/12/2023       $1,503
                                                                   12/14/2023       $6,451
                                                                   12/18/2023       $7,546
                                                                   12/19/2023       $3,593
                                                                   12/27/2023      $22,339
                                                                    1/2/2024           $1
                                                                    1/3/2024        $1,591
                                                                     1/9/2024        $127
                                                                    1/16/2024       $8,917
                                                                    1/17/2024        $941
                                                                    1/23/2024       $2,136
                                                                    1/26/2024       $8,595
                                                                    1/30/2024       $2,751
                                                    TOTAL HEALTH EQUITY INC        $96,554

3.163 HEALTHY CAR WASH CORP                                        11/20/2023      $30,625   Secured debt
      14629 SW 104TH ST SUITE 351 MIAMI, FL 33186                   12/8/2023       $2,990   Unsecured loan repayments
                                                                   12/15/2023       $3,475   Suppliers for vendors
                                                                                             Services
                                                                   12/22/2023      $16,095
                                                                                             Other
                                                                    1/12/2024      $27,300
                                            TOTAL HEALTHY CAR WASH CORP            $80,485

3.164 HEMISPHERE HOLDINGS I LLC                                     12/1/2023      $29,489   Secured debt
      6699 NW 36 AVENUE MIAMI, FL 33147                             1/5/2024       $30,258   Unsecured loan repayments
                                                                    2/2/2024       $30,258   Suppliers for vendors
                                                                                             Services
                                                                                             Other Landlord
                                          TOTAL HEMISPHERE HOLDINGS I LLC          $90,006

3.165 HEWLETT-PACKARD                                              11/17/2023       $1,181   Secured debt
      200 CONNELL DR BERKELEY HEIGHTS, NJ 07922                     12/8/2023      $35,333   Unsecured loan repayments
                                                                    1/4/2024       $35,333   Suppliers for vendors
                                                                    2/1/2024      $34,417   Services
                       Case 24-10164-KBO            Doc 280     Filed 03/06/24   Page 38 ofOther
                                                                                            119
                                                   TOTAL HEWLETT-PACKARD         $106,264

3.166 HIGHLAND LAKES MEDICAL CENTER, LLC                           12/1/2023       $6,066   Secured debt
      34041 U.S. HWY 19 NORTH PALM HARBOR, FL 34684                 1/5/2024       $6,066   Unsecured loan repayments
                                                                    2/2/2024       $6,066   Suppliers for vendors
                                                                                            Services
                                 TOTAL HIGHLAND LAKES MEDICAL CENTER,                       Other
                                                                  LLC             $18,199

3.167 HINSHAW & CULBERTSON LLP                                     12/15/2023     $64,760   Secured debt
      8142 SOLUTIONS CENTER DRIVE CHICAGO, IL 60677                1/12/2024       $1,078   Unsecured loan repayments
                                                                    2/2/2024     $131,129   Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                       TOTAL HINSHAW & CULBERTSON LLP            $196,966

3.168 HTA - AW FLORIDA MEDICAL CENTER EAST LLC                     12/1/2023      $10,998   Secured debt
      PO BOX 561549 DENVER, CO 80256                                1/5/2024      $10,911   Unsecured loan repayments
                                                                    2/1/2024      $10,911   Suppliers for vendors
                                                                                            Services
                                 TOTAL HTA - AW FLORIDA MEDICAL CENTER                      Other Landlord
                                                              EAST LLC            $32,821

3.169 HUMANA INC                                                   11/20/2023    $315,202   Secured debt
      500 WEST MAIN STREET LOUISVILLE, KY 40202                                             Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                                        TOTAL HUMANA INC         $315,202

3.170 HUMANA REAL ESTATE COMPANY                                   12/1/2023     $134,197   Secured debt
      500 W. MAIN ST. LOUISVILLE, KY 40202                          1/5/2024      $92,126   Unsecured loan repayments
                                                                    2/2/2024     $104,611   Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                    TOTAL HUMANA REAL ESTATE COMPANY             $330,935

3.171 HUSCH BLACKWELL LLP                                          12/8/2023       $9,868   Secured debt
      PO BOX 790379 ST LOUIS, MO 63179                             12/22/2023     $20,834   Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                             TOTAL HUSCH BLACKWELL LLP            $30,702

3.172 IMPRIVATA INC                                          12/4/2023            $59,412   Secured debt
      480 TOTTEN POND RD 6TH FLOOR, 20 CITYPOINT WALTHAM, MA                                Unsecured loan repayments
      02451                                                                                 Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                                       TOTAL IMPRIVATA INC        $59,412

3.173 INNEX II LLC                                                 12/1/2023       $9,082   Secured debt
      8004 NW 154TH STREET # 243 MIAMI, FL 33016                    1/5/2024       $9,181   Unsecured loan repayments
                                                                    2/2/2024       $9,174   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                                         TOTAL INNEX II LLC       $27,437

3.174 INNOVATION ASSOCIATES, INC DBA IA                            11/20/2023      $1,663   Secured debt
      711 INNOVATION WAY JOHNSON CITY, NY 13790                    12/22/2023     $68,605   Unsecured loan repayments
                                                                    1/5/2024     $440,148   Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                TOTAL INNOVATION ASSOCIATES, INC DBA IA          $510,416

3.175 IRON MOUNTAIN                                                11/6/2023       $8,818   Secured debt
      PO BOX 27128 NEW YORK, NY 10087                              11/20/2023      $7,778   Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                       Case 24-10164-KBO             Doc 280
                                                      TOTAL IRONFiled 03/06/24
                                                                MOUNTAIN         Page
                                                                                 $16,59639 of 119

3.176 ISRAM DELRAY JV LLC                                           12/1/2023      $6,755   Secured debt
      506 S. DIXIE HWY HALLANDALE, FL 33009                          1/5/2024      $6,755   Unsecured loan repayments
                                                                     2/2/2024      $6,755   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                                 TOTAL ISRAM DELRAY JV LLC        $20,264

3.177 ITE DATACOM LLC                                               11/20/2023     $7,150   Secured debt
      20300 NW 3RD AVE MIAMI, FL 33169                               1/5/2024      $7,150   Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                                    TOTAL ITE DATACOM LLC         $14,300

3.178 J & C PROPERTY MANAGEMENT INC                                 12/1/2023     $33,541   Secured debt
      8300 W FLAGLER ST STE 250 MIAMI, FL 33144                      1/5/2024     $33,541   Unsecured loan repayments
                                                                     2/2/2024     $33,541   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                  TOTAL J & C PROPERTY MANAGEMENT INC            $100,623

3.179 JAFFA-GODIVA LLC                                              12/1/2023      $4,515   Secured debt
      10508 GIBSONTON DR. RIVERVIEW, FL 33578                        1/5/2024      $4,515   Unsecured loan repayments
                                                                     2/2/2024      $4,515   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                                   TOTAL JAFFA-GODIVA LLC         $13,545

3.180 JASON M. GOLDMAN, MD, PA                                      12/15/2023   $136,636   Secured debt
      3001 CORAL HILLS DRIVE #340 CORAL SPRINGS, FL 33065                                   Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                           TOTAL JASON M. GOLDMAN, MD, PA        $136,636

3.181 JAVIER J. CANASI, MD, PA                                      12/15/2023    $60,555   Secured debt
      752 WATER WAY DRIVE N PALM BEACH, FL 33408                                            Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                              TOTAL JAVIER J. CANASI, MD, PA      $60,555

3.182 JCL HEART DIAGNOSIS LLC                                       1/12/2024      $6,400   Secured debt
      16400 NE 26TH AVE. NORTH MIAMI, FL 33160                       2/2/2024      $9,600   Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                            TOTAL JCL HEART DIAGNOSIS LLC         $16,000

3.183 JOCHE HOLDINGS LLC                                            12/1/2023      $6,064   Secured debt
      3690 W. 18 AVE. HIALEAH, FL 33012                              1/5/2024      $6,064   Unsecured loan repayments
                                                                     2/2/2024      $6,307   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                                 TOTAL JOCHE HOLDINGS LLC         $18,435

3.184 JPMORGAN CHASE BANK, N.A.                                      1/2/2024     $18,750   Secured debt
      1111 POLARIS PARKWAY COLUMBUS, OH 43240                                               Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                          TOTAL JPMORGAN CHASE BANK, N.A.         $18,750

3.185 KAHLON CORPORATION LLC                                        12/1/2023      $8,542   Secured debt
      1225 PORT HOUSTON ST HOUSTON, TX 77029                                                Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                        TOTAL KAHLON CORPORATION LLC              $8,542
                      Case 24-10164-KBO          Doc 280      Filed 03/06/24     Page 40 of 119
3.186 KEKST CNC                                                  12/22/2023     $120,000    Secured debt
      437 MADISON AVE NEW YORK, NY 10022                          1/5/2024        $3,240    Unsecured loan repayments
                                                                 1/26/2024       $14,803    Suppliers for vendors
                                                                                            Services
                                                                 1/26/2024      $100,000
                                                                                            Other
                                                       TOTAL KEKST CNC          $238,042

3.187 KEVIN INWOOD                                               12/1/2023        $4,592    Secured debt
      14092 HARBOR LANE PALM BEACH GARDENS, FL 33410              1/8/2024        $4,592    Unsecured loan repayments
                                                                  2/2/2024        $4,592    Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                                    TOTAL KEVIN INWOOD           $13,776

3.188 KEVIN J. GILBERT, MD, PA                                   12/15/2023     $196,806    Secured debt
      3109 45TH ST WEST PALM BEACH, FL 33407                                                Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                           TOTAL KEVIN J. GILBERT, MD, PA       $196,806

3.189 KIMCO REALTY CORPORATION                                   12/1/2023       $13,730    Secured debt
      500 NORTH BROADWAY SUITE 201 JERICHO, NY 11753                                        Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                     TOTAL KIMCO REALTY CORPORATION              $13,730

3.190 KLDISCOVERY ONTRACK LLC                                    12/8/2023       $10,554    Secured debt
      9023 COLUMBINE RD EDEN PRAIRIE, MN 55347                   1/12/2024          $359    Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                      TOTAL KLDISCOVERY ONTRACK LLC              $10,913

3.191 KPMG LLP                                                   11/13/2023     $100,037    Secured debt
      1350 AVENUE OF THE AMERICAS NEW YORK, NY 10019             12/15/2023     $273,503    Unsecured loan repayments
                                                                 1/12/2024      $342,005    Suppliers for vendors
                                                                                            Services
                                                                  2/2/2024     $1,170,690
                                                                                            Other
                                                        TOTAL KPMG LLP         $1,886,235

3.192 LABATON SUCHAROW LLP                                       12/6/2023       $75,000    Secured debt
      140 BROADWAY NEW YORK, NY 10005                             1/5/2024       $75,641    Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                         TOTAL LABATON SUCHAROW LLP             $150,641

3.193 LADYFISH KENDALL LLC                                       12/1/2023       $20,559    Secured debt
      55 MERRICK WAY CORAL GABLES, FL 33156                       1/5/2024       $20,559    Unsecured loan repayments
                                                                  2/2/2024       $20,559    Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                           TOTAL LADYFISH KENDALL LLC            $61,678

3.194 LAKE WORTH DOWNTOWN SHOPS                                  11/17/2023      $11,196    Secured debt
      533 NORTHLAKES BOULEVARD NORTH PALM BEACH, FL 33408        12/1/2023       $11,196    Unsecured loan repayments
                                                                  1/5/2024       $11,091    Suppliers for vendors
                                                                                            Services
                                                                  2/2/2024       $11,263
                                                                                            Other Landlord
                                  TOTAL LAKE WORTH DOWNTOWN SHOPS                $44,746

3.195 LAND 1 ONE LTD                                             12/1/2023       $32,043    Secured debt
      1553 SAN IGNACIO AVENUE CORAL GABLES, FL 33146              1/5/2024       $32,043    Unsecured loan repayments
                                                                  2/2/2024       $32,043    Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                                      TOTAL LAND 1 ONE LTD        $96,128
                       Case 24-10164-KBO             Doc 280    Filed 03/06/24   Page 41 of 119
3.196 LAUDERHILL CORPORATE CENTER 18 LLC                           11/7/2023      $13,448   Secured debt
      13280 NE 6TH AVE. OFF 100 NORTH MIAMI, FL 33161              12/1/2023      $13,448   Unsecured loan repayments
                                                                   1/5/2024       $13,529   Suppliers for vendors
                                                                                            Services
                                                              2/2/2024            $13,583
                                TOTAL LAUDERHILL CORPORATE CENTER 18                        Other Landlord
                                                                  LLC             $54,007

3.197 LEVISA ADVERTISING INC                                      11/20/2023       $9,143   Secured debt
      15420 SW 173RD ST MIAMI, FL 33187                            12/8/2023       $2,933   Unsecured loan repayments
                                                                  12/15/2023        $620    Suppliers for vendors
                                                                                            Services
                                                                  12/22/2023       $1,798
                                                                                            Other
                                                                   1/5/2024        $7,900
                                                                   1/12/2024       $4,211
                                                                   1/19/2024        $361
                                            TOTAL LEVISA ADVERTISING INC          $26,967

3.198 LHC ST CLOUD LLLP                                            12/1/2023      $55,849   Secured debt
      703 NW 62ND AVE. SUITE 800 MIAMI, FL 33126                   1/5/2024       $55,849   Unsecured loan repayments
                                                                   2/2/2024       $55,849   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                                   TOTAL LHC ST CLOUD LLLP       $167,547

3.199 LIGHTBEAM HEALTH SOLUTIONS INC                               12/4/2023     $158,177   Secured debt
      222 WEST LAS COLINAS BLVD IRVING, TX 75039                                            Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                 TOTAL LIGHTBEAM HEALTH SOLUTIONS INC            $158,177

3.200 LIGHTHOUSE RCR I LLC                                         12/1/2023       $3,785   Secured debt
      4841 NE 28TH AVE. LIGHTHOUSE POINT, FL 33064                 1/5/2024        $3,785   Unsecured loan repayments
                                                                   2/2/2024        $3,785   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                              TOTAL LIGHTHOUSE RCR I LLC          $11,355

3.201 LOCICERO MEDICAL GROUP                                      11/10/2023      $17,424   Secured debt
      2605 W SWANN AVE SUITE 600 TAMPA, FL 33609                                            Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                          TOTAL LOCICERO MEDICAL GROUP            $17,424

3.202 LRF2 ORL GROVE PARK CENTER, LLC                             11/17/2023      $22,861   Secured debt
      PO BOX 74963 CLEVELAND, OH 44194-1046                        12/1/2023      $22,647   Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                TOTAL LRF2 ORL GROVE PARK CENTER, LLC             $45,508

3.203 LSG1 EL PARAISO LLC                                          12/1/2023      $28,561   Secured debt
      3162 COMMODORE BLVD., SUITE 2C MIAMI, FL 33133               1/5/2024       $28,412   Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                               TOTAL LSG1 EL PARAISO LLC          $56,972

3.204 LUCTO FIRE SPRINKLER CORPORATION                            11/20/2023       $7,104   Secured debt
      8346 NW SOUTH RIVER DR, UNIT A MEDLEY, FL 33166             1/12/2024        $1,895   Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                             TOTAL LUCTO FIRE SPRINKLER                     Other
                                                           CORPORATION             $8,999

3.205 LUMA HEALTH TECHNOLOGIES                                     1/5/2024       $82,968   Secured debt
      3RD AVENUE SAN MATEO, CA 94401                                                        Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                             Services
                      Case 24-10164-KBO           Doc 280        Filed 03/06/24   Page 42 ofOther
                                                                                             119
                                      TOTAL LUMA HEALTH TECHNOLOGIES               $82,968

3.206 LYFT, INC.                                                   11/13/2023     $129,554   Secured debt
      185 BERRY STREET SUITE 5000 SAN FRANCISCO, CA 94107          11/20/2023      $86,967   Unsecured loan repayments
                                                                     1/5/2024     $196,511   Suppliers for vendors
                                                                                             Services
                                                                    1/12/2024      $47,206
                                                                                             Other
                                                            TOTAL LYFT, INC.      $460,238

3.207 M. MICHAEL HANNA, DO, PA                                     11/10/2023      $76,156   Secured debt
      1411 N FLAGLER DRIVE SUITE 6300 WEST PALM BEACH, FL          12/15/2023      $56,621   Unsecured loan repayments
      33401                                                                                  Suppliers for vendors
                                                                    1/12/2024      $71,140
                                                                                             Services
                                                                                             Other
                                         TOTAL M. MICHAEL HANNA, DO, PA           $203,917

3.208 MAGICWASTE MANAGEMENT CORP                                   11/20/2023       $7,222   Secured debt
      8600 N.W. 17TH STREET, SUITE #130 DORAL, FL 33126              1/5/2024       $6,774   Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                  TOTAL MAGICWASTE MANAGEMENT CORP                 $13,996

3.209 MANIFEST MEDEX                                                11/6/2023      $10,000   Secured debt
      6001 SHELLMOUND ST., STE. 500 EMERYVILLE, CA 94608                                     Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                  TOTAL MANIFEST MEDEX             $10,000

3.210 MARSDEN SOUTH, LLC                                           11/20/2023       $5,354   Secured debt
      11000 WILCREST DR HOUSTON, TX 77099                            1/5/2024       $5,354   Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                              TOTAL MARSDEN SOUTH, LLC             $10,707

3.211 MAX R. PENA                                                   12/1/2023       $3,340   Secured debt
      4204 CARROLLWOOD VILLAGE CT. CARROLLWOOD, FL 33618             1/5/2024       $3,340   Unsecured loan repayments
                                                                     2/2/2024       $3,340   Suppliers for vendors
                                                                                             Services
                                                                                             Other Landlord
                                                          TOTAL MAX R. PENA        $10,020

3.212 MCDERMOTT WILL & EMERY LLP                                   11/30/2023       $7,062   Secured debt
      P.O. BOX 1675 CAROL STREAM, IL 60132                         12/15/2023     $298,108   Unsecured loan repayments
                                                                    2/2/2024       $98,998   Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                     TOTAL MCDERMOTT WILL & EMERY LLP             $404,167

3.213 MCKESSON MEDICAL SURGICAL INC.                               11/20/2023      $17,708   Secured debt
      9954 MAYLAND DRIVE SUITE 4000 HENRICO, VA 23233                1/5/2024         $89    Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                TOTAL MCKESSON MEDICAL SURGICAL INC.               $17,797

3.214 MCS LIFE                                                     11/10/2023       $3,909   Secured debt
      PONCE DE LEÓN AVENUE 255 SAN JUAN, PR 00917                  12/11/2023       $3,909   Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                             TOTAL MCS LIFE         $7,818

3.215 MD TECHNOLOGY SERVICES LLC                                    11/6/2023       $8,000   Secured debt
      2242 W BELMONT AVE #1E CHICAGO, IL 60618                                               Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                          Other
                       Case 24-10164-KBO     Doc 280SERVICES
                                 TOTAL MD TECHNOLOGY  Filed 03/06/24
                                                             LLC               Page
                                                                                $8,00043 of 119

3.216 MEALS ON WHEELS SAN ANTONIO                                 11/20/2023     $7,228   Secured debt
      2718 DANBURY SAN ANTONIO, TX 78217                           1/5/2024      $2,198   Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                   TOTAL MEALS ON WHEELS SAN ANTONIO             $9,426

3.217 MEDLEY COMMERCIAL CENTER                                     12/1/2023     $9,770   Secured debt
      7911 NW 72ND AVE SUITE 220-B MEDLEY, FL 33166                1/5/2024      $9,770   Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other Landlord
                                      TOTAL MEDLEY COMMERCIAL CENTER            $19,541

3.218 MEDLINE INDUSTRIES LP                                        11/6/2023    $11,174   Secured debt
      THREE LAKES DRIVE NORTHFIELD, IL 60093                      11/13/2023    $15,550   Unsecured loan repayments
                                                                  11/20/2023    $21,888   Suppliers for vendors
                                                                                          Services
                                                                   12/4/2023    $32,659
                                                                                          Other
                                                                  12/15/2023    $14,840
                                                                  12/22/2023    $15,155
                                                                   1/5/2024     $22,739
                                             TOTAL MEDLINE INDUSTRIES LP       $134,005

3.219 MEMORIAL HEALTHCARE SYSTEM                                   12/1/2023    $13,469   Secured debt
      3111 STIRLING ROAD HOLLYWOOD, FL 33312                       1/5/2024     $13,216   Unsecured loan repayments
                                                                   2/1/2024     $13,343   Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                   TOTAL MEMORIAL HEALTHCARE SYSTEM             $40,028

3.220 MERCATOR PROPERTIES, INC                                     12/1/2023     $8,740   Secured debt
      230 MOHAWK ROAD CLERMONT, FL 34715                           1/5/2024      $8,772   Unsecured loan repayments
                                                                   2/2/2024      $8,725   Suppliers for vendors
                                                                                          Services
                                                                                          Other Landlord
                                        TOTAL MERCATOR PROPERTIES, INC          $26,236

3.221 MERIT MEDICAL CARE LLC                                      11/10/2023    $17,415   Secured debt
      45 MCLEOD ST MERRITT ISLAND, FL 32953                                               Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                            TOTAL MERIT MEDICAL CARE LLC        $17,415

3.222 MHM MEDICAL GROUP PLLC                                      11/10/2023    $44,624   Secured debt
      835 EXECUTIVE LANE ROCKLEDGE, FL 32955                                              Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                         TOTAL MHM MEDICAL GROUP PLLC           $44,624

3.223 MIAMI LAKES CORPORATE CENTER, LLC                            12/1/2023    $18,557   Secured debt
      ATTN DENNIS AMOLIS NORTH MIAMI BEACH, FL 33179               1/5/2024     $18,557   Unsecured loan repayments
                                                                   2/2/2024     $18,557   Suppliers for vendors
                                                                                          Services
                                  TOTAL MIAMI LAKES CORPORATE CENTER,                     Other
                                                                  LLC           $55,671

3.224 MIAMI SIGNS CORP                                            11/20/2023     $3,750   Secured debt
      7870 WEST 25TH CT HIALEAH, FL 33016                          1/5/2024     $11,616   Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                                    TOTAL MIAMI SIGNS CORP      $15,366

3.225 MIAMI STYLE DESIGN                                          12/15/2023     $8,200   Secured debt
      1300 SOUTH MIAMI AVE, #2106 MIAMI, FL 33130                  1/5/2024      $4,100   Unsecured loan repayments
                                                                                             Suppliers for vendors
                       Case 24-10164-KBO            Doc 280    Filed 03/06/24     Page 44 ofServices
                                                                                             119
                                                                                             Other
                                                 TOTAL MIAMI STYLE DESIGN         $12,300

3.226 MIAMI-DADE WATER & SEWER DEP                                11/7/2023        $2,514    Secured debt
      PO BOX 026055 MIAMI, FL 33102                               11/8/2023          $306    Unsecured loan repayments
                                                                 11/13/2023        $2,733    Suppliers for vendors
                                                                                             Services
                                                                 11/14/2023          $839
                                                                                             Other
                                                                 11/20/2023        $1,340
                                                                 11/21/2023          $228
                                                                 11/28/2023        $8,725
                                                                 11/30/2023          $117
                                                                  12/4/2023          $103
                                                                  12/5/2023        $3,403
                                                                 12/12/2023           $90
                                                                 12/14/2023          $183
                                                                 12/19/2023           $98
                                                                 12/20/2023          $617
                                                                 12/21/2023          $143
                                                                 12/27/2023          $443
                                                                  1/3/2024         $3,379
                                                                  1/4/2024           $567
                                                                  1/8/2024           $407
                                                                  1/9/2024           $404
                                                                  1/17/2024        $4,216
                                                                  1/23/2024           $85
                                                                  1/30/2024           $96
                                                                  1/31/2024          $318
                                   TOTAL MIAMI-DADE WATER & SEWER DEP             $31,355

3.227 MID-ATLANTIC INVESTMENTS INC                                12/1/2023       $18,365    Secured debt
      4150 N. ARMENIA AVE STE 205 TAMPA, FL 33607                 1/5/2024        $18,365    Unsecured loan repayments
                                                                  2/1/2024        $18,365    Suppliers for vendors
                                                                                             Services
                                                                                             Other Landlord
                                    TOTAL MID-ATLANTIC INVESTMENTS INC            $55,096

3.228 MONDAY.COM LTD                                             11/20/2023       $48,000    Secured debt
      6 YITZHAK SADEH STREET TEL AVIV, 6777506                                               Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                    TOTAL MONDAY.COM LTD          $48,000

3.229 MORGAN, LEWIS & BOCKIUS LLP                                 11/6/2023      $132,502    Secured debt
      420 MONTGOMERY STREET SAN FRANCISCO, CA 94104               12/4/2023      $417,764    Unsecured loan repayments
                                                                 12/15/2023      $292,811    Suppliers for vendors
                                                                                             Services
                                                                  2/2/2024       $594,477
                                                                                             Other
                                     TOTAL MORGAN, LEWIS & BOCKIUS LLP          $1,437,553

3.230 MP PARKING                                                 11/20/2023       $10,450    Secured debt
      1110 BRICKELL AVE SUITE 430 MIAMI, FL 33131                1/12/2024         $5,225    Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                        TOTAL MP PARKING          $15,675

3.231 M-THREE CORP                                                12/1/2023       $17,367    Secured debt
      2475 SW 37TH AVE MIAMI, FL 33145                            1/5/2024        $17,367    Unsecured loan repayments
                                                                  2/2/2024        $17,367    Suppliers for vendors
                                                                                             Services
                                                                                             Other Landlord
                                                      TOTAL M-THREE CORP          $52,102

3.232 NAVEX GLOBAL                                               11/20/2023       $12,166    Secured debt
      5500 MEADOWS ROAD STE 500 LAKE OSWEGO, OR 97035
                                                                  12/22/2023        $7,163    Unsecured loan repayments
                      Case 24-10164-KBO           Doc 280       Filed 03/06/24     Page 45 ofSuppliers
                                                                                              119 for vendors
                                                                                              Services
                                                                                              Other
                                                   TOTAL NAVEX GLOBAL              $19,329

3.233 NELSON MULLINS RILEY & SCARBOROUGH LLP                      11/30/2023       $61,891    Secured debt
      PO BOX 11009 COLUMBIA, SC 29211                              2/2/2024       $148,317    Unsecured loan repayments
                                                                                              Suppliers for vendors
                                                                                              Services
                                           TOTAL NELSON MULLINS RILEY &                       Other
                                                     SCARBOROUGH LLP              $210,207

3.234 NET2PHONE, INC                                              11/20/2023        $7,235    Secured debt
      520 BROAD STREET NEWARK, NJ 07107                           11/21/2023        $2,505    Unsecured loan repayments
                                                                  12/19/2023        $3,798    Suppliers for vendors
                                                                                              Services
                                                                  12/20/2023        $5,941
                                                                                              Other
                                                                  1/22/2024        $10,106
                                                  TOTAL NET2PHONE, INC             $29,585

3.235 NEW GREENLAND HOLDINGS LLC                                  12/1/2023        $36,011    Secured debt
      1140 NE 163RD STREET SUITE 28 NORTH MIAMI BEACH, FL          1/5/2024        $36,011    Unsecured loan repayments
      33162                                                                                   Suppliers for vendors
                                                                   2/2/2024        $36,011
                                                                                              Services
                                                                                              Other Landlord
                                   TOTAL NEW GREENLAND HOLDINGS LLC               $108,032

3.236 NEW MARKET POLO GROUNDS LLC                                 12/1/2023        $10,166    Secured debt
      P.O. BOX 27324 SAN DIEGO, CA 92198                           1/5/2024        $10,711    Unsecured loan repayments
                                                                   2/1/2024        $10,275    Suppliers for vendors
                                                                                              Services
                                                                                              Other Landlord
                                  TOTAL NEW MARKET POLO GROUNDS LLC                $31,152

3.237 NEXTRUST BILLFLASH                                          11/8/2023         $7,292    Secured debt
      1755 PROSPECTOR AVE PARK CITY, UT 84060                     12/8/2023         $7,075    Unsecured loan repayments
                                                                   1/9/2024        $11,149    Suppliers for vendors
                                                                                              Services
                                                                                              Other
                                              TOTAL NEXTRUST BILLFLASH             $25,516

3.238 NORTHEAST SERIES OF LOCKTON LLC.                            1/12/2024       $793,087    Secured debt
      PO BOX 741732 ATLANTA, GA 30374                              2/2/2024      $3,357,287   Unsecured loan repayments
                                                                                              Suppliers for vendors
                                                                                              Services
                                   TOTAL NORTHEAST SERIES OF LOCKTON                          Other
                                                                 LLC.            $4,150,374

3.239 NORTHPARK PROFESSIONAL GROUP, LLC                           12/1/2023        $11,416    Secured debt
      16400 NW 2ND AVE, SUITE 203 NORTH MIAMI BEACH, FL 33169      1/5/2024        $11,338    Unsecured loan repayments
                                                                   2/2/2024        $11,338    Suppliers for vendors
                                                                                              Services
                                TOTAL NORTHPARK PROFESSIONAL GROUP,                           Other
                                                               LLC                 $34,092

3.240 NORTHSIDE CENTRE LLC                                        12/1/2023        $13,396    Secured debt
      696 NE 125TH STREET NORTH MIAMI, FL 33161                    1/5/2024        $13,396    Unsecured loan repayments
                                                                   2/2/2024        $13,396    Suppliers for vendors
                                                                                              Services
                                                                                              Other Landlord
                                            TOTAL NORTHSIDE CENTRE LLC             $40,189

3.241 NUANCE COMMUNICATIONS, INC.                                 11/20/2023        $6,400    Secured debt
      1 WAYSIDE ROADE BURLINGTON, MA 01803                         1/5/2024         $5,150    Unsecured loan repayments
                                                                                              Suppliers for vendors
                                                                                              Services
                                                                                              Other
                                    TOTAL NUANCE COMMUNICATIONS, INC.              $11,550

3.242 NV ENERGY                                                   11/6/2023           $707    Secured debt
      P.O. BOX 30150 RENO, NV 89520                               11/15/2023       $1,777   Unsecured loan repayments
                      Case 24-10164-KBO             Doc 280    Filed  03/06/24
                                                                  11/16/2023     Page
                                                                                   $74946 of 119 for vendors
                                                                                           Suppliers
                                                                  11/21/2023        $278    Services
                                                                                            Other
                                                                  11/22/2023         $49
                                                                  11/29/2023        $366
                                                                  12/1/2023        $1,214
                                                                  12/6/2023        $1,572
                                                                  12/7/2023         $665
                                                                  12/15/2023       $1,266
                                                                  12/18/2023        $412
                                                                  12/21/2023        $243
                                                                  12/22/2023         $80
                                                                  12/29/2023        $284
                                                                   1/3/2024         $853
                                                                   1/8/2024        $1,386
                                                                   1/9/2024         $585
                                                                  1/10/2024          $27
                                                                  1/19/2024        $1,089
                                                                  1/22/2024         $330
                                                                  1/25/2024         $180
                                                                  1/26/2024          $91
                                                                  1/31/2024         $222
                                                                   2/2/2024         $450
                                                         TOTAL NV ENERGY          $14,876

3.243 OAKS CENTER OF THE PALM BEACHES LLC                         12/1/2023       $13,232   Secured debt
      3825 PGA BLVD STE 1003 JUPITER, FL 33410                     1/5/2024       $13,280   Unsecured loan repayments
                                                                   2/2/2024       $13,280   Suppliers for vendors
                                                                                            Services
                              TOTAL OAKS CENTER OF THE PALM BEACHES                         Other Landlord
                                                                LLC               $39,792

3.244 OCEAN XRAY SERVICE INC                                      11/20/2023        $214    Secured debt
      PO BOX 211856 ROYAL PALM BEACH, FL 33421                    12/8/2023       $12,202   Unsecured loan repayments
                                                                  1/19/2024         $340    Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                           TOTAL OCEAN XRAY SERVICE INC           $12,756

3.245 OCTAGON SOUTH FLORIDA                                       11/6/2023       $10,750   Secured debt
      101 NE 3RD AVENUE SUITE 1500 FORT LAUDERDALE, FL 33301      11/20/2023      $44,500   Unsecured loan repayments
                                                                  12/22/2023      $10,750   Suppliers for vendors
                                                                                            Services
                                                                  1/12/2024        $8,750
                                                                                            Other
                                                                   2/1/2024       $37,000
                                           TOTAL OCTAGON SOUTH FLORIDA           $111,750

3.246 ODR FAMILY LLLP                                             12/1/2023       $36,556   Secured debt
      2208 BRANCH HIL ST TAMPA, FL 33612                           1/5/2024       $10,650   Unsecured loan repayments
                                                                   2/2/2024       $10,650   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                                    TOTAL ODR FAMILY LLLP         $57,856

3.247 ORACLE AMERICA INC                                          11/6/2023      $133,637   Secured debt
      PO BOX 203448 DALLAS, TX 75320                              11/13/2023      $10,158   Unsecured loan repayments
                                                                  12/22/2023      $10,288   Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                                 TOTAL ORACLE AMERICA INC        $154,083

3.248 ORIGINAL IMPRESSIONS, LLC                                   11/20/2023       $6,683   Secured debt
      2965 WEST COPORATE LAKES BLVD WESTON, FL 33331              12/22/2023        $476    Unsecured loan repayments
                                                                   1/5/2024       $11,605   Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                       TOTAL ORIGINAL IMPRESSIONS, LLC            $18,764
3.249 PACHULSKI STANG ZIEHL & JONES LLP                           2/2/2024       $75,000   Secured debt
                      CaseWILMINGTON,
      919 N. MARKET STREET  24-10164-KBO
                                       DE 19801 Doc 280        Filed 03/06/24   Page 47 ofUnsecured
                                                                                           119 loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other Lender advisor
                              TOTAL PACHULSKI STANG ZIEHL & JONES LLP            $75,000

3.250 PACIFICA ENGINEERING SERVICES LLC                          11/20/2023      $10,335   Secured debt
      601 N CONGRESS AVE, SUITE 303 DELRAY BEACH, FL 33445                                 Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                              TOTAL PACIFICA ENGINEERING SERVICES LLC            $10,335

3.251 PALM BEACH WELLNESS LLC                                    12/15/2023     $136,342   Secured debt
      2645 N FEDERAL HIGHWAY, STE 100 DELRAY BEACH, FL 33483                               Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                       TOTAL PALM BEACH WELLNESS LLC            $136,342

3.252 PALM SHOPPING CORP.                                        12/1/2023       $14,227   Secured debt
      3455 SW 130 AVENUE MIAMI, FL 33175                          1/5/2024       $14,227   Unsecured loan repayments
                                                                  2/2/2024       $14,814   Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                             TOTAL PALM SHOPPING CORP.           $43,267

3.253 PAMELA STEARNS, M.D P.A                                    12/1/2023       $10,102   Secured debt
      19000 SW 51 MANOR SOUTHWEST RANCHES, FL 33332               1/5/2024       $10,102   Unsecured loan repayments
                                                                  2/2/2024       $10,102   Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                           TOTAL PAMELA STEARNS, M.D P.A         $30,306

3.254 PARK CENTRE PARTNERS LLC                                   12/1/2023       $26,615   Secured debt
      1922 NE 149TH ST NORTH MIAMI, FL 33181-1112                 1/5/2024       $26,615   Unsecured loan repayments
                                                                  2/2/2024       $26,615   Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                      TOTAL PARK CENTRE PARTNERS LLC             $79,846

3.255 PEDIATRIC ASSOCIATES                                       12/1/2023       $11,029   Secured debt
      900 S PINE ISLAND RD STE 800 PLANTATION, FL 33324                                    Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                             TOTAL PEDIATRIC ASSOCIATES          $11,029

3.256 PERSIVIA , INC                                             11/20/2023       $7,500   Secured debt
      4 MOUNT ROYAL AVE 4TH FLOOR MARLBOROUGH, MA 01752          1/12/2024        $7,500   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                                     TOTAL PERSIVIA , INC        $15,000

3.257 PISCIS PROPERTY MANAGEMENT                                 12/1/2023       $16,058   Secured debt
      4851 WESTON RD #235 WESTON, FL 33331                        1/5/2024       $16,058   Unsecured loan repayments
                                                                  2/2/2024       $16,058   Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                   TOTAL PISCIS PROPERTY MANAGEMENT              $48,175

3.258 PNM                                                        11/8/2023         $918    Secured debt
      PO BOX 27900 ALBUQUERQUE, NM 87125                         11/30/2023       $1,691   Unsecured loan repayments
                                                                 12/4/2023         $784    Suppliers for vendors
                                                                                           Services
                                                                 12/11/2023        $937
                                                                                           Other
                                                                 12/19/2023       $4,120
                                                                 12/26/2023       $3,583
                                                                  1/3/2024        $1,902
                                                                  1/5/2024          $781
                       Case 24-10164-KBO           Doc 280     Filed  03/06/24
                                                                  1/10/2024      Page
                                                                                  $3,96748 of 119
                                                                 1/11/2024          $922
                                                                  2/1/2024         $1,379
                                                               TOTAL PNM          $20,983

3.259 PODOCARE CLINICAL SPECIALIST PROFESSIONAL LLC              11/20/2023        $8,000   Secured debt
      2000 NW 87TH AVE STE 217 MIAMI, FL 33172                    1/5/2024         $8,800   Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                   TOTAL PODOCARE CLINICAL SPECIALIST                       Other
                                                   PROFESSIONAL LLC               $16,800

3.260 POMPANO BEACH PLAZA DK LLC                                 12/1/2023         $3,794   Secured debt
      401 EAST LAS OLAS BLVD, SUITE 130-689 FORT LAUDERDALE,      1/5/2024         $3,794   Unsecured loan repayments
      FL 33301                                                                              Suppliers for vendors
                                                                  2/2/2024         $3,794
                                                                                            Services
                                                                                            Other Landlord
                                    TOTAL POMPANO BEACH PLAZA DK LLC              $11,383

3.261 PORTAIRS PARTNERS LP                                       12/1/2023        $20,135   Secured debt
      3201 CHERRY RISGE SUITE B-209 SAN ANTONIO, TX 78230                                   Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                            TOTAL PORTAIRS PARTNERS LP            $20,135

3.262 PPM CAPITAL LLC                                            12/1/2023        $16,494   Secured debt
      20900 NE 30TH AVENUE, SUITE 307 AVENTURA, FL 33180          1/5/2024        $16,339   Unsecured loan repayments
                                                                  2/2/2024        $16,339   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                                   TOTAL PPM CAPITAL LLC          $49,172

3.263 PREFERRED CARE PARTNERS INC.                               1/26/2024       $196,723   Secured debt
      9100 S. DADELAND BLVD, SUITE 1250 MIAMI, FL 33156-7838                                Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                   TOTAL PREFERRED CARE PARTNERS INC.            $196,723

3.264 PRIMETIME EXPRESS SERVICES INC                             11/6/2023        $34,500   Secured debt
      8950 SW 77TH COURT MIAMI, FL 33156                         11/13/2023       $20,983   Unsecured loan repayments
                                                                 11/20/2023       $44,595   Suppliers for vendors
                                                                                            Services
                                                                 12/4/2023        $56,345
                                                                                            Other
                                                                  1/5/2024        $34,650
                                                                 1/12/2024        $31,804
                                                                 1/19/2024        $71,717
                                 TOTAL PRIMETIME EXPRESS SERVICES INC            $294,593

3.265 PROASSURANCE SPECIALTY INSURANCE COMPANY, INC.             1/19/2024        $34,455   Secured debt
      100 BROOKWOOD PLACE BIRMINGHAM, AL 35209                                              Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                        TOTAL PROASSURANCE SPECIALTY                        Other
                                               INSURANCE COMPANY, INC.            $34,455

3.266 PROMOCIONES 96 INC.                                        12/1/2023        $14,044   Secured debt
      21181 LA VISTA CIRCLE BOCA RATON, FL 33428                  1/5/2024        $14,746   Unsecured loan repayments
                                                                  2/2/2024        $14,746   Suppliers for vendors
                                                                                            Services
                                                                                            Other Landlord
                                              TOTAL PROMOCIONES 96 INC.           $43,536

3.267 PROVIDER'S CHOICE SCRIBE SERVICES                          11/20/2023       $19,563   Secured debt
      11122 WURZBACH RD. SAN ANTONIO, TX 78230                                              Unsecured loan repayments
                                                                                            Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                          TOTAL PROVIDER'S CHOICE SCRIBE         $19,563
                      Case 24-10164-KBO            Doc 280 Filed     03/06/24
                                                                SERVICES        Page 49 of 119
3.268 Q HOLDINGS EAST HIALEAH LLC                                  12/1/2023     $43,725   Secured debt
      8210 NW 27TH ST SUITE 205 DORAL, FL 33122                                            Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                    TOTAL Q HOLDINGS EAST HIALEAH LLC            $43,725

3.269 Q HOLDINGS WEST KENDALL LLC                                  12/1/2023     $26,478   Secured debt
      8210 NW 27TH ST SUITE 205 DORAL, FL 33122                    1/5/2024      $26,171   Unsecured loan repayments
                                                                   2/2/2024      $26,171   Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                   TOTAL Q HOLDINGS WEST KENDALL LLC             $78,821

3.270 QTS TRS CMBS, LLC                                            1/19/2024      $2,517   Secured debt
      12851 FOSTER STREET OVERLAND PARK, KS 66213                  2/1/2024      $10,508   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                                   TOTAL QTS TRS CMBS, LLC       $13,025

3.271 QUINN EMANUEL URQUHART & SULLIVAN LLP                        1/23/2024    $500,000   Secured debt
      865 S. FIGUEROA STREET LOS ANGELES, CA 90017                 2/2/2024     $250,000   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                      TOTAL QUINN EMANUEL URQUHART &                       Other
                                                         SULLIVAN LLP           $750,000

3.272 RANGEL ENTERPRISE LLC.                                      11/17/2023     $13,460   Secured debt
      4160 N ARMENIA AVE SUITE A TAMPA, FL 33607                   12/1/2023     $13,460   Unsecured loan repayments
                                                                   1/5/2024      $13,683   Suppliers for vendors
                                                                                           Services
                                                                   2/1/2024      $13,683
                                                                                           Other Landlord
                                           TOTAL RANGEL ENTERPRISE LLC.          $54,287

3.273 RAP MEDICAL CENTER, LLC                                      12/1/2023     $13,735   Secured debt
      C/O SOUTHERN MAGMT & DEV., LP BOCA RATON, FL 33431                                   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                          TOTAL RAP MEDICAL CENTER, LLC          $13,735

3.274 RED ROCK SQUARE LLC                                          12/1/2023     $27,412   Secured debt
      5701 W CHARLESTON BLVD STE 208 LAS VEGAS, NV 89146                                   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                             TOTAL RED ROCK SQUARE LLC           $27,412

3.275 RED SAIL TECHNOLOGIES LLC                                   11/20/2023     $13,292   Secured debt
      201 W. SAINT JOHN ST. SPARTANBURG, SC 29306                  1/12/2024     $12,855   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                      TOTAL RED SAIL TECHNOLOGIES LLC            $26,147

3.276 REGENCY CENTERS, L.P.                                        12/1/2023     $28,169   Secured debt
      P.O. BOX 531703 ATLANTA, GA 30353                             1/5/2024    $108,454   Unsecured loan repayments
                                                                   2/2/2024      $28,169   Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                             TOTAL REGENCY CENTERS, L.P.        $164,793

3.277 REINALDO PAINT & BODY SHOP INC.                             11/20/2023      $9,919   Secured debt
      7700 NW 72ND AVE MEDLEY, FL 33166                           12/15/2023      $1,000   Unsecured loan repayments
                                                                  12/22/2023       $995    Suppliers for vendors
                                                                                           Services
                                                                   1/5/2024       $3,586
                                                                                           Other
                                                                   1/12/2024      $3,682
                                                                1/19/2024      $1,000
                      Case 24-10164-KBO      Doc 280
                              TOTAL REINALDO PAINT & BODYFiled
                                                          SHOP 03/06/24
                                                               INC.           Page
                                                                              $20,18250 of 119

3.278 RELIANT, DEPT 0954                                        11/7/2023      $1,083    Secured debt
      P.O. BOX 1532 HOUSTON, TX 77251                           11/8/2023      $1,859    Unsecured loan repayments
                                                                11/9/2023      $1,030    Suppliers for vendors
                                                                                         Services
                                                               11/13/2023      $1,605
                                                                                         Other
                                                               11/20/2023      $1,785
                                                               11/27/2023        $388
                                                               11/29/2023        $645
                                                                12/6/2023        $874
                                                               12/11/2023      $2,967
                                                               12/28/2023        $532
                                                                1/2/2024         $396
                                                                1/9/2024         $629
                                                                1/10/2024        $347
                                                                1/16/2024        $874
                                                                1/23/2024        $990
                                                                1/29/2024        $312
                                               TOTAL RELIANT, DEPT 0954       $16,317

3.279 RGV HIE                                                   11/6/2023     $10,214    Secured debt
      PO BOX 2705 HARLINGEN, TX 78551                                                    Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                                         TOTAL RGV HIE        $10,214

3.280 RIGHT MEDICAL CARE                                       11/10/2023     $82,749    Secured debt
      835 EXECUTIBE LN STE 130 ROCKLEDGE, FL 32955                                       Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                              TOTAL RIGHT MEDICAL CARE        $82,749

3.281 RINGCENTRAL, INC.                                        11/13/2023     $13,451    Secured debt
      20 DAVIS DRIVE BELMONT, CA 94002                         11/20/2023      $5,590    Unsecured loan repayments
                                                                1/5/2024      $19,063    Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                                TOTAL RINGCENTRAL, INC.       $38,104

3.282 RITA CHUANG                                               11/6/2023      $1,020    Secured debt
      REDACTED                                                  12/1/2023     $10,749    Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                                                                         Other Employee
                                                     TOTAL RITA CHUANG        $11,769

3.283 ROSETREE SOLUTIONS, LLC                                  11/20/2023     $26,998    Secured debt
      PO BOX 701499 DALLAS, TX 75370                            12/4/2023      $9,988    Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                         TOTAL ROSETREE SOLUTIONS, LLC        $36,985

3.284 RSC INSURANCE BROKERAGE, INC                             11/6/2023      $62,398    Secured debt
      PO BOX 970069 BOSTON, MA 02297                           11/13/2023    $352,515    Unsecured loan repayments
                                                                1/5/2024     $124,736    Suppliers for vendors
                                                                                         Services
                                                                2/1/2024     $616,741
                                                                                         Other
                                 TOTAL RSC INSURANCE BROKERAGE, INC         $1,156,390

3.285 RUSSELL REYNOLDS ASSOCIATES INC.                         11/20/2023    $110,856    Secured debt
      277 PARK AVENUE NEW YORK, NY 10172                                                 Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                                                                         Other
                               TOTAL RUSSELL REYNOLDS ASSOCIATES INC.          $110,856
                       Case 24-10164-KBO            Doc 280   Filed 03/06/24   Page 51 of 119
3.286 S&P GLOBAL RATINGS                                         1/12/2024     $110,000   Secured debt
      2542 COLLECTION CENTER DRIVE CHICAGO, IL 60693                                      Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                                TOTAL S&P GLOBAL RATINGS       $110,000

3.287 SALESFORCE.COM, INC                                        11/6/2023      $93,752   Secured debt
      PO BOX 203414 DALLAS, TX 75320                                                      Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                              TOTAL SALESFORCE.COM, INC         $93,752

3.288 SANCHEZ GRASS ENTERPRISE, LLC                              12/8/2023      $16,500   Secured debt
      227 ANTIQUERA AVE CORAL GABLES, FL 33134                                            Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                  TOTAL SANCHEZ GRASS ENTERPRISE, LLC           $16,500

3.289 SEACREST MEDICAL GROUP, PA                                 12/15/2023     $83,630   Secured debt
      2848 S SEACREST BLVD BOYNTON BEACH, FL 33435                                        Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                       TOTAL SEACREST MEDICAL GROUP, PA         $83,630

3.290 SHOPPES AT BROWARD, LLC                                    12/1/2023      $20,548   Secured debt
      2924 DAVIE ROAD , SUITE 202 DAVIE, FL 33314                 1/5/2024      $20,355   Unsecured loan repayments
                                                                  2/2/2024      $20,355   Suppliers for vendors
                                                                                          Services
                                                                                          Other Landlord
                                         TOTAL SHOPPES AT BROWARD, LLC          $61,259

3.291 SHORES LANDING LLC                                         12/1/2023      $11,902   Secured debt
      159 NE 97 STREET MIAMI SHORES, FL 33138                     1/5/2024      $11,902   Unsecured loan repayments
                                                                  2/2/2024      $11,902   Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                               TOTAL SHORES LANDING LLC         $35,705

3.292 SIGNIUS COMMUNICATIONS                                     11/6/2023      $11,546   Secured debt
      PO BOX 639236 CINCINNATI, OH 45263                          1/5/2024      $11,334   Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                           TOTAL SIGNIUS COMMUNICATIONS         $22,880

3.293 SKADDEN ARPS SLATE MEAGHER & FLOM LLP                      11/6/2023     $126,082   Secured debt
      P.O. BOX 1764 WHITE PLAINS, NY 10602                       12/8/2023     $147,001   Unsecured loan repayments
                                                                 12/15/2023    $313,606   Suppliers for vendors
                                                                                          Services
                                                                 1/12/2024      $97,647
                                                                                          Other
                                                              2/2/2024         $187,689
                                  TOTAL SKADDEN ARPS SLATE MEAGHER &
                                                            FLOM LLP           $872,023

3.294 SOL DE BORINQUEN BAKERY                                    11/6/2023      $24,444   Secured debt
      2510 MICHIGAN AVE STE C KISSIMMEE, FL 34744                1/12/2024      $37,478   Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                         TOTAL SOL DE BORINQUEN BAKERY          $61,922

3.295 SONOMED, INC                                               11/20/2023      $5,120   Secured debt
      19850 NW 78TH PATH HIALEAH, FL 33015                       1/12/2024       $4,866   Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                                    TOTAL SONOMED, INC           $9,986
                      Case 24-10164-KBO            Doc 280     Filed 03/06/24   Page 52 of 119
3.296 SORMI, INC.                                                 12/1/2023      $8,936   Secured debt
      336 EAST DANIA BEACH BLVD. DANIA, FL 33004                   1/5/2024      $8,936   Unsecured loan repayments
                                                                   2/2/2024      $9,384   Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                                         TOTAL SORMI, INC.      $27,257

3.297 SOUTH DADE SHOPPING, LLC                                    11/6/2023        $35    Secured debt
      C/O WOOLBRIGHT DEVELOPMENT, INC. BOCA RATON, FL 33431       12/1/2023     $24,028   Unsecured loan repayments
                                                                   1/5/2024     $24,028   Suppliers for vendors
                                                                                          Services
                                                                   2/2/2024     $24,028
                                                                                          Other
                                       TOTAL SOUTH DADE SHOPPING, LLC           $72,120

3.298 SOUTHERN CALIFORNIA EDISON                                  11/6/2023       $164    Secured debt
      PO BOX 300 ROSEMEAD, CA 91772                               11/7/2023       $374    Unsecured loan repayments
                                                                  11/8/2023      $1,864   Suppliers for vendors
                                                                                          Services
                                                                  11/14/2023      $195
                                                                                          Other
                                                                  11/15/2023      $872
                                                                  11/22/2023     $1,527
                                                                  12/6/2023       $242
                                                                  12/11/2023      $295
                                                                  12/12/2023     $1,388
                                                                  12/13/2023      $240
                                                                  12/19/2023      $693
                                                                  12/26/2023     $1,006
                                                                   1/8/2024       $228
                                                                   1/9/2024       $167
                                                                  1/10/2024      $1,192
                                                                  1/18/2024       $586
                                                                  1/29/2024      $2,081
                                                                  1/31/2024       $175
                                     TOTAL SOUTHERN CALIFORNIA EDISON           $13,288

3.299 SOVEREIGN MEDICAL ASSOCIATES                                11/10/2023     $9,574   Secured debt
      15340 JOG ROAD, SUITE 208 DELRAY BEACH, FL 33446            1/12/2024     $11,791   Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                  TOTAL SOVEREIGN MEDICAL ASSOCIATES            $21,365

3.300 SPECTRUM BUSINESS                                           11/7/2023       $889    Secured debt
      PO BOX 31710 TAMPA, FL 33631                                11/9/2023        $70    Unsecured loan repayments
                                                                  11/10/2023      $223    Suppliers for vendors
                                                                                          Services
                                                                  11/14/2023      $272
                                                                                          Other
                                                                  11/16/2023      $400
                                                                  11/20/2023      $136
                                                                  11/21/2023      $215
                                                                  11/27/2023      $188
                                                                  11/28/2023      $310
                                                                  11/29/2023      $310
                                                                  12/7/2023       $889
                                                                  12/11/2023      $293
                                                                  12/14/2023      $272
                                                                  12/18/2023      $573
                                                                  12/20/2023       $17
                                                                  12/21/2023      $215
                                                                  12/26/2023      $303
                                                                  12/28/2023      $310
                                                                  12/29/2023      $310
                                                                   1/8/2024       $889
                                                                   1/9/2024        $90
                                                                  1/10/2024       $223
                                                               1/16/2024         $783
                      Case 24-10164-KBO           Doc 280   Filed  03/06/24
                                                               1/18/2024      Page
                                                                                $40353 of 119
                                                               1/22/2024         $453
                                              TOTAL SPECTRUM BUSINESS           $9,035

3.301 STADIUM CORNERS SHOPPING CENTER LLC                      11/17/2023       $5,812   Secured debt
      PO BOX 36853 CHARLOTTE, NC 28236                         12/1/2023        $5,812   Unsecured loan repayments
                                                                1/5/2024        $5,812   Suppliers for vendors
                                                                                         Services
                                                              2/2/2024          $5,812
                                      TOTAL STADIUM CORNERS SHOPPING                     Other Landlord
                                                          CENTER LLC           $23,250

3.302 STEARNS WEAVER MILLER WEISSLER ALHADEFF & SITTERSON 12/22/2023           $16,738   Secured debt
      PA                                                  1/26/2024            $16,600   Unsecured loan repayments
      150 W. FLAGLER ST. MIAMI, FL 33130                                                 Suppliers for vendors
                                                           2/2/2024            $40,318
                                                                                         Services
                               TOTAL STEARNS WEAVER MILLER WEISSLER                      Other
                                            ALHADEFF & SITTERSON PA            $73,655

3.303 STEIN MITCHELL BEATO & MISSNER LLP                       12/22/2023       $9,576   Secured debt
      2000 K STREET NW, SUITE 600 WASHINGTON, DC 20006          2/2/2024      $430,333   Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                 TOTAL STEIN MITCHELL BEATO & MISSNER                    Other
                                                                  LLP         $439,909

3.304 STRATUS UNLIMITED, LLC DBA STRATUS                       12/4/2023      $227,614   Secured debt
      8959 TYLER BLVD MENTOR, OH 44060                                                   Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                      TOTAL STRATUS UNLIMITED, LLC DBA                   Other
                                                              STRATUS         $227,614

3.305 SUNTREE MEDICAL ASSOCIATES, P.A.                         11/10/2023      $21,225   Secured debt
      6420 3RD STREET SUITE 104 ROCKLEDGE, FL 32955                                      Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                TOTAL SUNTREE MEDICAL ASSOCIATES, P.A.         $21,225

3.306 SVF HOLDING REAL ESTATE INVESTMENT TRUST                 11/17/2023      $29,113   Secured debt
      2335 NW 107 AVENUE SUITE 107 DORAL, FL 33172             12/1/2023       $29,113   Unsecured loan repayments
                                                                1/5/2024       $21,354   Suppliers for vendors
                                                                                         Services
                                                               2/2/2024        $29,334
                                        TOTAL SVF HOLDING REAL ESTATE                    Other Landlord
                                                    INVESTMENT TRUST          $108,913

3.307 TAFT MEDICAL REALTY LLC                                  11/27/2023      $64,712   Secured debt
      6517 TAFT STREET HOLLYWOOD, FL 33024                     12/7/2023       $24,039   Unsecured loan repayments
                                                               12/8/2023        $2,791   Suppliers for vendors
                                                                                         Services
                                                                1/5/2024       $42,545
                                                                                         Other Landlord
                                                                2/2/2024       $42,545
                                         TOTAL TAFT MEDICAL REALTY LLC        $176,633

3.308 TAITER PROPERTIES LLC                                    12/1/2023       $12,818   Secured debt
      1090 JUPITER PARK DR SUITE 101 JUPITER, FL 33458          1/5/2024       $12,818   Unsecured loan repayments
                                                                2/2/2024       $12,818   Suppliers for vendors
                                                                                         Services
                                                                                         Other Landlord
                                           TOTAL TAITER PROPERTIES LLC         $38,455

3.309 TEAM TECH SOLUTION SERVICES INC                          11/13/2023      $55,208   Secured debt
      7480 BIRD RD MIAMI, FL 33155                             11/20/2023      $50,071   Unsecured loan repayments
                                                               12/4/2023      $105,279   Suppliers for vendors
                                                                                         Services
                                                               1/12/2024        $7,245
                                                                                         Other
                                                               1/19/2024        $1,653
                                                               1/26/2024       $50,917
                                TOTAL TEAM TECH SOLUTION SERVICES INC         $270,373
3.310 TECO                                                        11/7/2023            $625    Secured debt
                      Case
      PO BOX 31318 TAMPA,    24-10164-KBO
                          FL 33631                   Doc 280    Filed  03/06/24
                                                                   11/13/2023       Page
                                                                                     $2,30054 of 119 loan repayments
                                                                                               Unsecured
                                                                  11/15/2023         $2,292    Suppliers for vendors
                                                                                               Services
                                                                  11/17/2023         $5,332
                                                                                               Other
                                                                  11/20/2023           $534
                                                                  11/21/2023           $838
                                                                  11/22/2023           $655
                                                                  11/30/2023           $616
                                                                  12/6/2023            $471
                                                                  12/12/2023         $1,938
                                                                  12/14/2023         $1,955
                                                                  12/20/2023         $4,842
                                                                  12/21/2023           $524
                                                                  12/22/2023           $656
                                                                  12/27/2023           $634
                                                                   1/3/2024            $596
                                                                   1/8/2024            $414
                                                                  1/11/2024          $1,675
                                                                  1/16/2024          $1,349
                                                                  1/19/2024          $3,583
                                                                  1/22/2024            $433
                                                                  1/25/2024            $496
                                                                   2/2/2024            $474
                                                               TOTAL TECO           $33,232

3.311 TERESITA D. HERNANDEZ, M.D., P.A.                           11/20/2023           $480    Secured debt
      10020 SW 40TH ST MIAMI, FL 33165                                                         Unsecured loan repayments
                                                                                               Suppliers for vendors
                                                                                               Services
                                                                                               Other
                                  TOTAL TERESITA D. HERNANDEZ, M.D., P.A.              $480

3.312 THE CENTER PLAZA BLDG LTD                                   12/1/2023         $17,820    Secured debt
      1647 SUN CITY CTR PLZ # 204E SUN CITY CENTER, FL 33573       1/5/2024         $17,820    Unsecured loan repayments
                                                                   2/2/2024         $17,820    Suppliers for vendors
                                                                                               Services
                                                                                               Other Landlord
                                      TOTAL THE CENTER PLAZA BLDG LTD               $53,460

3.313 THE HARTFORD                                                12/4/2023        $129,877    Secured debt
      P.O. BOX 783690 PHILADELPHIA, PA 19178                      12/5/2023        $163,962    Unsecured loan repayments
                                                                  12/15/2023       $117,748    Suppliers for vendors
                                                                                               Services
                                                                   1/4/2024        $306,922
                                                                                               Other
                                                                  1/22/2024        $133,162
                                                                  1/24/2024       $1,132,121
                                                                   2/1/2024         $47,218
                                                      TOTAL THE HARTFORD          $2,031,010

3.314 THE SIEGFRIED GROUP, LLP                                    11/6/2023        $203,213    Secured debt
      1201 N. MARKET STREET, SUITE 700 WILMINGTON, DE 19801       11/13/2023       $115,440    Unsecured loan repayments
                                                                  11/20/2023       $108,731    Suppliers for vendors
                                                                                               Services
                                                                  12/4/2023        $260,677
                                                                                               Other
                                                                  12/8/2023        $207,530
                                                                  12/15/2023        $11,507
                                                                  12/22/2023       $659,263
                                                                   1/5/2024          $1,625
                                                                  1/12/2024        $137,500
                                                                  1/19/2024        $250,000
                                          TOTAL THE SIEGFRIED GROUP, LLP          $1,955,486

3.315 THE WELLNESS CIRCLE                                         11/15/2023       $120,000    Secured debt
      3785 NW 82ND AVE STE 400-408 MIAMI, FL 33166                12/15/2023       $120,000    Unsecured loan repayments
                                                                  1/15/2024        $120,000    Suppliers for vendors
                                                                                               Services
                                                                                               Other
                                                TOTAL THE WELLNESS CIRCLE         $360,000
                       Case 24-10164-KBO             Doc 280     Filed 03/06/24   Page 55 of 119
3.316 T-MOBILE USA INC.                                             11/6/2023       $4,661   Secured debt
      12920 SE 38TH ST BELLEVUE, WA 98006                          11/15/2023      $10,388   Unsecured loan repayments
                                                                    12/4/2023       $3,588   Suppliers for vendors
                                                                                             Services
                                                                   12/15/2023       $8,712
                                                                                             Other
                                                                    1/4/2024        $2,450
                                                                    1/16/2024       $9,726
                                                    TOTAL T-MOBILE USA INC.        $39,526

3.317 TODD KAZDAN, D.O., PA                                        12/15/2023       $1,480   Secured debt
      6099 STIRLING ROAD #220 DAVIE, FL 33314                                                Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                TOTAL TODD KAZDAN, D.O., PA         $1,480

3.318 TOTAL MD                                                     12/15/2023     $514,391   Secured debt
      4623 FOREST HILL BLVD #101 WEST PALM BEACH, FL 33415                                   Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                           TOTAL TOTAL MD         $514,391

3.319 TRILOGY MEDWASTE                                              11/6/2023      $19,197   Secured debt
      8554 KATY FREEWAY, SUITE 200 HOUSTON, TX 77024                1/5/2024       $21,990   Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                  TOTAL TRILOGY MEDWASTE           $41,187

3.320 TRIPLE S ASSOCIATES                                          11/17/2023      $28,152   Secured debt
      3109 STIRLING ROAD, SUITE 200 FT LAUDERDALE, FL 33312         12/1/2023      $28,152   Unsecured loan repayments
                                                                    1/5/2024       $23,207   Suppliers for vendors
                                                                                             Services
                                                                    2/1/2024       $23,207
                                                                                             Other
                                                 TOTAL TRIPLE S ASSOCIATES        $102,719

3.321 TRUESHORE BPO, LLC                                           11/13/2023     $210,017   Secured debt
      1700 79TH ST CAUSEWAY SUITE 120 NORTH BAY VILLAGE, FL        11/20/2023      $88,272   Unsecured loan repayments
      33141                                                                                  Suppliers for vendors
                                                                   12/22/2023     $207,829
                                                                                             Services
                                                                    1/5/2024      $110,113
                                                                                             Other
                                                 TOTAL TRUESHORE BPO, LLC         $616,230

3.322 UNIVERSITY SHOPPES SUMMIT LLC                                 12/1/2023      $49,557   Secured debt
      1421 SW 107TH AVE STE 262 MIAMI, FL 33174                      1/5/2024      $49,557   Unsecured loan repayments
                                                                    2/2/2024       $49,557   Suppliers for vendors
                                                                                             Services
                                                                                             Other Landlord
                                  TOTAL UNIVERSITY SHOPPES SUMMIT LLC             $148,671

3.323 USA SIGNS INC.                                               11/20/2023       $7,544   Secured debt
      7230 NW 46TH STREET MIAMI, FL 33166                           12/8/2023      $44,600   Unsecured loan repayments
                                                                                             Suppliers for vendors
                                                                                             Services
                                                                                             Other
                                                       TOTAL USA SIGNS INC.        $52,144

3.324 V & L INVESTMENT GROUP, INC                                   12/1/2023      $13,466   Secured debt
      7800 RED ROAD MIAMI, FL 33143                                 1/5/2024       $13,466   Unsecured loan repayments
                                                                    2/2/2024       $13,466   Suppliers for vendors
                                                                                             Services
                                                                                             Other Landlord
                                      TOTAL V & L INVESTMENT GROUP, INC            $40,398

3.325 V 3 CAPITAL FUND IV, LLC                                      12/1/2023      $11,410   Secured debt
      496 S HUNT CLUB BLVD APOPKA, FL 32703                         1/5/2024       $12,132   Unsecured loan repayments
                                                                    2/2/2024       $12,458   Suppliers for vendors
                                                                                             Services
                                                                                         Other Landlord
                       Case 24-10164-KBO
                                      TOTAL VDoc  280 FUND
                                              3 CAPITAL Filed
                                                            IV, 03/06/24
                                                                LLC           Page
                                                                              $36,000
                                                                                     56 of 119

3.326 VALET PARKING 4 YOU                                         11/6/2023     $7,708   Secured debt
      15992 SW 78 ST. MIAMI, FL 33193                            11/20/2023     $6,185   Unsecured loan repayments
                                                                  1/5/2024     $15,168   Suppliers for vendors
                                                                                         Services
                                                                  1/19/2024    $12,948
                                                                                         Other
                                                                  1/26/2024      $464
                                                TOTAL VALET PARKING 4 YOU      $42,473

3.327 VANGUARD CLEANING SYSTEM OF CENTRAL TEXAS                  11/13/2023    $23,647   Secured debt
      11302 SIR WINSTON SUITE 1 SAN ANTONIO, TX 78216            12/22/2023      $317    Unsecured loan repayments
                                                                  1/5/2024     $23,293   Suppliers for vendors
                                                                                         Services
                                    TOTAL VANGUARD CLEANING SYSTEM OF                    Other
                                                       CENTRAL TEXAS           $47,257

3.328 VAXCARE, LLC                                               11/20/2023    $14,852   Secured debt
      3113 LAWTON RD STE 250 ORLANDO, FL 32803                   12/22/2023    $23,073   Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                                      TOTAL VAXCARE, LLC       $37,925

3.329 VERDANT COMMERCIAL CAPITAL                                 11/20/2023     $7,022   Secured debt
      9987 CARVER ROAD SUITE 110 CINCINNATI, OH 45242             1/12/2024     $7,022   Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                        TOTAL VERDANT COMMERCIAL CAPITAL       $14,044

3.330 VERIZON WIRELESS                                           11/13/2023    $28,845   Secured debt
      PO BOX 660108 DALLAS, TX 75266                             12/12/2023    $40,311   Unsecured loan repayments
                                                                  1/11/2024    $33,052   Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                                  TOTAL VERIZON WIRELESS      $102,207

3.331 VINAYA KUMAR PA                                            11/10/2023   $287,460   Secured debt
      2070 US HWY 1 SUITE 103 ROCKLEDGE, FL 32955                                        Unsecured loan repayments
                                                                                         Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                                   TOTAL VINAYA KUMAR PA      $287,460

3.332 VIRTUWORK INC                                              11/20/2023    $26,640   Secured debt
      8175 BELLAGIO LN BOYTON BEACH, FL 33472                     12/4/2023    $28,640   Unsecured loan repayments
                                                                  1/19/2024    $28,640   Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                                     TOTAL VIRTUWORK INC       $83,920

3.333 WAKELY CONSULTING GROUP, LLC                                11/6/2023     $3,050   Secured debt
      CONTRACTS DIRECTOR LANSING, MI 48933                       11/20/2023    $10,158   Unsecured loan repayments
                                                                  1/5/2024     $27,394   Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                    TOTAL WAKELY CONSULTING GROUP, LLC         $40,601

3.334 WALLOWAY MEDICAL OFFICES LLC                                12/1/2023    $41,181   Secured debt
      7800 SW 9 TERR MIAMI, FL 33144                              1/5/2024     $41,181   Unsecured loan repayments
                                                                  2/2/2024     $41,181   Suppliers for vendors
                                                                                         Services
                                                                                         Other
                                   TOTAL WALLOWAY MEDICAL OFFICES LLC         $123,542

3.335 WASTE MANAGEMENT OF FLORIDA                                 11/7/2023      $480    Secured debt
      PO BOX 42930 PHOENIX, AZ 85080                             11/13/2023      $988    Unsecured loan repayments
                                                                 11/14/2023      $371    Suppliers for vendors
                                                                                         Services
                                                                 11/24/2023     $5,572
                                                               11/30/2023        $1,172   Other
                      Case 24-10164-KBO         Doc 280      Filed  03/06/24
                                                                12/13/2023     Page
                                                                                 $41357 of 119
                                                               12/22/2023        $7,405
                                                               12/26/2023        $2,223
                                                                1/9/2024         $1,097
                                                               1/16/2024        $10,507
                                                               1/23/2024           $30

                                 TOTAL WASTE MANAGEMENT OF FLORIDA              $30,257

3.336 WAYNE FRASER                                             11/10/2023        $6,000   Secured debt
      105 WESTWOOD CIRCLE WEST PALM BEACH, FL 33411            12/1/2023         $6,000   Unsecured loan repayments
                                                                1/5/2024         $6,000   Suppliers for vendors
                                                                                          Services
                                                                                          Other Landlord
                                                  TOTAL WAYNE FRASER            $18,000

3.337 WB MASON CO. INC.                                        11/6/2023        $42,162   Secured debt
      59 CENTRE ST BROCKTON, MA 02301                          11/20/2023       $40,405   Unsecured loan repayments
                                                               12/15/2023       $16,152   Suppliers for vendors
                                                                                          Services
                                                               12/22/2023       $18,749
                                                                                          Other
                                                                1/5/2024        $38,278
                                                               1/12/2024          $151
                                                               1/19/2024         $3,666
                                               TOTAL WB MASON CO. INC.         $159,563

3.338 WEINGARTEN REALTY INVESTORS                              12/1/2023        $35,586   Secured debt
      PO BOX 30344 TAMPA, FL 33630                              1/5/2024        $35,586   Unsecured loan repayments
                                                                2/2/2024        $35,586   Suppliers for vendors
                                                                                          Services
                                                                                          Other Landlord
                                  TOTAL WEINGARTEN REALTY INVESTORS            $106,757

3.339 WELCH ALLYN INC.                                         11/20/2023        $5,235   Secured debt
      4341 STATE STREET RD. SKANEATELES FALLS, NY 13153         1/5/2024         $4,560   Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                               TOTAL WELCH ALLYN INC.            $9,795

3.340 WHITE & CASE LLP                                         12/22/2023       $24,496   Secured debt
      1221 AVENUE OF THE AMERICAS NEW YORK, NY 10020           12/22/2023      $148,013   Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other Lender advisor
                                               TOTAL WHITE & CASE LLP          $172,509

3.341 WILLIAM NUTOVITS, MD, PA                                 11/10/2023       $20,997   Secured debt
      5035 VIA DELRAY DELRAY BEACH, FL 33484                   12/15/2023       $46,449   Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                        TOTAL WILLIAM NUTOVITS, MD, PA          $67,446

3.342 WILLIS TOWERS WATSON US LLC                               1/5/2024        $50,000   Secured debt
      LOCKBOX 28025, 28025 NETWORK PLACE CHICAGO, IL 60673     1/25/2024        $35,000   Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                                                                                          Other
                                   TOTAL WILLIS TOWERS WATSON US LLC            $85,000

3.343 WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP              12/8/2023        $33,469   Secured debt
      150 EAST 42ND STREET NEW YORK, NY 10017                                             Unsecured loan repayments
                                                                                          Suppliers for vendors
                                                                                          Services
                              TOTAL WILSON ELSER MOSKOWITZ EDELMAN                        Other
                                                       & DICKER LLP             $33,469

3.344 WORKDAY INC.                                              1/5/2024       $125,000   Secured debt
      6110 STONERIDGE MALL ROAD PLEASANTON, CA 94588
                                                                                           Unsecured loan repayments
                       Case 24-10164-KBO           Doc 280     Filed 03/06/24   Page 58 ofSuppliers
                                                                                           119 for vendors
                                                                                           Services
                                                                                           Other
                                                      TOTAL WORKDAY INC.        $125,000

3.345 WORKIVA, INC                                                11/6/2023      $26,125   Secured debt
      2900 UNIVERSITY BLVD AMES, IA 50010                                                  Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                                      TOTAL WORKIVA, INC         $26,125

3.346 WPB MANAGEMENT LLC                                          12/1/2023      $16,439   Secured debt
      57-48 49TH PLACE MASPETH, NY 11378                           1/5/2024      $16,439   Unsecured loan repayments
                                                                   2/2/2024      $16,439   Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                             TOTAL WPB MANAGEMENT LLC            $49,318

3.347 WRI JT PEMBROKE COMMONS, LP                                 12/1/2023      $64,453   Secured debt
      500 NORTH BROADWAY, SUITE 201 JERICHO, NY 11753              1/5/2024      $65,791   Unsecured loan repayments
                                                                   2/2/2024      $65,971   Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                   TOTAL WRI JT PEMBROKE COMMONS, LP            $196,216

3.348 WRI JT TAMIAMI TRAIL, LP                                    12/1/2023      $40,241   Secured debt
      500 NORTH BROADWAY, SUITE 201 JERICHO, NY 11753              1/5/2024      $40,241   Unsecured loan repayments
                                                                   2/2/2024      $40,241   Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                            TOTAL WRI JT TAMIAMI TRAIL, LP      $120,723

3.349 WRIGHT EXPRESS                                              11/7/2023      $32,639   Secured debt
      1 HANCOCK STREET PORTLAND, ME 04101                         12/6/2023      $25,367   Unsecured loan repayments
                                                                   1/8/2024      $20,915   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                                   TOTAL WRIGHT EXPRESS          $78,921

3.350 WWX2 LIMITED, LLC                                           12/1/2023      $29,714   Secured debt
      633 LONDON RD WINTER PARK, FL 32792                          1/5/2024      $31,473   Unsecured loan repayments
                                                                   2/2/2024      $31,473   Suppliers for vendors
                                                                                           Services
                                                                                           Other Landlord
                                                 TOTAL WWX2 LIMITED, LLC         $92,659

3.351 XEROX FINANCIAL SERVICES                                    12/8/2023       $1,182   Secured debt
      P.O. BOX 202882 DALLAS, TX 75320                            12/15/2023       $239    Unsecured loan repayments
                                                                   1/5/2024       $6,278   Suppliers for vendors
                                                                                           Services
                                                                  1/12/2024        $253
                                                                                           Other
                                         TOTAL XEROX FINANCIAL SERVICES           $7,952

3.352 YAO PARTNERS GROUP LLC                                      12/1/2023       $7,443   Secured debt
      46 SW 105 PLACE MIAMI, FL 33174                              1/5/2024       $7,443   Unsecured loan repayments
                                                                   2/2/2024       $7,443   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                         TOTAL YAO PARTNERS GROUP LLC            $22,328
Cano Health, LLC                Case 24-10164-KBO                     Doc 280           Filed 03/06/24             Page 59 of 119Case Number:                      24-10167


    Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider

List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or cosigned by an
insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every
3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and
anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such
affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

        None

 Insider's Name and Address and Relationship to Debtor                                      Dates              Amount           Reasons for Payment

 4.1 ALAN M. MUNEY                                                                        3/20/2023                $3,803     BOARD FEE
     DIRECTOR                                                                            10/16/2023                $2,822     EXPENSE REIMBURSEMENT
     9725 NW 117TH AVENUE MIAMI, FL 33178
                                                                           TOTAL ALAN M. MUNEY                     $6,625

 4.2 AMY CHARLEY                                                                          2/10/2023              $11,538      EMPLOYEE SALARY
     FORMER CHIEF ADMINISTRATIVE OFFICER                                                  2/24/2023              $11,538      EMPLOYEE SALARY
                                                                                          3/10/2023              $11,538      EMPLOYEE SALARY
                                                                                          3/24/2023              $11,538      EMPLOYEE SALARY
                                                                                           4/7/2023              $11,538      EMPLOYEE SALARY
                                                                                          4/21/2023              $25,000      EMPLOYEE SALARY
                                                                                           5/5/2023              $11,538      SEVERANCE
                                                                                          5/19/2023              $11,538      SEVERANCE
                                                                                           6/2/2023              $11,538      SEVERANCE
                                                                                          6/16/2023              $11,538      SEVERANCE
                                                                                          6/30/2023              $11,538      SEVERANCE
                                                                                          7/14/2023              $11,538      SEVERANCE
                                                                                          7/28/2023              $11,538      SEVERANCE
                                                                                          8/11/2023              $11,538      SEVERANCE
                                                                                          8/25/2023              $11,538      SEVERANCE
                                                                                           9/8/2023              $11,538      SEVERANCE
                                                                                          9/22/2023              $11,538      SEVERANCE
                                                                                          10/6/2023              $11,538      SEVERANCE
                                                                                         10/20/2023              $11,538      SEVERANCE
                                                                                          11/3/2023              $11,538      SEVERANCE
                                                                                         11/17/2023              $11,538      SEVERANCE
                                                                                          12/1/2023              $11,538      SEVERANCE
                                                                                         12/15/2023              $11,538      SEVERANCE
                                                                                         12/29/2023              $11,538      SEVERANCE
                                                                             TOTAL AMY CHARLEY                  $290,385

 4.3 ANGEL MORALES                                                                        1/5/2024               $35,000      BOARD FEE
     DIRECTOR                                                                             1/19/2024              $35,000      BOARD FEE
     9725 NW 117TH AVENUE MIAMI, FL 33178
                                                                         TOTAL ANGEL MORALES                     $70,000

 4.4 BARBARA FERREIRO                                                                     2/10/2023                $7,692     EMPLOYEE SALARY
     FORMER CHIEF BRAND OFFICER                                                           2/24/2023                $7,692     EMPLOYEE SALARY
                                                                                          3/10/2023                $7,692     EMPLOYEE SALARY
                                                                                          3/24/2023                $7,692     EMPLOYEE SALARY
                                                                                           4/7/2023                $7,692     EMPLOYEE SALARY
                                                                                          4/21/2023                $9,615     EMPLOYEE SALARY
                                                                                          5/5/2023                 $9,615     EMPLOYEE SALARY
                                                                                          5/19/2023                $9,615     EMPLOYEE SALARY
                                                                                           6/2/2023                $9,615     EMPLOYEE SALARY
                                                                                           6/6/2023              $18,250      OTHER COMPENSATION
                                                                                          6/16/2023                $9,615     EMPLOYEE SALARY
                                                                                          6/30/2023                $9,615     EMPLOYEE SALARY
                                                                                          7/14/2023                $9,615     EMPLOYEE SALARY
                                                                                          7/28/2023                $9,615     EMPLOYEE SALARY
                                                                                          8/11/2023                $9,615     EMPLOYEE SALARY
                                                                                          8/14/2023              $16,142      OTHER COMPENSATION
                                                        8/25/2023         $3,846   EMPLOYEE SALARY
                      Case 24-10164-KBO    Doc 280    Filed  03/06/24
                                                        9/8/2023          Page 60
                                                                          $6,280   of 119 SALARY
                                                                                 EMPLOYEE
                                                        9/8/2023          $9,615   SEVERANCE
                                                        9/22/2023         $9,615   SEVERANCE
                                                        10/6/2023         $9,615   SEVERANCE
                                                       10/20/2023         $9,615   SEVERANCE
                                                        11/3/2023         $9,615   SEVERANCE
                                                        11/3/2023          $725    OTHER COMPENSATION
                                                       11/17/2023         $9,615   SEVERANCE
                                                        12/1/2023         $9,615   SEVERANCE
                                                       12/15/2023          $725    OTHER COMPENSATION
                                                       12/15/2023         $9,615   SEVERANCE
                                                       12/29/2023         $9,615   SEVERANCE
                                           TOTAL BARBARA FERREIRO       $257,507

4.5 BEATRIZ CANO DIAZ                                   2/10/2023         $2,511   EMPLOYEE SALARY
    MGR, MARKETING                                      2/24/2023         $2,511   EMPLOYEE SALARY
    9725 NW 117TH AVENUE MIAMI, FL 33178
                                                        3/10/2023         $2,511   EMPLOYEE SALARY
                                                        3/24/2023         $2,511   EMPLOYEE SALARY
                                                        4/7/2023          $2,511   EMPLOYEE SALARY
                                                        4/20/2023         $4,310   BONUS COMPENSATION
                                                        4/21/2023         $2,588   EMPLOYEE SALARY
                                                        5/5/2023          $2,588   EMPLOYEE SALARY
                                                        5/12/2023          $275    OTHER COMPENSATION
                                                        5/19/2023         $2,588   EMPLOYEE SALARY
                                                        6/2/2023          $2,588   EMPLOYEE SALARY
                                                        6/16/2023         $2,588   EMPLOYEE SALARY
                                                        6/30/2023         $2,588   EMPLOYEE SALARY
                                                        7/14/2023         $2,588   EMPLOYEE SALARY
                                                        7/28/2023         $2,588   EMPLOYEE SALARY
                                                        8/11/2023         $2,588   EMPLOYEE SALARY
                                                        8/25/2023         $2,588   EMPLOYEE SALARY
                                                        8/30/2023           $43    OTHER COMPENSATION
                                                        9/8/2023          $2,588   EMPLOYEE SALARY
                                                        9/22/2023         $2,588   EMPLOYEE SALARY
                                                        10/6/2023         $2,588   EMPLOYEE SALARY
                                                       10/20/2023         $2,588   EMPLOYEE SALARY
                                                        11/3/2023         $2,588   EMPLOYEE SALARY
                                                       11/17/2023         $2,588   EMPLOYEE SALARY
                                                        12/1/2023         $2,588   EMPLOYEE SALARY
                                                       12/15/2023         $2,588   EMPLOYEE SALARY
                                                       12/29/2023         $2,588   EMPLOYEE SALARY
                                                        1/12/2024         $2,588   EMPLOYEE SALARY
                                                        1/26/2024         $2,588   EMPLOYEE SALARY
                                                        2/2/2024          $3,000   BONUS COMPENSATION
                                           TOTAL BEATRIZ CANO DIAZ       $74,529

4.6 BRIAN D. KOPPY                                      2/10/2023        $12,500   EMPLOYEE SALARY
    FORMER CHIEF FINANCIAL OFFICER                      2/24/2023        $12,500   EMPLOYEE SALARY
                                                        3/10/2023        $12,500   EMPLOYEE SALARY
                                                        3/24/2023        $12,500   EMPLOYEE SALARY
                                                        4/6/2023        $122,476   OTHER COMPENSATION
                                                        4/7/2023         $12,500   EMPLOYEE SALARY
                                                        4/21/2023        $13,231   EMPLOYEE SALARY
                                                        5/5/2023         $13,231   EMPLOYEE SALARY
                                                        5/19/2023        $13,231   EMPLOYEE SALARY
                                                        6/2/2023         $13,231   EMPLOYEE SALARY
                                                        6/5/2023            $34    EXPENSE REIMBURSEMENT
                                                        6/12/2023          $552    EXPENSE REIMBURSEMENT
                                                        6/16/2023        $13,231   EMPLOYEE SALARY
                                                        6/26/2023          $865    EXPENSE REIMBURSEMENT
                                                        6/30/2023        $13,231   EMPLOYEE SALARY
                                                        7/14/2023        $13,231   EMPLOYEE SALARY
                                                               7/17/2023          $448    EXPENSE REIMBURSEMENT
                      Case 24-10164-KBO            Doc 280   Filed  03/06/24
                                                              7/17/2023          Page
                                                                                  $736 61 of 119REIMBURSEMENT
                                                                                        EXPENSE
                                                               7/28/2023        $13,231   EMPLOYEE SALARY
                                                               7/31/2023         $1,583   EXPENSE REIMBURSEMENT
                                                               8/7/2023           $559    EXPENSE REIMBURSEMENT
                                                               8/11/2023        $13,231   EMPLOYEE SALARY
                                                               8/25/2023        $13,231   EMPLOYEE SALARY
                                                               8/28/2023         $1,175   EXPENSE REIMBURSEMENT
                                                               8/30/2023        $10,925   OTHER COMPENSATION
                                                               9/8/2023         $13,231   EMPLOYEE SALARY
                                                               9/18/2023          $775    EXPENSE REIMBURSEMENT
                                                               9/22/2023        $13,231   EMPLOYEE SALARY
                                                               10/2/2023          $175    EXPENSE REIMBURSEMENT
                                                               10/6/2023        $11,908   EMPLOYEE SALARY
                                                               10/9/2023        $10,064   EMPLOYEE SALARY
                                                     TOTAL BRIAN D. KOPPY      $383,549

4.7 CANO BUILDERS USA INC                                      1/5/2023         $42,337   SUPPLIER PAYMENT
    BUILDING CONTRACTOR                                        1/5/2023         $18,865   SUPPLIER PAYMENT
    3496 JUNIPER LANE DAVIE, FL 33330
                                                               1/20/2023       $125,000   SUPPLIER PAYMENT
                                                               2/28/2023       $125,000   SUPPLIER PAYMENT
                                                               3/27/2023       $125,000   SUPPLIER PAYMENT
                                                               4/11/2023        $79,042   SUPPLIER PAYMENT
                                                               4/24/2023       $125,000   SUPPLIER PAYMENT
                                                               5/22/2023       $125,412   SUPPLIER PAYMENT
                                                               7/3/2023        $148,940   SUPPLIER PAYMENT
                                                               8/7/2023         $16,275   SUPPLIER PAYMENT
                                                               8/7/2023          $9,197   SUPPLIER PAYMENT
                                                               8/7/2023         $43,151   SUPPLIER PAYMENT
                                            TOTAL CANO BUILDERS USA INC        $983,219

4.8 CAROL FLATON                                               1/12/2024        $45,000   BOARD FEE
    DIRECTOR                                                   1/19/2024        $45,000   BOARD FEE
    9725 NW 117TH AVENUE MIAMI, FL 33178
                                                     TOTAL CAROL FLATON         $90,000

4.9 CD SUPPORT LLC                                             1/5/2023        $160,303   SUPPLIER PAYMENT
    SUPPLIER                                                   1/12/2023    $1,029,106    SUPPLIER PAYMENT
    85 ARGONAUT, SUITE 220 ALISO VIEJO, CA 92656
                                                               2/13/2023       $998,434   SUPPLIER PAYMENT
                                                               3/7/2023        $176,629   SUPPLIER PAYMENT
                                                               3/7/2023        $176,251   SUPPLIER PAYMENT
                                                               3/20/2023       $197,693   SUPPLIER PAYMENT
                                                               3/20/2023    $1,225,980    SUPPLIER PAYMENT
                                                               4/14/2023    $1,398,212    SUPPLIER PAYMENT
                                                               6/12/2023    $1,022,448    SUPPLIER PAYMENT
                                                    TOTAL CD SUPPORT LLC    $6,385,056

4.10 DAVID ARMSTRONG                                           2/10/2023         $9,038   EMPLOYEE SALARY
     CHIEF COMPLIANCE OFFICER & GENERAL COUNSEL                2/24/2023         $9,038   EMPLOYEE SALARY
     9725 NW 117TH AVENUE MIAMI, FL 33178
                                                               3/10/2023         $9,038   EMPLOYEE SALARY
                                                               3/24/2023         $9,038   EMPLOYEE SALARY
                                                               4/7/2023          $9,038   EMPLOYEE SALARY
                                                               4/21/2023        $11,154   EMPLOYEE SALARY
                                                               5/5/2023         $11,154   EMPLOYEE SALARY
                                                               5/19/2023        $11,154   EMPLOYEE SALARY
                                                               6/2/2023         $11,154   EMPLOYEE SALARY
                                                               6/6/2023         $18,250   OTHER COMPENSATION
                                                               6/16/2023        $11,154   EMPLOYEE SALARY
                                                               6/30/2023        $11,154   EMPLOYEE SALARY
                                                               7/6/2023          $5,188   EMPLOYEE SALARY
                                                               7/10/2023          $196    EXPENSE REIMBURSEMENT
                                                               7/14/2023        $11,154   EMPLOYEE SALARY
                                                               7/28/2023        $11,154   EMPLOYEE SALARY
                                                               8/11/2023        $11,154   EMPLOYEE SALARY
                                                         8/25/2023     $11,154    EMPLOYEE SALARY
                      Case 24-10164-KBO      Doc 280   Filed  03/06/24 $16,407
                                                        8/30/2023       Page 62  of 119
                                                                               OTHER COMPENSATION
                                                         9/8/2023      $11,154    EMPLOYEE SALARY
                                                         9/22/2023     $11,154    EMPLOYEE SALARY
                                                         10/6/2023     $11,154    EMPLOYEE SALARY
                                                        10/20/2023     $11,154    EMPLOYEE SALARY
                                                         11/3/2023     $11,154    EMPLOYEE SALARY
                                                        11/17/2023     $11,154    EMPLOYEE SALARY
                                                         12/1/2023     $62,500    BONUS COMPENSATION
                                                         12/1/2023     $11,154    EMPLOYEE SALARY
                                                        12/15/2023     $11,154    EMPLOYEE SALARY
                                                        12/29/2023     $11,154    EMPLOYEE SALARY
                                                         1/4/2024       $1,836    OTHER COMPENSATION
                                                         1/4/2024         $455    OTHER COMPENSATION
                                                         1/4/2024       $2,819    OTHER COMPENSATION
                                                         1/12/2024     $12,308    EMPLOYEE SALARY
                                                         1/26/2024     $13,462    EMPLOYEE SALARY
                                                         2/2/2024     $462,500    BONUS COMPENSATION

                                             TOTAL DAVID ARMSTRONG    $853,030

4.11 DEMARQUETTE KENT                                    2/10/2023      $5,769    EMPLOYEE SALARY
     CHIEF EXECUTIVE OFFICER & DIRECTOR                  2/24/2023      $5,769    EMPLOYEE SALARY
     9725 NW 117TH AVENUE MIAMI, FL 33178
                                                         3/10/2023      $5,769    EMPLOYEE SALARY
                                                         3/24/2023      $5,769    EMPLOYEE SALARY
                                                         4/7/2023       $5,769    EMPLOYEE SALARY
                                                         4/21/2023      $5,769    EMPLOYEE SALARY
                                                         5/5/2023       $5,769    EMPLOYEE SALARY
                                                         5/19/2023      $5,769    EMPLOYEE SALARY
                                                         6/2/2023       $5,769    EMPLOYEE SALARY
                                                         6/16/2023      $5,769    EMPLOYEE SALARY
                                                         6/30/2023     $12,019    EMPLOYEE SALARY
                                                         7/14/2023     $18,269    EMPLOYEE SALARY
                                                         7/28/2023     $18,269    EMPLOYEE SALARY
                                                         8/11/2023     $18,269    EMPLOYEE SALARY
                                                         8/25/2023     $18,269    EMPLOYEE SALARY
                                                         9/8/2023      $18,269    EMPLOYEE SALARY
                                                         9/22/2023     $18,269    EMPLOYEE SALARY
                                                         10/6/2023     $18,269    EMPLOYEE SALARY
                                                        10/20/2023     $18,269    EMPLOYEE SALARY
                                                         11/3/2023     $18,269    EMPLOYEE SALARY
                                                        11/17/2023     $18,269    EMPLOYEE SALARY
                                                         12/1/2023     $18,269    EMPLOYEE SALARY
                                                        12/15/2023     $18,269    EMPLOYEE SALARY
                                                        12/29/2023     $18,269    EMPLOYEE SALARY
                                                         1/12/2024     $19,231    EMPLOYEE SALARY
                                                         1/26/2024     $20,192    EMPLOYEE SALARY
                                                         2/2/2024    $3,750,000   BONUS COMPENSATION
                                                         2/3/2024       $6,485    EMPLOYEE SALARY
                                            TOTAL DEMARQUETTE KENT   $4,103,119

4.12 ELADIO GIL                                          2/10/2023      $8,269    EMPLOYEE SALARY
     INTERIM CHIEF FINANCIAL OFFICER                     2/24/2023      $8,269    EMPLOYEE SALARY
     9725 NW 117TH AVENUE MIAMI, FL 33178
                                                         3/10/2023      $8,269    EMPLOYEE SALARY
                                                         3/24/2023      $8,269    EMPLOYEE SALARY
                                                         4/7/2023       $8,269    EMPLOYEE SALARY
                                                         4/21/2023      $8,269    EMPLOYEE SALARY
                                                         5/5/2023       $8,269    EMPLOYEE SALARY
                                                         5/19/2023      $8,269    EMPLOYEE SALARY
                                                         6/2/2023       $8,269    EMPLOYEE SALARY
                                                         6/16/2023      $8,269    EMPLOYEE SALARY
                                                         6/30/2023      $8,269    EMPLOYEE SALARY
                                                         7/14/2023      $9,615    EMPLOYEE SALARY
                                                              7/28/2023         $9,615   EMPLOYEE SALARY
                      Case 24-10164-KBO          Doc 280    Filed  03/06/24
                                                             8/11/2023          Page 63
                                                                                $9,615   of 119 SALARY
                                                                                       EMPLOYEE
                                                              8/25/2023         $9,615   EMPLOYEE SALARY
                                                              9/8/2023          $9,615   EMPLOYEE SALARY
                                                              9/22/2023         $9,615   EMPLOYEE SALARY
                                                              10/6/2023        $10,000   EMPLOYEE SALARY
                                                             10/20/2023        $11,538   EMPLOYEE SALARY
                                                              11/3/2023        $11,538   EMPLOYEE SALARY
                                                             11/17/2023        $11,538   EMPLOYEE SALARY
                                                              12/1/2023        $10,385   EMPLOYEE SALARY
                                                              12/1/2023         $1,154   EMPLOYEE SALARY
                                                             12/15/2023        $11,538   EMPLOYEE SALARY
                                                             12/29/2023        $11,538   EMPLOYEE SALARY
                                                              1/12/2024        $12,981   EMPLOYEE SALARY
                                                              1/26/2024        $14,423   EMPLOYEE SALARY
                                                              2/2/2024        $950,000   BONUS COMPENSATION
                                                              2/3/2024           $303    EMPLOYEE SALARY
                                                        TOTAL ELADIO GIL   $1,205,592

4.13 FELIX QUEVEDO                                            2/10/2023        $13,462   EMPLOYEE SALARY
     FORMER PRESIDENT, DGM                                    2/24/2023        $13,462   EMPLOYEE SALARY
                                                              3/10/2023        $13,462   EMPLOYEE SALARY
                                                              3/24/2023        $13,462   EMPLOYEE SALARY
                                                              4/7/2023         $13,462   EMPLOYEE SALARY
                                                              4/21/2023        $13,462   EMPLOYEE SALARY
                                                              5/5/2023         $13,462   EMPLOYEE SALARY
                                                              5/12/2023         $1,642   OTHER COMPENSATION
                                                              5/19/2023        $13,462   EMPLOYEE SALARY
                                                              6/2/2023         $13,462   EMPLOYEE SALARY
                                                              6/16/2023        $13,462   EMPLOYEE SALARY
                                                    TOTAL FELIX QUEVEDO       $136,257

4.14 FREDERICK S. GREEN                                       7/3/2023          $1,088   1099 CONTRACTOR PAYMENT
     FORMER INTERIM CHIEF LEGAL OFFICER                       7/10/2023         $1,738   1099 CONTRACTOR PAYMENT
                                                              8/7/2023          $3,433   1099 CONTRACTOR PAYMENT
                                                              9/11/2023         $1,969   1099 CONTRACTOR PAYMENT
                                                              9/11/2023         $1,733   1099 CONTRACTOR PAYMENT
                                                              9/11/2023         $1,737   1099 CONTRACTOR PAYMENT
                                                             10/20/2023       $227,692   EMPLOYEE SALARY
                                                             10/30/2023         $5,131   1099 CONTRACTOR PAYMENT
                                                              11/3/2023        $61,538   EMPLOYEE SALARY
                                                             11/13/2023         $1,850   1099 CONTRACTOR PAYMENT
                                                             11/17/2023        $61,538   EMPLOYEE SALARY
                                                             11/20/2023         $3,869   1099 CONTRACTOR PAYMENT
                                                              12/1/2023        $49,231   EMPLOYEE SALARY
                                                              1/5/2024          $3,007   1099 CONTRACTOR PAYMENT
                                                              1/12/2024         $7,975   1099 CONTRACTOR PAYMENT
                                                              2/1/2024          $6,329   1099 CONTRACTOR PAYMENT
                                                              2/1/2024          $7,975   1099 CONTRACTOR PAYMENT
                                                              2/1/2024         $35,750   1099 CONTRACTOR PAYMENT
                                               TOTAL FREDERICK S. GREEN       $483,584

4.15 JACQUELINE GUICHELAAR                                    1/5/2023          $7,912   BOARD FEE
     DIRECTOR
     9725 NW 117TH AVENUE MIAMI, FL 33178
                                            TOTAL JACQUELINE GUICHELAAR         $7,912

4.16 JASON R. CONGER                                          2/10/2023        $10,769   EMPLOYEE SALARY
     FORMER CHIEF GROWTH OFFICER                              2/24/2023        $10,769   EMPLOYEE SALARY
                                                              3/10/2023        $10,769   EMPLOYEE SALARY
                                                              3/24/2023        $10,769   EMPLOYEE SALARY
                                                              4/7/2023         $10,769   EMPLOYEE SALARY
                                                              4/21/2023        $10,769   EMPLOYEE SALARY
                                                              5/5/2023         $10,769   EMPLOYEE SALARY
                                                       5/19/2023      $10,769    EMPLOYEE SALARY
                      Case 24-10164-KBO     Doc 280   Filed  03/06/24 $10,769
                                                        6/2/2023       Page 64  of 119 SALARY
                                                                              EMPLOYEE
                                                        6/6/2023      $18,250    OTHER COMPENSATION
                                                       6/16/2023      $10,769    EMPLOYEE SALARY
                                                       6/30/2023      $10,769    EMPLOYEE SALARY
                                                        7/6/2023      $11,158    EMPLOYEE SALARY
                                                       7/10/2023       $1,665    EXPENSE REIMBURSEMENT
                                                       7/14/2023       $5,385    EMPLOYEE SALARY
                                                       7/21/2023     $102,721    OTHER COMPENSATION
                                                       7/21/2023      $68,566    OTHER COMPENSATION
                                                       7/21/2023      $10,388    OTHER COMPENSATION
                                                       7/21/2023      $68,566    OTHER COMPENSATION
                                                       7/21/2023      $68,566    OTHER COMPENSATION
                                                       7/21/2023     $102,720    OTHER COMPENSATION
                                                       7/21/2023      $85,056    OTHER COMPENSATION
                                                       7/21/2023      $18,000    OTHER COMPENSATION
                                                       7/21/2023     $308,547    OTHER COMPENSATION
                                                       7/21/2023      $85,058    OTHER COMPENSATION
                                                       7/21/2023     $102,720    OTHER COMPENSATION
                                                       7/21/2023      $18,000    OTHER COMPENSATION
                                                       7/21/2023      $77,210    OTHER COMPENSATION
                                                       7/28/2023      $10,769    SEVERANCE
                                                       8/11/2023      $10,769    SEVERANCE
                                                       8/11/2023         $932    OTHER COMPENSATION
                                                       8/25/2023      $10,769    SEVERANCE
                                                        9/8/2023         $932    OTHER COMPENSATION
                                                        9/8/2023      $10,769    SEVERANCE
                                                       9/22/2023      $10,769    SEVERANCE
                                                       10/6/2023      $10,769    SEVERANCE
                                                       10/20/2023     $10,769    SEVERANCE
                                                       11/3/2023         $932    OTHER COMPENSATION
                                                       11/3/2023      $10,769    SEVERANCE
                                                       11/17/2023     $10,769    SEVERANCE
                                                       12/1/2023      $10,769    SEVERANCE
                                                       12/1/2023         $932    OTHER COMPENSATION
                                                       12/15/2023     $10,769    SEVERANCE
                                                       12/29/2023     $10,769    SEVERANCE
                                            TOTAL JASON R. CONGER   $1,403,994

4.17 JENNIFER HEVIA                                    2/10/2023       $7,692    EMPLOYEE SALARY
     CHIEF PEOPLE OFFICER                              2/24/2023       $7,692    EMPLOYEE SALARY
     9725 NW 117TH AVENUE MIAMI, FL 33178
                                                       3/10/2023       $7,692    EMPLOYEE SALARY
                                                       3/24/2023       $7,692    EMPLOYEE SALARY
                                                        4/7/2023       $7,692    EMPLOYEE SALARY
                                                       4/21/2023      $11,538    EMPLOYEE SALARY
                                                        5/5/2023      $11,538    EMPLOYEE SALARY
                                                       5/19/2023      $11,538    EMPLOYEE SALARY
                                                       6/2/2023       $11,538    EMPLOYEE SALARY
                                                        6/6/2023      $18,250    OTHER COMPENSATION
                                                       6/16/2023      $11,538    EMPLOYEE SALARY
                                                       6/30/2023      $11,538    EMPLOYEE SALARY
                                                       7/14/2023      $11,538    EMPLOYEE SALARY
                                                       7/28/2023      $11,538    EMPLOYEE SALARY
                                                       8/11/2023      $11,538    EMPLOYEE SALARY
                                                       8/21/2023          $55    EXPENSE REIMBURSEMENT
                                                       8/25/2023      $11,538    EMPLOYEE SALARY
                                                       8/30/2023      $16,407    OTHER COMPENSATION
                                                        9/8/2023      $11,538    EMPLOYEE SALARY
                                                       9/18/2023          $91    EXPENSE REIMBURSEMENT
                                                       9/22/2023      $11,538    EMPLOYEE SALARY
                                                       9/25/2023         $400    EXPENSE REIMBURSEMENT
                                                       9/25/2023          $16    EXPENSE REIMBURSEMENT
                                                       10/6/2023      $11,538    EMPLOYEE SALARY
                                                        10/20/2023     $13,077   EMPLOYEE SALARY
                      Case 24-10164-KBO     Doc 280    Filed  03/06/24 $13,077
                                                        11/3/2023       Page 65  of 119 SALARY
                                                                               EMPLOYEE
                                                        11/17/2023     $13,077   EMPLOYEE SALARY
                                                         12/1/2023    $112,500   BONUS COMPENSATION
                                                         12/1/2023     $13,077   EMPLOYEE SALARY
                                                        12/15/2023     $13,077   EMPLOYEE SALARY
                                                        12/29/2023     $13,077   EMPLOYEE SALARY
                                                         1/4/2024       $1,867   OTHER COMPENSATION
                                                         1/4/2024       $1,266   OTHER COMPENSATION
                                                         1/4/2024        $309    OTHER COMPENSATION
                                                         1/5/2024        $560    EXPENSE REIMBURSEMENT
                                                         1/12/2024     $13,269   EMPLOYEE SALARY
                                                         1/26/2024     $13,462   EMPLOYEE SALARY
                                                         2/2/2024     $477,500   BONUS COMPENSATION

                                               TOTAL JENNIFER HEVIA   $922,873

4.18 JOHN J. MCGOOHAN                                    2/10/2023      $9,615   EMPLOYEE SALARY
     FORMER CHIEF STRATEGY OFFICER                       2/24/2023      $9,615   EMPLOYEE SALARY
                                                         3/1/2023     $260,628   BONUS COMPENSATION
                                                         3/10/2023      $9,615   EMPLOYEE SALARY
                                                         3/24/2023      $9,615   EMPLOYEE SALARY
                                                         4/7/2023       $9,615   EMPLOYEE SALARY
                                                         4/21/2023      $9,615   EMPLOYEE SALARY
                                                         5/5/2023       $9,615   EMPLOYEE SALARY
                                                         5/19/2023      $5,913   EMPLOYEE SALARY
                                                         5/19/2023      $2,885   EMPLOYEE SALARY
                                            TOTAL JOHN J. MCGOOHAN    $336,734

4.19 KIM M. RIVERA                                       1/20/2023      $6,194   BOARD FEE
     DIRECTOR                                            2/3/2023         $29    BOARD FEE
     9725 NW 117TH AVENUE MIAMI, FL 33178
                                                         2/24/2023       $433    BOARD FEE
                                                         5/1/2023       $2,643   BOARD FEE
                                                         11/6/2023      $4,895   BOARD FEE
                                                TOTAL KIM M. RIVERA    $14,194

4.20 LINA HERNANDEZ                                      2/10/2023      $4,615   EMPLOYEE SALARY
     DIRECTOR, HRIS & PAYROLL                            2/24/2023      $4,615   EMPLOYEE SALARY
     9725 NW 117TH AVENUE MIAMI, FL 33178
                                                         3/10/2023      $4,615   EMPLOYEE SALARY
                                                         3/24/2023      $4,615   EMPLOYEE SALARY
                                                         4/7/2023       $4,615   EMPLOYEE SALARY
                                                         4/20/2023     $15,000   BONUS COMPENSATION
                                                         4/21/2023      $5,000   EMPLOYEE SALARY
                                                         5/5/2023       $5,000   EMPLOYEE SALARY
                                                         5/12/2023       $821    OTHER COMPENSATION
                                                         5/19/2023      $5,000   EMPLOYEE SALARY
                                                         6/2/2023       $5,000   EMPLOYEE SALARY
                                                         6/16/2023      $5,000   EMPLOYEE SALARY
                                                         6/30/2023      $5,000   EMPLOYEE SALARY
                                                         7/6/2023      $45,753   EMPLOYEE SALARY
                                                         7/14/2023      $5,000   EMPLOYEE SALARY
                                                         7/28/2023      $5,000   EMPLOYEE SALARY
                                                         8/11/2023      $5,000   EMPLOYEE SALARY
                                                         8/25/2023      $5,000   EMPLOYEE SALARY
                                                         8/30/2023       $748    OTHER COMPENSATION
                                                         9/8/2023       $5,000   EMPLOYEE SALARY
                                                         9/22/2023      $5,000   EMPLOYEE SALARY
                                                         10/6/2023      $5,000   EMPLOYEE SALARY
                                                        10/20/2023      $5,000   EMPLOYEE SALARY
                                                         11/3/2023      $5,000   EMPLOYEE SALARY
                                                        11/17/2023      $5,000   EMPLOYEE SALARY
                                                         12/1/2023      $5,000   EMPLOYEE SALARY
                                                         12/1/2023      $5,000   BONUS COMPENSATION
                                                   12/15/2023         $5,000   EMPLOYEE SALARY
                    Case 24-10164-KBO   Doc 280   Filed  03/06/24
                                                   12/29/2023         Page 66
                                                                      $5,000   of 119 SALARY
                                                                             EMPLOYEE
                                                   1/12/2024          $5,000   EMPLOYEE SALARY
                                                   1/26/2024          $5,000   EMPLOYEE SALARY
                                                     2/2/2024        $16,500   BONUS COMPENSATION
                                         TOTAL LINA HERNANDEZ       $211,898

4.21 MARK A. NOVELL                                2/10/2023          $9,423   EMPLOYEE SALARY
     FORMER CHIEF ACCOUNTING OFFICER               2/24/2023          $9,423   EMPLOYEE SALARY
                                                   3/10/2023          $9,423   EMPLOYEE SALARY
                                                   3/24/2023          $9,423   EMPLOYEE SALARY
                                                    4/7/2023          $9,423   EMPLOYEE SALARY
                                                   4/21/2023         $10,577   EMPLOYEE SALARY
                                                    5/5/2023         $10,577   EMPLOYEE SALARY
                                                   5/19/2023         $10,577   EMPLOYEE SALARY
                                                    6/2/2023         $10,577   EMPLOYEE SALARY
                                                    6/2/2023         $40,000   BONUS COMPENSATION
                                                   6/16/2023         $10,577   EMPLOYEE SALARY
                                                   6/30/2023         $10,577   EMPLOYEE SALARY
                                                   7/14/2023         $10,577   EMPLOYEE SALARY
                                                   7/28/2023         $10,577   EMPLOYEE SALARY
                                                   8/11/2023         $10,577   EMPLOYEE SALARY
                                                   8/25/2023         $10,577   EMPLOYEE SALARY
                                                   8/30/2023          $1,380   OTHER COMPENSATION
                                                   8/30/2023          $1,669   OTHER COMPENSATION
                                                   8/30/2023          $2,875   OTHER COMPENSATION
                                                    9/8/2023         $10,577   EMPLOYEE SALARY
                                                   9/22/2023         $11,154   EMPLOYEE SALARY
                                                   10/6/2023         $11,154   EMPLOYEE SALARY
                                                   10/20/2023         $6,692   EMPLOYEE SALARY
                                         TOTAL MARK A. NOVELL       $238,384

4.22 MARLOW BLAS HERNANDEZ                         2/10/2023         $13,462   EMPLOYEE SALARY
     FORMER CHIEF EXECUTIVE OFFICER                2/24/2023          $3,365   EXPENSE REIMBURSEMENT
                                                   2/24/2023         $13,462   EMPLOYEE SALARY
                                                   3/10/2023         $13,462   EMPLOYEE SALARY
                                                   3/20/2023           $383    EXPENSE REIMBURSEMENT
                                                   3/24/2023            $54    EXPENSE REIMBURSEMENT
                                                   3/24/2023         $13,462   EMPLOYEE SALARY
                                                    4/7/2023         $13,462   EMPLOYEE SALARY
                                                   4/21/2023           $578    EXPENSE REIMBURSEMENT
                                                   4/21/2023         $15,500   EMPLOYEE SALARY
                                                   5/5/2023          $15,500   EMPLOYEE SALARY
                                                    5/8/2023            $50    EXPENSE REIMBURSEMENT
                                                   5/19/2023         $15,500   EMPLOYEE SALARY
                                                   5/30/2023          $1,398   EXPENSE REIMBURSEMENT
                                                    6/2/2023         $15,500   EMPLOYEE SALARY
                                                    6/5/2023            $874   EXPENSE REIMBURSEMENT
                                                   6/16/2023         $15,500   EMPLOYEE SALARY
                                                   6/30/2023          $9,649   EMPLOYEE SALARY
                                                   7/14/2023         $15,500   SEVERANCE
                                                   7/28/2023          $6,032   OTHER COMPENSATION
                                                   7/28/2023         $15,500   SEVERANCE
                                                   8/11/2023         $15,500   SEVERANCE
                                                   8/25/2023         $15,500   SEVERANCE
                                                    9/8/2023         $15,500   SEVERANCE
                                                   9/22/2023         $15,500   SEVERANCE
                                                   10/6/2023         $15,500   SEVERANCE
                                                   10/20/2023        $15,500   SEVERANCE
                                                   11/3/2023         $15,500   SEVERANCE
                                                   11/17/2023        $15,500   SEVERANCE
                                                    12/1/2023        $15,500   SEVERANCE
                                                   12/15/2023        $15,500   SEVERANCE
                                                                12/29/2023     $15,500    SEVERANCE
                      Case 24-10164-KBO    Doc 280 Filed 03/06/24 $368,690
                                    TOTAL MARLOW BLAS HERNANDEZ
                                                                    Page 67 of 119

4.23 MEDCLOUD DEPOT LLC.                                         2/6/2023       $8,000    SUPPLIER PAYMENT
     SUPPLIER                                                    2/6/2023      $29,335    SUPPLIER PAYMENT
     13155 SW 134TH STREET STE 211 MIAMI, FL 33186
                                                                 2/6/2023     $232,506    SUPPLIER PAYMENT
                                                                 2/13/2023        $372    SUPPLIER PAYMENT
                                                                 3/3/2023      $31,285    SUPPLIER PAYMENT
                                                                 3/3/2023     $251,043    SUPPLIER PAYMENT
                                                                 3/10/2023     $16,988    SUPPLIER PAYMENT
                                                                 4/7/2023      $31,437    SUPPLIER PAYMENT
                                                                 4/7/2023     $285,750    SUPPLIER PAYMENT
                                                                 5/1/2023      $91,100    SUPPLIER PAYMENT
                                                                 5/8/2023      $62,000    SUPPLIER PAYMENT
                                                                 5/8/2023      $31,710    SUPPLIER PAYMENT
                                                                 5/8/2023     $295,552    SUPPLIER PAYMENT
                                                                 6/5/2023      $33,331    SUPPLIER PAYMENT
                                                                 6/5/2023     $314,853    SUPPLIER PAYMENT
                                                                 6/20/2023     $53,000    SUPPLIER PAYMENT
                                                                 7/10/2023     $39,329    SUPPLIER PAYMENT
                                                                 7/10/2023    $313,256    SUPPLIER PAYMENT
                                                                 7/17/2023     $10,000    SUPPLIER PAYMENT
                                                                 7/17/2023     $40,400    SUPPLIER PAYMENT
                                                                 7/17/2023    $174,600    SUPPLIER PAYMENT
                                                                 8/7/2023      $28,613    SUPPLIER PAYMENT
                                                                 8/7/2023     $304,359    SUPPLIER PAYMENT
                                                                 8/14/2023     $17,600    SUPPLIER PAYMENT
                                                                 9/5/2023      $28,542    SUPPLIER PAYMENT
                                                                 9/5/2023     $300,510    SUPPLIER PAYMENT
                                                                 10/2/2023    $292,406    SUPPLIER PAYMENT
                                                                 10/2/2023     $28,884    SUPPLIER PAYMENT
                                                                11/17/2023     $29,752    SUPPLIER PAYMENT
                                                                11/17/2023    $291,842    SUPPLIER PAYMENT
                                                                 1/5/2024      $30,818    SUPPLIER PAYMENT
                                                                 1/5/2024      $90,000    SUPPLIER PAYMENT
                                             TOTAL MEDCLOUD DEPOT LLC.       $3,789,172

4.24 MICHAEL QUEVEDO                                             2/10/2023     $13,462    EMPLOYEE SALARY
     FORMER PRESIDENT, UNIVERSITY HEALTH CARE                    2/24/2023     $13,462    EMPLOYEE SALARY
                                                                 3/10/2023     $13,462    EMPLOYEE SALARY
                                                                 3/24/2023     $13,462    EMPLOYEE SALARY
                                                                 4/7/2023      $13,462    EMPLOYEE SALARY
                                                                 4/21/2023     $13,462    EMPLOYEE SALARY
                                                                 5/5/2023      $13,462    EMPLOYEE SALARY
                                                                 5/19/2023     $13,462    EMPLOYEE SALARY
                                                                 6/2/2023      $13,462    EMPLOYEE SALARY
                                                                 6/16/2023     $13,462    EMPLOYEE SALARY
                                                     TOTAL MICHAEL QUEVEDO    $134,615

4.25 MICHAEL SHEEHAN                                             2/24/2023      $3,365    EMPLOYEE SALARY
     ASSOCIATE GENERAL COUNSEL, SEC COMPLIANCE                   3/10/2023      $6,731    EMPLOYEE SALARY
     9725 NW 117TH AVENUE MIAMI, FL 33178
                                                                 3/24/2023      $6,731    EMPLOYEE SALARY
                                                                 4/7/2023       $6,731    EMPLOYEE SALARY
                                                                 4/7/2023      $21,635    EMPLOYEE SALARY
                                                                 4/21/2023      $6,731    EMPLOYEE SALARY
                                                                 5/5/2023       $6,731    EMPLOYEE SALARY
                                                                 5/19/2023      $6,731    EMPLOYEE SALARY
                                                                 6/2/2023       $6,731    EMPLOYEE SALARY
                                                                 6/16/2023      $6,731    EMPLOYEE SALARY
                                                                 6/30/2023      $6,731    EMPLOYEE SALARY
                                                                 7/14/2023      $6,731    EMPLOYEE SALARY
                                                                 7/28/2023      $6,731    EMPLOYEE SALARY
                                                                 8/11/2023      $6,731    EMPLOYEE SALARY
                                                            8/25/2023          $6,731   EMPLOYEE SALARY
                      Case 24-10164-KBO        Doc 280     Filed  03/06/24
                                                             9/8/2023          Page 68
                                                                               $6,731   of 119 SALARY
                                                                                      EMPLOYEE
                                                            9/11/2023          $2,501   OTHER COMPENSATION
                                                            9/22/2023          $9,232   EMPLOYEE SALARY
                                                            10/6/2023          $9,232   EMPLOYEE SALARY
                                                            10/20/2023         $9,232   EMPLOYEE SALARY
                                                            11/3/2023          $9,232   EMPLOYEE SALARY
                                                            11/17/2023         $9,232   EMPLOYEE SALARY
                                                            12/1/2023          $9,232   EMPLOYEE SALARY
                                                            12/1/2023         $25,000   BONUS COMPENSATION
                                                            12/15/2023         $9,232   EMPLOYEE SALARY
                                                            12/29/2023         $9,232   EMPLOYEE SALARY
                                                            1/12/2024          $9,232   EMPLOYEE SALARY
                                                            1/26/2024          $9,232   EMPLOYEE SALARY
                                                            1/26/2024         $12,750   BONUS COMPENSATION
                                                             2/2/2024         $91,750   BONUS COMPENSATION
                                               TOTAL MICHAEL SHEEHAN         $343,552

4.26 PATRICIA K. FERRARI                                     1/5/2024         $35,000   BOARD FEE
     DIRECTOR                                               1/19/2024         $35,000   BOARD FEE
     9725 NW 117TH AVENUE MIAMI, FL 33178
                                              TOTAL PATRICIA K. FERRARI       $70,000

4.27 PEDRO CORDERO                                          2/10/2023          $8,846   EMPLOYEE SALARY
     FORMER CHIEF POPULATION HEALTH OFFICER                 2/24/2023          $8,846   EMPLOYEE SALARY
                                                            3/10/2023          $8,846   EMPLOYEE SALARY
                                                            3/24/2023          $8,846   EMPLOYEE SALARY
                                                             4/7/2023          $8,846   EMPLOYEE SALARY
                                                            4/21/2023         $11,346   EMPLOYEE SALARY
                                                             5/5/2023         $11,346   EMPLOYEE SALARY
                                                            5/19/2023         $11,346   EMPLOYEE SALARY
                                                             6/2/2023         $11,346   EMPLOYEE SALARY
                                                             6/6/2023        $274,845   OTHER COMPENSATION
                                                            6/16/2023         $11,346   EMPLOYEE SALARY
                                                            6/30/2023         $11,346   EMPLOYEE SALARY
                                                            7/14/2023         $11,346   EMPLOYEE SALARY
                                                            7/28/2023         $11,346   EMPLOYEE SALARY
                                                            8/11/2023         $11,346   EMPLOYEE SALARY
                                                            8/25/2023          $6,808   EMPLOYEE SALARY
                                                            9/22/2023         $11,346   SEVERANCE
                                                            9/23/2023           $954    OTHER COMPENSATION
                                                            10/6/2023           $955    OTHER COMPENSATION
                                                             10/6/2023        $11,346   SEVERANCE
                                                            10/20/2023        $11,346   SEVERANCE
                                                            11/3/2023           $955    OTHER COMPENSATION
                                                            11/3/2023         $11,346   SEVERANCE
                                                            11/17/2023        $11,346   SEVERANCE
                                                            12/1/2023            $955   OTHER COMPENSATION
                                                            12/1/2023         $11,346   SEVERANCE
                                                            12/15/2023        $11,346   SEVERANCE
                                                            12/29/2023        $11,346   SEVERANCE
                                                TOTAL PEDRO CORDERO          $522,590

4.28 RICHARD B. AGUILAR                                     2/10/2023         $11,538   EMPLOYEE SALARY
     FORMER CHIEF CLINICAL OFFICER                          2/24/2023         $11,538   EMPLOYEE SALARY
                                                            3/10/2023         $11,538   EMPLOYEE SALARY
                                                            3/24/2023         $11,538   EMPLOYEE SALARY
                                                             4/5/2023          $1,469   EXPENSE REIMBURSEMENT
                                                            4/7/2023          $11,538   EMPLOYEE SALARY
                                                            4/21/2023         $12,346   EMPLOYEE SALARY
                                                             5/5/2023         $12,346   EMPLOYEE SALARY
                                                            5/19/2023         $12,346   EMPLOYEE SALARY
                                                             6/2/2023         $12,346   EMPLOYEE SALARY
                                                          6/6/2023         $73,000   OTHER COMPENSATION
                      Case 24-10164-KBO       Doc 280   Filed  03/06/24
                                                         6/12/2023          Page 69
                                                                            $3,163   of 119REIMBURSEMENT
                                                                                   EXPENSE
                                                          6/16/2023        $12,346   EMPLOYEE SALARY
                                                          6/30/2023        $12,346   EMPLOYEE SALARY
                                                          7/14/2023        $12,346   EMPLOYEE SALARY
                                                          7/28/2023        $12,346   EMPLOYEE SALARY
                                                          7/31/2023         $2,222   EXPENSE REIMBURSEMENT
                                                          8/11/2023        $12,346   EMPLOYEE SALARY
                                                          8/21/2023         $2,513   EXPENSE REIMBURSEMENT
                                                          8/25/2023         $2,469   EMPLOYEE SALARY
                                                          9/8/2023          $4,360   EMPLOYEE SALARY
                                                          9/8/2023         $12,346   SEVERANCE
                                                          9/22/2023        $12,346   SEVERANCE
                                                          10/6/2023        $12,346   SEVERANCE
                                                         10/20/2023        $12,346   SEVERANCE
                                                          11/3/2023        $12,346   SEVERANCE
                                                         11/17/2023        $12,346   SEVERANCE
                                                          12/1/2023        $12,346   SEVERANCE
                                                         12/15/2023        $12,346   SEVERANCE
                                                         12/29/2023         $4,532   OTHER COMPENSATION
                                                         12/29/2023        $12,346   SEVERANCE
                                            TOTAL RICHARD B. AGUILAR      $373,656

4.29 ROBERT CAMERLINCK                                    2/10/2023        $18,011   EMPLOYEE SALARY
     CHIEF OPERATING OFFICER                              2/24/2023        $18,011   EMPLOYEE SALARY
     9725 NW 117TH AVENUE MIAMI, FL 33178
                                                          3/10/2023        $18,011   EMPLOYEE SALARY
                                                          3/24/2023        $18,011   EMPLOYEE SALARY
                                                          4/7/2023         $18,011   EMPLOYEE SALARY
                                                          4/21/2023        $18,423   EMPLOYEE SALARY
                                                          5/5/2023         $18,423   EMPLOYEE SALARY
                                                          5/19/2023        $18,011   EMPLOYEE SALARY
                                                          6/2/2023         $14,538   EMPLOYEE SALARY
                                                          6/16/2023        $14,538   EMPLOYEE SALARY
                                                          6/30/2023        $14,538   EMPLOYEE SALARY
                                                          7/14/2023        $14,538   EMPLOYEE SALARY
                                                          7/28/2023        $14,538   EMPLOYEE SALARY
                                                          8/11/2023        $14,538   EMPLOYEE SALARY
                                                          8/14/2023        $95,000   OTHER COMPENSATION
                                                          8/25/2023        $14,538   EMPLOYEE SALARY
                                                          8/30/2023        $16,407   OTHER COMPENSATION
                                                          9/8/2023         $14,538   EMPLOYEE SALARY
                                                          9/22/2023        $14,538   EMPLOYEE SALARY
                                                          10/6/2023        $14,538   EMPLOYEE SALARY
                                                         10/20/2023        $14,538   EMPLOYEE SALARY
                                                          11/3/2023        $14,538   EMPLOYEE SALARY
                                                         11/17/2023        $14,538   EMPLOYEE SALARY
                                                          12/1/2023        $14,538   EMPLOYEE SALARY
                                                         12/15/2023        $14,538   EMPLOYEE SALARY
                                                         12/29/2023        $14,538   EMPLOYEE SALARY
                                                          1/4/2024           $188    OTHER COMPENSATION
                                                          1/4/2024          $1,030   OTHER COMPENSATION
                                                          1/4/2024          $1,841   OTHER COMPENSATION
                                                          1/12/2024        $14,962   EMPLOYEE SALARY
                                                          1/26/2024        $15,385   EMPLOYEE SALARY
                                                          2/2/2024     $1,065,000    BONUS COMPENSATION
                                                          2/3/2024         $1,334    EMPLOYEE SALARY
                                            TOTAL ROBERT CAMERLINCK    $1,588,672

4.30 TRUJILLO GROUP LLC                                   1/19/2024         $9,605   BOARD FEE
     SOLOMON TRUJILLO, DIRECTOR                           1/19/2024         $3,349   BOARD FEE
     9725 NW 117TH AVENUE MIAMI, FL 33178
                                                          1/19/2024         $3,945   BOARD FEE
                                                          1/19/2024         $4,421   BOARD FEE
                    TOTAL TRUJILLO GROUP LLC      $21,320
Case 24-10164-KBO    Doc 280     Filed 03/06/24    Page 70 of 119
Cano Health, LLC                 Case 24-10164-KBO                      Doc 280           Filed 03/06/24              Page 71 of 119Case Number:                      24-10167


    Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

5. Repossessions, foreclosures, and returns

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

        None

 Creditor's Name and Address                                    Description of the property                                           Date                     Value of
                                                                                                                                                               property

 5.1                                                                                                                                                                       $0

                                                                                                                                               TOTAL                       $0
Cano Health, LLC                 Case 24-10164-KBO                      Doc 280           Filed 03/06/24              Page 72 of 119Case Number:                       24-10167


    Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor
without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.

        None

 Creditor's Name and Address                    Description of Action Creditor Took                      Date Action Taken             Account number                Amount

 6.1 NONE
                           Case 24-10164-KBO             Doc 280         Filed 03/06/24   Page 73 of 119

Cano Health, LLC                                                                                  Case Number:             24-10167


       Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

5. Repossessions, foreclosures, and returns

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property
repossessed by a creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do
not include property listed in line 6.
       None


 Creditor's Name and Address                      Description of the Property                Date Action         Value of Property
                                                                                             was Taken


5. 1   CARLISLE NM HOLD 2014 LP                  EMAIL-VERIFIED REPOSSESSION                                                     $0
       2839 CARLISLE BLVD NE, NEW MEXICO

5. 2   2629 W HORIZON RIDGE LLC                  EMAIL-VERIFIED REPOSSESSION                                                     $0
       2629 W HORIZON RIDGE PKWAY, #140,
       HENDERSON, NV 89052

5. 3   PORTAIRS PARTNERS LP                      EMAIL-VERIFIED REPOSSESSION                                                     $0
       3201 CHERRY RISGE SUITE B-209, SAN
       ANTONIO, TX 78230

5. 4   M10 LAND INVESTMENTS LLC                  EMAIL-VERIFIED REPOSSESSION                                                     $0
       400 EAST RANDOLPH ST, CHICAGO, IL
       60601

5. 5   M9 LAND INVESTMENTS LLC                   EMAIL-VERIFIED REPOSSESSION                                                     $0
       400 EAST RANDOLPH ST, CHICAGO, IL
       60601

5. 6   NADG NNN CH (TX) LP                       EMAIL-VERIFIED REPOSSESSION                                                     $0
       3131 MCKINNEY AVENUE STE L-10,
       DALLAS, TX 75204

5. 7   CHANNEL 10 BUSINESS CENTER, LLC           EMAIL-VERIFIED REPOSSESSION                                                     $0
       1626 S. HILL ST., LOS ANGELES, CA 90015

5. 8   CCD PR NO 11 LLC                          EMAIL-VERIFIED REPOSSESSION                                                     $0
       1553 SAN IGNACIO AVENUE, CORAL
       GABLES, FL 33146

5. 9   GGF PICO RIVERA, LLC                      EMAIL-VERIFIED REPOSSESSION                                                     $0
       100 WEST BROADWAY, SUITE 950,
       GLENDALE, CA 91210

5.10   SENECA SECURITY HOLDINGS, LLC             EMAIL-VERIFIED REPOSSESSION                                                     $0
       4225 PONCE DE LEON BLVD, CORAL
       GABLES, FL 33146

5.11   CTP PLAZA LLC                             TERMINATION                                                                     $0
       PO BOX 362983, SAN JUAN, PR 00936

5.12   JMKO, LLC                             TERMINATION                                                                         $0
       8704 CREST GATE CR, ORLANDO, FL 32819

5.13   COMMERCIAL SUNRISE, LLC                   TERMINATION                                                                     $0
       1 INDEPENDENCE PLAZA, STE 414,
       BIRMINGHAM, AL 35209

5.14   VIVA INVESTMENTS GROUP LLC                TERMINATION                                                                     $0
       1801 SW 22ND STREET SUITE 400, MIAMI,
       FL 33145

5.15   GEORGE BORDENAVE                          TERMINATION                                                                     $0
       12000 SW 69 PLACE, MIAMI, FL 33156



                                                           Page 1 of 3 to Question 5
                            Case 24-10164-KBO           Doc 280         Filed 03/06/24   Page 74 of 119

Cano Health, LLC                                                                                  Case Number:             24-10167


       Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

5. Repossessions, foreclosures, and returns

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property
repossessed by a creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do
not include property listed in line 6.
       None


 Creditor's Name and Address                     Description of the Property                 Date Action         Value of Property
                                                                                             was Taken


5.16   433 SW 10TH STREET, LLC                  TERMINATION                                                                      $0
       433 SW 10TH STREET, OCALA, FLORIDA

5.17   JOSEPH I. CHI, M.D., P.A.           EMAIL-VERIFIED REPOSSESSION                                                           $0
       5112 MAGGIONE STREET, CORAL GABLES,
       FL 33146

5.18   LAKESIDE CENTER SHOPPES, LLC             JUDGEMENT FOR EVICTION                                                           $0
       18610 NW 87TH AVE STE 204, HIALEAH, FL
       33015

5.19   HTA - AW PALMETTO LLC                    LOCKOUT REPOSSESSION                                                             $0
       PO BOX 561549, DENVER, CO 80256

5.20   ALYANI,LLC                               LOCKOUT REPOSSESSION                                                             $0
       8525 SW 92 ST, B-4, MIAMI, FL 33156

5.21   ELIOPOULOS FAMILY, LLC                   LOCKOUT REPOSSESSION                                                             $0
       4733 N. KEDZIE AVE, CHICAGO

5.22   SJD HOLDINGS, LLC                        LOCKOUT REPOSSESSION                                                             $0
       3650 W. ARMITAGE AVE – ARMITAGE

5.23   BRABANT REALTY AND MANAGEMENT ,          LOCKOUT REPOSSESSION                                                             $0
       INC
       7300 STATE STREET, HUNTINGTON PARK,
       CA 90255

5.24   RIO BRAVO SQUARE LLC                     LOCKOUT REPOSSESSION                                                             $0
       100 SUN AVE NE SUITE 210, ALBURQUE,
       NM 87109

5.25   MDL GROUP                                REPOSSESSION                                                                     $0
       7855 BLUE DIAMOND ROAD , LAS VEGAS,
       NEVADA

5.26   GREENPOINT INVESTORS LTD                 EMAIL-VERIFIED REPOSSESSION                                                      $0
       7015 BARKER CYPRESS ROAD, TEXAS

5.27   VPRE REAL LLC                            LOCKOUT REPOSSESSION                                                             $0
       2722 N. MILWAUKEE AVE, CHICAGO

5.28   TROPICANA PALM PLAZA, LLC            EMAIL-VERIFIED REPOSSESSION                                                          $0
       500 NEWPORT CENTER DRIVE, SUITE 550,
       NEWPORT BEACH, CA 92660

5.29   BARAN INVESTMENTS, LLC                   EMAIL-VERIFIED REPOSSESSION                                                      $0
       5801 NW 151ST STREET, MIAMI

5.30   TEN15 WINTERWOOD, LLC                    EMAIL-VERIFIED REPOSSESSION                                                      $0
       5030 PARADISE ROAD, SUITE C-214, LAS
       VEGAS, NV 89119




                                                          Page 2 of 3 to Question 5
                          Case 24-10164-KBO           Doc 280         Filed 03/06/24    Page 75 of 119

Cano Health, LLC                                                                                  Case Number:             24-10167


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

5. Repossessions, foreclosures, and returns

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property
repossessed by a creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do
not include property listed in line 6.
       None


 Creditor's Name and Address                   Description of the Property                   Date Action         Value of Property
                                                                                             was Taken


5.31   RAINBOW 215 PLAZA                      EMAIL-VERIFIED REPOSSESSION                                                        $0
       6830 S RAINBOW, #200, LAS VEGAS, NV
       89118

5.32   Q HOLDINGS 13155, LLC                  EMAIL-VERIFIED REPOSSESSION                                                        $0
       6000 SW 74 ST, 3RD FLOOR, SOUTH MIAMI,
       FL 33143

5.33   Q HOLDINGS EAST HIALEAH LLC            EMAIL-VERIFIED REPOSSESSION                                                        $0
       8210 NW 27TH ST SUITE 205, DORAL, FL
       33122

5.34   GUADALUPE PLAZA ALBUQUERQUE NM        LOCKOUT REPOSSESSION                                                                $0
       LLC
       371 HOES LANE, SUITE 201, PISCATAWAY,
       NJ 08854


                                                                                                           TOTAL                 $0




                                                        Page 3 of 3 to Question 5
Cano Health, LLC                Case 24-10164-KBO                     Doc 280          Filed 03/06/24             Page 76 of 119Case Number:                     24-10167


    Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits

List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity—
within 1 year before filing this case.

        None

 Caption of Suit and Case Number                       Nature of Proceeding                   Court or Agency and Address                      Status of Case

 7.1 NONE
Cano Health, LLC                Case 24-10164-KBO                      Doc 280          Filed 03/06/24              Page 77 of 119Case Number:                        24-10167


    Part 3:      Legal Actions or Assignments

8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver,
custodian, or other court-appointed officer within 1 year before filing this case.

        None

 Custodian's Name and Address                  Court Name and Address               Case Title and Number              Date       Description of property             Value

 8.1 NONE
Cano Health, LLC               Case 24-10164-KBO                   Doc 280          Filed 03/06/24            Page 78 of 119Case Number:                    24-10167


   Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that
recipient is less than $1,000

        None

 Recipient's Name and Address              Recipient's Relation to Debtor          Description of the Gifts and Contributions             Dates Given        Value

 9.1 NONE
                         Case 24-10164-KBO          Doc 280        Filed 03/06/24         Page 79 of 119

Cano Health, LLC                                                                                   Case Number:           24-10167


      Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
aggregate value of the gifts to that recipient is less than $1,000
       None


 Recipient’s Name and Address                          Recipient’s         Description of the         Dates Given         Value
                                                      Relationship to          Gifts or
                                                          Debtor             Contributions



9.1   MAGICWASTE YOUTH FOUNDATION                  FOUNDATION           MONTHLY                 10/23/2023 - 10/23/2023      $2,000
      8600 NW 17TH STREET                                               SPONSORSHIP
      SUITE 130
      DORAL, FL 33126




                                                     Page 1 of 1 to Question 9
Cano Health, LLC                Case 24-10164-KBO                    Doc 280          Filed 03/06/24            Page 80 of 119Case Number:                                    24-10167


   Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

        None

 Description of the property lost and how the lost occored                                   Amount of                       Date of loss                            Value of
                                                                                             payments                                                              property lost
                                                                                            received for
                                                                                              the loss

                                                                                                    If you have received payments to cover the loss, for example, from
                                                                                                     insurance, govertnment compensation, or tort liability, list the total
                                                                                                   received. List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                                                                   Assets - Real and Personal Property).

 10.1 NONE
                                                                                                                                                  TOTAL                          $0
Cano Health, LLC                Case 24-10164-KBO                      Doc 280          Filed 03/06/24              Page 81 of 119Case Number:                      24-10167


    Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy

ist any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to
another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

        None

 Who was Paid or Who Received                Email / Website                               Who Made the               If not Money,                Dates          Value
 the Transfer? Address                                                                     Payment, if not            Describe any
                                                                                           Debtor                     Property
                                                                                                                      Transfered

 11.1 ALIXPARTNERS LLP                     HTTPS://WWW.ALIXPARTNERS.COM/                                                                        11/14/2023      $500,000
      909 THIRD AVENUE NEW
      YORK, NY 10022

 11.2 ALIXPARTNERS LLP                     HTTPS://WWW.ALIXPARTNERS.COM/                                                                         12/4/2023      $500,000
      909 THIRD AVENUE NEW
      YORK, NY 10022

 11.3 ALIXPARTNERS LLP                     HTTPS://WWW.ALIXPARTNERS.COM/                                                                         12/4/2023      $225,874
      909 THIRD AVENUE NEW
      YORK, NY 10022

 11.4 ALIXPARTNERS LLP                     HTTPS://WWW.ALIXPARTNERS.COM/                                                                         12/8/2023      $705,602
      909 THIRD AVENUE NEW
      YORK, NY 10022

 11.5 ALIXPARTNERS LLP                     HTTPS://WWW.ALIXPARTNERS.COM/                                                                        12/22/2023      $552,404
      909 THIRD AVENUE NEW
      YORK, NY 10022

 11.6 ALIXPARTNERS LLP                     HTTPS://WWW.ALIXPARTNERS.COM/                                                                          1/5/2024      $583,200
      909 THIRD AVENUE NEW
      YORK, NY 10022

 11.7 ALIXPARTNERS LLP                     HTTPS://WWW.ALIXPARTNERS.COM/                                                                         1/19/2024      $542,946
      909 THIRD AVENUE NEW
      YORK, NY 10022

 11.8 ALIXPARTNERS LLP                     HTTPS://WWW.ALIXPARTNERS.COM/                                                                          2/2/2024 $1,160,529
      909 THIRD AVENUE NEW
      YORK, NY 10022

 11.9 ALIXPARTNERS LLP                     HTTPS://WWW.ALIXPARTNERS.COM/                                                                          2/2/2024 $1,322,429
      909 THIRD AVENUE NEW
      YORK, NY 10022

 11.10 HOULIHAN LOKEY                      HTTPS://HL.COM/                                                                                      12/22/2023      $302,135
       CAPITAL INC
       10250 CONSTELLATION
       BLVD E LOS ANGELES,
       CA 90067

 11.11 HOULIHAN LOKEY                      HTTPS://HL.COM/                                                                                       1/12/2024      $114,078
       CAPITAL INC
       10250 CONSTELLATION
       BLVD E LOS ANGELES,
       CA 90067

 11.12 HOULIHAN LOKEY                      HTTPS://HL.COM/                                                                                        2/2/2024      $167,241
       CAPITAL INC
       10250 CONSTELLATION
       BLVD E LOS ANGELES,
       CA 90067

 11.13 HOULIHAN LOKEY                      HTTPS://HL.COM/                                                                                        2/2/2024 $1,500,000
       CAPITAL INC
       10250 CONSTELLATION
       BLVD E LOS ANGELES,
       CA 90067

 11.14 KURTZMAN CARSON                     HTTPS://WWW.KCCLLC.COM/                                                                                2/2/2024        $50,000
       CONSULTANTS LLC
       222 N PACIFIC COAST
       HIGHWAY EL SEGUNDO,
       CA 90245
11.15 KURTZMAN CARSON      HTTPS://WWW.KCCLLC.COM/                                       2/2/2024    $125,000
      CONSULTANTS LLCCase 24-10164-KBO      Doc 280   Filed 03/06/24   Page 82 of 119
      222 N PACIFIC COAST
      HIGHWAY EL SEGUNDO,
      CA 90245

11.16 RICHARDS, LAYTON &   HTTPS://WWW.RLF.COM/                                          7/3/2023      $6,103
      FINGER PA
      920 NORTH KING
      STREET WILMINGTON,
      DE 19801

11.17 RICHARDS, LAYTON &   HTTPS://WWW.RLF.COM/                                         8/21/2023    $377,196
      FINGER PA
      920 NORTH KING
      STREET WILMINGTON,
      DE 19801

11.18 RICHARDS, LAYTON &   HTTPS://WWW.RLF.COM/                                         8/21/2023 $1,180,683
      FINGER PA
      920 NORTH KING
      STREET WILMINGTON,
      DE 19801

11.19 RICHARDS, LAYTON &   HTTPS://WWW.RLF.COM/                                         12/8/2023     $22,515
      FINGER PA
      920 NORTH KING
      STREET WILMINGTON,
      DE 19801

11.20 RICHARDS, LAYTON &   HTTPS://WWW.RLF.COM/                                         12/8/2023     $10,420
      FINGER PA
      920 NORTH KING
      STREET WILMINGTON,
      DE 19801

11.21 RICHARDS, LAYTON &   HTTPS://WWW.RLF.COM/                                         12/22/2023    $13,110
      FINGER PA
      920 NORTH KING
      STREET WILMINGTON,
      DE 19801

11.22 RICHARDS, LAYTON &   HTTPS://WWW.RLF.COM/                                         12/22/2023     $3,452
      FINGER PA
      920 NORTH KING
      STREET WILMINGTON,
      DE 19801

11.23 RICHARDS, LAYTON &   HTTPS://WWW.RLF.COM/                                         1/19/2024       $697
      FINGER PA
      920 NORTH KING
      STREET WILMINGTON,
      DE 19801

11.24 RICHARDS, LAYTON &   HTTPS://WWW.RLF.COM/                                         1/19/2024    $100,000
      FINGER PA
      920 NORTH KING
      STREET WILMINGTON,
      DE 19801

11.25 RICHARDS, LAYTON &   HTTPS://WWW.RLF.COM/                                          2/2/2024       $409
      FINGER PA
      920 NORTH KING
      STREET WILMINGTON,
      DE 19801

11.26 RICHARDS, LAYTON &   HTTPS://WWW.RLF.COM/                                          2/2/2024    $190,000
      FINGER PA
      920 NORTH KING
      STREET WILMINGTON,
      DE 19801

11.27 WEIL, GOTSHAL &      HTTPS://WWW.WEIL.COM/                                        2/13/2023    $350,000
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.28 WEIL, GOTSHAL &      HTTPS://WWW.WEIL.COM/                                        2/24/2023     $20,266
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153
11.29 WEIL, GOTSHAL &       HTTPS://WWW.WEIL.COM/                                     2/24/2023 $1,473,050
      MANGES LLP      Case 24-10164-KBO Doc 280     Filed 03/06/24   Page 83 of 119
      767 FIFTH AVE NEW
      YORK, NY 10153

11.30 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       2/24/2023    $89,394
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.31 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       2/28/2023 $1,703,410
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.32 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       5/1/2023    $309,610
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.33 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       8/28/2023   $561,744
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.34 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       8/28/2023    $12,538
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.35 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       8/28/2023   $384,071
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.36 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       8/28/2023   $539,303
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.37 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       9/5/2023    $135,723
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.38 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       9/5/2023    $531,373
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.39 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       9/18/2023   $228,655
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.40 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       9/18/2023   $302,048
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.41 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       12/4/2023     $1,645
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.42 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       12/4/2023 $1,199,851
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.43 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       12/8/2023   $250,648
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.44 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       12/8/2023   $220,387
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.45 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                       12/8/2023   $191,611
      MANGES LLP
     767 FIFTH AVE NEW
     YORK, NY 10153 Case 24-10164-KBO      Doc 280   Filed 03/06/24   Page 84 of 119
11.46 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                        12/8/2023    $224,568
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.47 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                        12/8/2023    $500,000
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.48 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                        12/15/2023   $549,872
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.49 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                         1/5/2024    $600,000
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.50 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                        1/19/2024      $5,685
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.51 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                        1/19/2024      $2,100
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.52 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                        1/19/2024    $750,000
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.53 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                        1/19/2024 $1,000,000
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.54 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                         2/2/2024    $300,000
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.55 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                         2/2/2024 $3,000,000
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153

11.56 WEIL, GOTSHAL &     HTTPS://WWW.WEIL.COM/                                         2/2/2024    $250,000
      MANGES LLP
      767 FIFTH AVE NEW
      YORK, NY 10153
Cano Health, LLC                Case 24-10164-KBO                      Doc 280          Filed 03/06/24              Page 85 of 119Case Number:                      24-10167


    Part 6:      Certain Payments or Transfers

12. Self-settled trusts of which the debtor is a beneficiary

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled
trust or similar device. Do not include transfers already listed on this statement.

        None

 Name of trust or Device                Trustee            Describe any Property Transfered                     Dates Transfers were Made                Total Amount /
                                                                                                                                                             Value

 12.1 NONE
Cano Health, LLC                Case 24-10164-KBO                    Doc 280           Filed 03/06/24             Page 86 of 119Case Number:                    24-10167


    Part 6:      Certain Payments or Transfers

13. Transports not already listed on this statement

List any transfers of money or other property - by sale, trade, or any other means - made by the debtor or a person acting on behalf of the debtor within 2 years before
the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and
transfers made as security. Do not include gifts or transfers previously listed on this statement.

        None

 Name and Address of Transferee, Relationship to Debtor                             Description of Property         Date Transfer was Made             Total Amount
                                                                                                                                                         or Value
                                                                                1
 13.1 BELEN HEALTH, LLC AND ENRIQUE ZAMORA                                                                                   10/25/2023                    $3,000,000
      BELEN HEALTH LLC HIALEAH GARDENS, FL 33018

 13.2 LOYOLA (WEST ARCHER) SALE                                                                                              12/4/2023                       $351,293

 13.3 OCCUPATIONAL HEALTH SALE                                                                                               12/29/2023                      $500,000
                                                                                2
 13.4 PRIMARY CARE HOLDINGS II, LLC                                                                                          10/4/2023                   $33,541,831
      C/O HUMANA INC. LOUISVILLE, KY 40202
                                                                                3
 13.5 SERENITY COMMUNITY MENTAL HEALTH CENTER, LLC                                                                           10/3/2023                       $575,709
      AND MIAMI PERSONAL BEHAVIORAL LLC
      3621 S.W. 107TH AVE. MIAMI, FL 33027
Cano Health, LLC             Case 24-10164-KBO             Doc 280        Filed 03/06/24         Page 87 of 119Case Number:                 24-10167

Footnotes- Part 6, Question 13

 1.Asset Purchase Agreement dated as of October 17, 2023
 2.Asset Purchase Agreement (the “Agreement”) with Primary Care Holdings II, LLC, a wholly owned subsidiary of Humana Inc. (“CenterWell”)
 3.Asset Purchase Agreement dated 10, 2023
Cano Health, LLC                Case 24-10164-KBO                    Doc 280          Filed 03/06/24             Page 88 of 119Case Number:   24-10167


   Part 7:       Previous Locations

14. Previous Addresses

List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

        None

 Adress                                                                                                         Dates of Occupancy

 14.1 NONE
Cano Health, LLC                Case 24-10164-KBO                    Doc 280      Filed 03/06/24        Page 89 of 119Case Number:        24-10167


    Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies

Is the debtor primarily engaged in offering services and facilities for:
— diagnosing or treating injury, deformity, or disease, or
— providing any surgical, psychiatric, drug treatment, or obstetric care?

        None

 Facility Name and Address                       Nature of the               Location Where             If Debtor Provides    How are Records
                                                 Business Operation,         Patient Records are        Meals and Housing,    Kept?
                                                 Including Type of           Maintained (if Different   Number of Patients
                                                 Services the Debtor         from Facility Address).    in Debtor’s Care
                                                 Provides                    If Electronic, Identify
                                                                             any Service Provider.

 15.1 WEST HIALEAH                CLINIC                                    YES                                              YES
      3825 W 16TH AVE HIALEAH, FL
      33134

 15.2 WEST HIALEAH                             CLINIC                       YES                                              YES
      3857 W. 16TH AVENUE
      HIALEAH, FL 33134

 15.3 WEST HIALEAH                             CLINIC                       YES                                              YES
      3857 W. 16TH AVENUE
      HIALEAH, FL 33134

 15.4 WEST HIALEAH                             CLINIC                       YES                                              YES
      3857 W. 16TH AVENUE
      HIALEAH, FL 33134

 15.5 WEST HIALEAH                             CLINIC                       YES                                              YES
      3857 W. 16TH AVENUE
      HIALEAH, FL 33134

 15.6 KENDALL BIRD                             CLINIC                       YES                                              YES
      11397 SW 40TH ST MIAMI, FL
      33165

 15.7 S SUNRISE UNIVERSITY                     CLINIC                       YES                                              YES
      2101 N UNIVERSITY DRIVE,
      SUNRISE, FL 33161

 15.8 3715 LAKE WORTH ROAD                     CLINIC                       YES                                              YES
      3715 LAKE WORTH ROAD
      PALM SPRINGS, FL 33408

 15.9 2994 JOG ROAD                            CLINIC                       YES                                              YES
      2994 S JOG RD
      GREENACRES, FL 33441

 15.10 FL-SFL-WEST PINES                       CLINIC                       YES                                              YES
       17011 PINES BLVD
       PEMBROKE PINES, FL 33312

 15.11 WEST HIALEAH 68 ST                      CLINIC                       YES                                              YES
       1700 W 68 ST HIALEAH
       HIALEAH, FL 33325

 15.12 SCRIPT                                  CLINIC                       YES                                              YES
       8250 NW 27 ST DORAL, FL
       33172

 15.13 WEST HIALEAH 68            CLINIC                                    YES                                              YES
       GRATIGNY
       1800 W 68TH ST HIALEAH, FL
       33325

 15.14 DORAL                                   CLINIC                       YES                                              YES
       3301 NW 107TH AVE MIAMI,
       FL 33172

 15.15 9725 CORPORATE OFFICE      CORPORATE OFFICE                          YES                                              YES
       9725 NW 117TH AVE, STE 300
       MIAMI, FL 33178

 15.16 WEST MIAMI                              CLINIC                       YES                                              YES
      6801 SW 8TH ST MIAMI, FL
      33145           Case 24-10164-KBO    Doc 280   Filed 03/06/24   Page 90 of 119
15.17 WEST MIAMI ACCESS          CLINIC        YES                                     YES
      CENTER
      1068 SW 67TH AVE MIAMI, FL
      33432

15.18 FLAGLER 83RD                CLINIC       YES                                     YES
      8300 WEST FLAGLER
      STREET MIAMI, FL 33144

15.19 TAMIAMI                     CLINIC       YES                                     YES
      13768 SW 8TH ST MIAMI, FL
      33184

15.20 EAST HIALEAH                CLINIC       YES                                     YES
      690 E 49TH STREET
      HIALEAH, FL 33174

15.21 9700 NE 2ND AVE MIAMI       CLINIC       YES                                     YES
      SHORES, FL 33138

15.22 MEDLEY                      CLINIC       YES                                     YES
      7911 NW 72ND AVE (UNIT
      111, 112, 113) MEDLEY, FL
      33166

15.23 HIALEAH GMP                 CLINIC       YES                                     YES
      3986 W 16TH AVE HIALEAH,
      FL 34983

15.24 FONTAINEBLEAU               CLINIC       YES                                     YES
      295 PARK BLVD MIAMI, FL
      33175

15.25 FONTAINEBLEAU               CLINIC       YES                                     YES
      295 PARK BLVD MIAMI, FL
      33175

15.26 KENDALL BIRD                CLINIC       YES                                     YES
      11379 SW 40TH STREET
      MIAMI, FL 33165

15.27 CUTLER BAY                  CLINIC       YES                                     YES
      18469 S DIXIE HWY MIAMI, FL
      33157

15.28 8199 TAMARAC                CLINIC       YES                                     YES
      8199 N UNIVERSITY DRIVE,
      TAMARAC, FL 33162

15.29 HIALEAH FLAMINGO PARK       CLINIC       YES                                     YES
      4410 W 16TH AVENUE
      HIALEAH, FL 33169

15.30 8TH ST GALLOWAY             CLINIC       YES                                     YES
      825 SW 87TH AVE MIAMI, FL
      33174

15.31 PINES UNIVERSITY            CLINIC       YES                                     YES
      680 N. UNIVERSITY DR.
      PEMBROKE PINES, FL 33024

15.32 PINES TAFT                  CLINIC       YES                                     YES
      8967 TAFT ST PEMBROKE
      PINES, FL 33016

15.33 HIALEAH NW 79TH ST          CLINIC       YES                                     YES
      3448 NW 79TH STREET
      MIAMI, FL 33147

15.34 LITTLE HAVANA (ALTOS)       CLINIC       YES                                     YES
      1 GLEN ROYAL PARKWAY
      MIAMI, FL 33133

15.35 HOMESTEAD                   CLINIC       YES                                     YES
      363 S HOMESTEAD BLVD.
      HOMESTEAD, FL 33130

15.36 WEST PINES                  CLINIC       YES                                     YES
     17061 PINES BLVD
     PEMBROKE PINES,Case    24-10164-KBO
                      FL 33312             Doc 280   Filed 03/06/24   Page 91 of 119
15.37 DEERFIELD BEACH          CLINIC          YES                                     YES
      4020 W HILLSBOROUGH
      BLVD DEERFIELD BEACH, FL
      33630

15.38 HIALEAH PALM AVE            CLINIC       YES                                     YES
      4201 PALM AVE HIALEAH, FL
      33326

15.39 13940 SW 47 STREET MIAMI,   CLINIC       YES                                     YES
      FL 33326

15.40 KENDALL LAKES MEDICAL      CLINIC        YES                                     YES
      CENTER
      13926 SW 47TH ST MIAMI, FL
      33326

15.41 HOLLYWOOD HILLCREST         CLINIC       YES                                     YES
      3700 WASHINGTON ST
      HOLLYWOOD, FL 33408

15.42 HOLLYWOOD TAFT WOUND        CLINIC       YES                                     YES
      & WELL
      6495 TAFT STREET
      HOLLYWOOD, FL 33024

15.43 PINES FLAMINGO              CLINIC       YES                                     YES
      601 N FLAMINGO RD
      PEMBROKE PINES, FL 33028

15.44 PINES SHERIDAN              CLINIC       YES                                     YES
      2488 N UNIVERSITY DR
      PEMBROKE PINES, FL 33024

15.45 SUNRISE UNIVERSITY          CLINIC       YES                                     YES
      2057 N UNIVERSITY DRIVE
      SUNRISE, FL 33161

15.46 PLANTATION WEST             CLINIC       YES                                     YES
      8251 BROWARD BLVD
      PLANTATION, FL 33324

15.47 LAUDERDALE LAKES            CLINIC       YES                                     YES
      3001 NW 49TH AVE
      LAUDERDALE LAKES, FL
      33313

15.48 CENTURY VILLAGE WEST        CLINIC       YES                                     YES
      PALM
      110 CENTURY BLVD WEST
      PALM BEACH, FL 33417

15.49 6495 TAFT STREET            CLINIC       YES                                     YES
      HOLLYWOOD, FL 33024

15.50 SFL CORP 1090               CLINIC       YES                                     YES
      1090 JUPITER PARK DR.
      JUPITER, FL 33458

15.51 3061 COMMERCIAL BLVD        CLINIC       YES                                     YES
      3061 E COMMERCIAL BLVD
      FT. LAUDERDALE, FL 33458

15.52 PALM BAY MALABAR            CLINIC       YES                                     YES
      470 MALABAR RD PALM BAY,
      FL 33458

15.53 HOLLYWOOD HILLCREST HP CLINIC            YES                                     YES
      3700 WASHINGTON
      HOLLYWOOD, FL 33408

15.54 CENTURY VILLAGE             CLINIC       YES                                     YES
      PEMBROKE
      13550 S.W. 10TH STREET
      PEMBROKE PINES, FL 33401

15.55 HALLANDALE BEACH BLVD     CLINIC         YES                                     YES
      1724 E. HALLANDALE BEACH
      BLVD HALLANDALE, FL 33408
15.56 PINES HIATUS RD          CLINIC          YES                                     YES
      700 N HIATUS RD Case 24-10164-KBO    Doc 280   Filed 03/06/24   Page 92 of 119
      PEMBROKE PINES, FL 33180

15.57 DELRAY BEACH                CLINIC       YES                                     YES
      14590 S MILITARY TRAIL
      DELRAY BEACH, FL 33009

15.58 SILVERLAKES                 CLINIC       YES                                     YES
      601 NW 179TH AVE
      PEMBROKE PINES, FL 33332

15.59 POMPANO BEACH               CLINIC       YES                                     YES
      1990 N FEDERAL HWY
      POMPANO BEACH, FL 33487

15.60 PALM BEACH GARDENS          CLINIC       YES                                     YES
      2543 BURNS ROAD PALM
      BEACH GARDENS, FL 33410

15.61 SOUTH WELLINGTON            CLINIC       YES                                     YES
      3319 SR 7 WELLINGTON, FL
      34103

15.62 ROYAL PALM                  CLINIC       YES                                     YES
      11700 OKEECHOBEE BLVD
      ROYAL PALM BEACH, FL
      33411

15.63 8201 CORPORATE OFFICE       CLINIC       YES                                     YES
      8210 NW 27 ST DORAL, FL
      33172

15.64 WESTCHESTER 107 AVE         CLINIC       YES                                     YES
      1695 SW 107 AVE MIAMI, FL
      33174

15.65 KENDALL 137 AVE             CLINIC       YES                                     YES
      13650 SW 131 ST MIAMI, FL
      33122

15.66 8300 W FLAGLER STREET       CLINIC       YES                                     YES
      SUITE 252 MIAMI, FL 33144

15.67 MIAMI GARDENS PHARMACY CLINIC            YES                                     YES
      5190 NW 167TH ST. MIAMI, FL
      33014

15.68 HIALEAH PALM PHARMACY       CLINIC       YES                                     YES
      4201 PALM AVE UNIT C
      HIALEAH, FL 33326

15.69 41 ARMENIA AVE            CLINIC         YES                                     YES
      4160 N ARMENIA AVE TAMPA,
      FL 33607

15.70 SOUTH TAMPA                 CLINIC       YES                                     YES
      4543 S MANHATTAN AVE
      TAMPA, FL 33607

15.71 47 ARMENIA AVE            CLINIC         YES                                     YES
      4714 N ARMENIA AVE TAMPA,
      FL 33603

15.72 RIVERVIEW                   CLINIC       YES                                     YES
      10508 GIBSONTON DR
      RIVERVIEW, FL 33578

15.73 TEMPLE TERRACE              CLINIC       YES                                     YES
      13510 UNIVERSITY PLAZA,
      TAMPA, FL 33601

15.74 BRANDON                     CLINIC       YES                                     YES
      813 S PARSONS AVE
      BRANDON, FL 33603

15.75 KISSIMMEE                   CLINIC       YES                                     YES
      1507 NORTH JOHN YOUNG
      PARKWAY KISSIMMEE, FL
      32792

15.76 SUN CITY                    CLINIC       YES                                     YES
      1647 SUN CITY CENTER
                      Case 24-10164-KBO
      PLAZA SUN CITY CENTER,               Doc 280   Filed 03/06/24   Page 93 of 119
      FL 33573

15.77 CLERMONT                    CLINIC       YES                                     YES
      260 MOHAWK RD ST
      CLERMONT, FL 34715

15.78 7900 TAMARAC             CLINIC          YES                                     YES
      7900 NORTH UNIVERSITY DR
      TAMARAC, FL 33331

15.79 BIRD RD 100 AVE             CLINIC       YES                                     YES
      10040 SW 40TH ST, MIAMI, FL
      33143

15.80 NORTH MIAMI                 CLINIC       YES                                     YES
      1200 NE 125TH ST, NORTH
      MIAMI, FL 33143

15.81 NW 119TH ST                 CLINIC       YES                                     YES
      1272 NW 119TH ST, MIAMI, FL
      33143

15.82 HIALEAH E 4TH AVE           CLINIC       YES                                     YES
      3855 E 4TH AVE, HIALEAH, FL
      33143

15.83 5521 SW 8 ST                CLINIC       YES                                     YES
      5521 SW 8TH ST CORAL
      GABLES, FL 33143

15.84 QUANTUM PEDIATRICS          CLINIC       YES                                     YES
      4580 SW 8TH ST, CORAL
      GABLES, FL 33143

15.85 ALLAPATTAH 17 AVE           CLINIC       YES                                     YES
      2901 NW 17TH AVE,
      ALLAPATTAH, FL 33142

15.86 CORAL WAY 78 AVE            CLINIC       YES                                     YES
      7800 SW 24TH ST MIAMI, FL
      33146

15.87 NORTHSIDE                  CLINIC        YES                                     YES
      7900 NW 27TH AVE MIAMI, FL
      33161

15.88 DANIA BEACH                 CLINIC       YES                                     YES
      368 E DANIA BEACH BLVD,
      DANIA, FL 33004

15.89 JACKSON NORTH               CLINIC       YES                                     YES
      100 NW 170TH ST MIAMI, FL
      33169

15.90 VACANT BAY 4884             CLINIC       YES                                     YES
      4884 NW 183RD STREET
      MIAMI GARDENS, FL 33055

15.91 NW 119TH ST PEDIATRICS      CLINIC       YES                                     YES
      1240 NW 119TH ST, MIAMI, FL
      33143

15.92 14750 CORPORATE OFFICE      CLINIC       YES                                     YES
      14750 NORTHWEST 77TH
      COURT MIAMI LAKES, FL
      33179

15.93 GOLDEN GLADES               CLINIC       YES                                     YES
      1000 PARK CENTRE BLVD
      MIAMI, FL 33169

15.94 823 BRANDON              CLINIC          YES                                     YES
      823 SOUTH PARSONS
      AVENUE BRANDON, FL 33612

15.95 MIAMI SHORES                CLINIC       YES                                     YES
      9700 NE 2ND AVE MIAMI, FL
      33138
15.96 BAY 18463 (SOUTH DADE     CLINIC         YES                                     YES
      SHOPPING CENTER) Case 24-10164-KBO   Doc 280   Filed 03/06/24   Page 94 of 119
      18463 S. DIXIE HWY MIAMI,
      FL 33157

15.97 PEMBROKE PLACE NORTH        CLINIC       YES                                     YES
      PLAZA
      8967-8973 TAFT STREET
      PEMBROKE PINES, FL 33016

15.98 PEMBROKE PLACE NORTH        CLINIC       YES                                     YES
      PLAZA PHARMACY
      8979 TAFT STREET
      PEMBROKE PINES, FL 33016

15.99 1430 POWERLINE RD           CLINIC       YES                                     YES
      1430 POWERLINE RD
      POMPANO BEACH, FL 33301

15.100 NORTH TAMPA                CLINIC       YES                                     YES
       7820 N ARMENIA AVE
       TAMPA, FL 33618

15.101 MIAMI GARDENS              CLINIC       YES                                     YES
       5190 NW 167TH ST MIAMI,
       FL 33014

15.102 MIAMI GARDENS (UNIT 109, CLINIC         YES                                     YES
       101, 100)
       5190 NW 167TH ST MIAMI,
       FL 33014

15.103 FLAGLER 84TH             CLINIC         YES                                     YES
       8420 W FLAGLER ST MIAMI,
       FL 33144

15.104 AVENTURA 28TH AVE          CLINIC       YES                                     YES
       21000 NE 28TH AVE MIAMI,
       FL 33180

15.105 4670 FOREST HILL BLVD      CLINIC       YES                                     YES
       4670 FOREST HILL BLVD
       WEST PALM BEACH, FL
       33428

15.106 WEST MIAMI PT             CLINIC        YES                                     YES
       704 SW 68TH AVE MIAMI, FL
       33012

15.107 N KENDALL DR               CLINIC       YES                                     YES
       9555 N KENDALL DR MIAMI,
       FL 33156

15.108 CORPORATE OFFICES 3301 CLINIC           YES                                     YES
       641 UNIVERSITY
       BOULEVARD MIAMI, FL
       33410

15.109 PALM SPRINGS               CLINIC       YES                                     YES
       1650 S CONGRESS AVE
       PALM SPRINGS, FL 33441

15.110 MEDLEY COMMERCIAL          CLINIC       YES                                     YES
       CENTER
       7911 N.W. 79ND AVENUE
       UNIT: 219A MEDLEY, FL
       33166

15.111 1217 S MILITARY           CLINIC        YES                                     YES
       1217 S. MILITARY TR. WEST
       PALM BEACH, FL 33432

15.112 944 S MILITARY TRAIL       CLINIC       YES                                     YES
       926 S. MILITARY TRAIL
       WEST PALM BEACH, FL
       33415

15.113 BRAVE CHURCH PARKING       CLINIC       YES                                     YES
       LOT
       1300 SW 87TH AVE. MIAMI,
       FL 33174
15.114 81 BROWARD BLVD          CLINIC          YES                                     YES
       8138 W BROWARD Case
                        BLVD 24-10164-KBO   Doc 280   Filed 03/06/24   Page 95 of 119
       PLANTATION, FL 33314

15.115 CONWAY RD                  CLINIC        YES                                     YES
       3100 CONWAY ROAD
       ORLANDO, FL 32703

15.116 ST. CLOUD                  CLINIC        YES                                     YES
       3505 PROGRESS LANE ST
       CLOUD, FL 33126

15.117 ANDOVER                    CLINIC        YES                                     YES
       20215 NW 2ND AVE NORTH
       MIAMI, FL 33143

15.118 NARANJA                    CLINIC        YES                                     YES
       26085 S DIXIE HWY
       NARANJA, FL 33032

15.119 PALM HARBOR                CLINIC        YES                                     YES
       34041 US 19 NORTH PALM
       HARBOR, FL 34684

15.120 LAUDERHILL COMMERCIAL      CLINIC        YES                                     YES
       7200 W. COMMERCIAL
       BLVD. LAUDERHILL, FL
       33161

15.121 LAUDERHILL COMMERCIAL      CLINIC        YES                                     YES
       7200 W. COMMERCIAL
       BLVD. LAUDERHILL, FL
       33161

15.122 LAUDERHILL COMMERCIAL      CLINIC        YES                                     YES
       7200 W. COMMERCIAL
       BLVD. LAUDERHILL, FL
       33161

15.123 LAUDERHILL COMMERCIAL      CLINIC        YES                                     YES
       7200 W. COMMERCIAL
       BLVD. LAUDERHILL, FL
       33161

15.124 CORAL SPRINGS              CLINIC        YES                                     YES
       UNIVERSITY
       939 N. UNIVERSITY DRIVE
       CORAL SPRINGS, FL 33134

15.125 SOUTH SUNSET DR            CLINIC        YES                                     YES
       7306 SW 117TH AVE MIAMI,
       FL 33630

15.126 MIAMI GARDENS 27TH         CLINIC        YES                                     YES
       19654-B NW 27TH AVE
       MIAMI GARDENS, FL 33056

15.127 PINES FLAMINGO             CLINIC        YES                                     YES
       601 N. FLAMINGO ROAD
       PEMBROKE PINES, FL
       33312

15.128 MARY BETHUNE               CLINIC        YES                                     YES
       1830 W OREGON STREET
       TAMPA, FL 33607

15.129 13550 SW 10TH STREET       CLINIC        YES                                     YES
       PEMBROKE PINES, FL
       33401

15.130 13940 SWW 47TH STREET      CLINIC        YES                                     YES
       MIAMI, FL 33326
Cano Health, LLC             Case 24-10164-KBO                  Doc 280         Filed 03/06/24   Page 96 of 119Case Number:   24-10167


   Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

   No
   Yes. State the nature of the information collected and retained.
     Patient records

   Does the debtor have a privacy policy about that information?
      No
      Yes
Cano Health, LLC              Case 24-10164-KBO                  Doc 280         Filed 03/06/24           Page 97 of 119Case Number:                  24-10167


   Part 9:       Personally Identifiable Information

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or profit-sharing
plan made available by the debtor as an employee benefit?

   No. Go to Part 10.
   Yes. Does the debtor serve as plan administrator?

      No. Go to Part 10.
      Yes. Fill in below:
       Describe:    Cano Health 401(k) Plan                                       EIN:   XX-XXXXXXX

       Has the plan been terminated?
          No.
          Yes.
Cano Health, LLC                Case 24-10164-KBO                      Doc 280          Filed 03/06/24              Page 98 of 119Case Number:                      24-10167


    Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts

Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold, moved, or
transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
associations, and other financial institutions.

        None

 Financial Institution Name and Address                             Last 4 Digits of Acct Number            Type of Account         Date of Closing        Last Balance

 18.1 FIFTH THIRD                                                 9994                                    DISBURSEMENTS                 2/28/2023                      $0
      999 VANDERBILT BEACH ROAD NAPLES, FL
      34108

 18.2 FIFTH THIRD                                                 7936                                    DISBURSEMENTS                 2/28/2023                      $0
      999 VANDERBILT BEACH ROAD NAPLES, FL
      34108

 18.3 FIFTH THIRD                                                 3323                                    DISBURSEMENTS                 3/31/2023                      $0
      999 VANDERBILT BEACH ROAD NAPLES, FL
      34108

 18.4 FIFTH THIRD                                                 8819                                    COLLECTIONS                   3/31/2023                      $0
      999 VANDERBILT BEACH ROAD NAPLES, FL
      34108

 18.5 FIFTH THIRD                                                 2754                                    COLLECTIONS                   3/31/2023                      $0
      999 VANDERBILT BEACH ROAD NAPLES, FL
      34108

 18.6 FIFTH THIRD                                                 9913                                    COLLECTIONS                   6/30/2023                      $0
      999 VANDERBILT BEACH ROAD NAPLES, FL
      34108

 18.7 FIFTH THIRD                                                 9515                                    COLLECTIONS                   6/30/2023                      $0
      999 VANDERBILT BEACH ROAD NAPLES, FL
      34108

 18.8 FIFTH THIRD                                                 3380                                    COLLECTIONS                   6/30/2023                      $0
      999 VANDERBILT BEACH ROAD NAPLES, FL
      34108

 18.9 WELLS FARGO                                                 3592                                    COLLECTIONS                    8/1/2022                      $0
      420 MONTGOMERY SAN FRANCISCO, CA
      94104
Cano Health, LLC                 Case 24-10164-KBO                     Doc 280           Filed 03/06/24             Page 99 of 119Case Number:                  24-10167


    Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

19. Safe deposit boxes

List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

        None

 Depository Institution Name and                     Names of Anyone with Access to it                Description of the Contents            Does Debtor still have it?
 Address                                             and Address

 19.1 NONE
Cano Health, LLC                Case 24-10164-KBO                      Doc 280           Filed 03/06/24              Page 100 of 119Case Number:                      24-10167


    Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

20. Off-premises storage

List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
business.

        None

 Facility Name and Address                        Names of Anyone with                 Address        Description of the Contents              Does Debtor still have
                                                  Access to it                                                                                 it?

 20.1 LOVE'S STORAGE                                                                                RECREATIONAL VEHICLE ("RV")                               No
      SOLUTIONS                                                                                                                                               Yes
      12503 APEX GREAT BASIN
      WAY LAS VEGAS, NV 89115
Cano Health, LLC                Case 24-10164-KBO                     Doc 280           Filed 03/06/24              Page 101 of 119Case Number:                      24-10167


    Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another

List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or
rented property.

        None

 Owner’s Name and Address                                 Location of the Property                            Description of the Property                             Value

 21.1 NONE
Cano Health, LLC               Case 24-10164-KBO                      Doc 280           Filed 03/06/24             Page 102 of 119Case Number:                      24-10167


    Part 12:       Details About Environmental Information


For the purpose of Part 12, the following definitions apply:
■ Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected
(air, land, water, or any other medium)
■ Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or
utilized.
■ Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

        None

 Case Title and Case Number                         Court or Agency Name and Address                            Nature of Proceeding                     Status

 22.1 NONE
Cano Health, LLC               Case 24-10164-KBO                      Doc 280           Filed 03/06/24             Page 103 of 119Case Number:                      24-10167


    Part 12:       Details About Environmental Information


For the purpose of Part 12, the following definitions apply:
■ Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected
(air, land, water, or any other medium)
■ Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or
utilized.
■ Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable under or in violation of an environmental law?

        None

 Site Name and Address                    Governmental Unit Name and Address                        Environmental Law, if Known                        Date of Notice

 23.1 NONE
Cano Health, LLC               Case 24-10164-KBO                      Doc 280           Filed 03/06/24             Page 104 of 119Case Number:                      24-10167


    Part 12:       Details About Environmental Information


For the purpose of Part 12, the following definitions apply:
■ Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected
(air, land, water, or any other medium)
■ Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or
utilized.
■ Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

24. Has the debtor notified any governmental unit of any release of hazardous material?

        None

 Site Name and Address                    Governmental Unit Name and Address                        Environmental Law, if Known                        Date of Notice

 24.1 NONE
Cano Health, LLC               Case 24-10164-KBO                    Doc 280           Filed 03/06/24             Page 105 of 119Case Number:                24-10167


    Part 13:      Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest

List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

        None

 Business Name and Address                            Describe the Nature of the              Employer Identification Number                Dates Business Existed
                                                      Business                                (Do not include SSN or ITIN)

 25.1 SEE ATTACHMENT AFTER SOFA                                                                                                                       -
      PART 13
Cano Health, LLC              Case 24-10164-KBO                    Doc 280          Filed 03/06/24             Page 106 of 119Case Number:       24-10167


   Part 13:       Details About the Debtor's Business or Connections to Any Business

26. Books, records, and financial statements

26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

        None

 Name and Address                                                                                                           Dates of Service

 26a.1 BRIAN D. KOPPY                                                                                                     4/5/2021 - 9/28/2023
       REDACTED

 26a.2 BRIAN LEON                                                                                                                 4/12/2021 -
       9725 NW 117TH AVENUE MIAMI, FL 33178

 26a.3 ELADIO GIL                                                                                                                 1/9/2023 -
       9725 NW 117TH AVENUE MIAMI, FL 33178

 26a.4 JOSE DANIEL GONZALEZ DOMINGUEZ                                                                                             12/6/2021 -
       9725 NW 117TH AVENUE MIAMI, FL 33178

 26a.5 MARK A. NOVELL                                                                                                    5/12/2021 - 10/9/2023
       REDACTED
Cano Health, LLC               Case 24-10164-KBO                    Doc 280          Filed 03/06/24             Page 107 of 119Case Number:                     24-10167


   Part 13:       Details About the Debtor's Business or Connections to Any Business

26. Books, records, and financial statements

26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement within 2 years before
filing this case.

        None

 Name and Address                                                                                                               Dates of Service

 26b.1 BDO USA,LLP                                                                                                                       -
       1450 BRICKELL AVE MIAMI, FL 33131

 26b.2 ERNST & YOUNG U.S. LLP                                                                                                            -
       200 SOUTH ORANGE AVE ORLANDO, FL 32801

 26b.3 KPMG LLP                                                                                                                          -
       8350 BROAD ST #900 MCLEAN, VA 22102
Cano Health, LLC               Case 24-10164-KBO                     Doc 280           Filed 03/06/24             Page 108 of 119Case Number:   24-10167


    Part 13:      Details About the Debtor's Business or Connections to Any Business

26. Books, records, and financial statements

26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

        None

 Name and Address                                          If any Books of Account and Records are Unavailable, Explain Why

 26c.1 NONE
Cano Health, LLC                Case 24-10164-KBO                     Doc 280           Filed 03/06/24             Page 109 of 119Case Number:                       24-10167


    Part 13:       Details About the Debtor's Business or Connections to Any Business

26. Books, records, and financial statements

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement within 2 years
before filing this case.

        None

 Name and Address

                                                                                                                                                                              1
 26d.1 SEE FOOTNOTE
Cano Health, LLC            Case 24-10164-KBO   Doc 280   Filed 03/06/24   Page 110 of 119Case Number:   24-10167

Footnotes- Part 13, Question 26d

 1.Financial statements are publicly filed
Cano Health, LLC               Case 24-10164-KBO                    Doc 280           Filed 03/06/24   Page 111 of 119Case Number:          24-10167


    Part 13:      Details About the Debtor's Business or Connections to Any Business

27. Inventories

Have any inventories of the debtor’s property been taken within 2 years before filing this case?

        None

 Name of the Person who Supervised the                    Name and Address of the Person who has        Date of Inventory   Dollar Amount   Basis
 Taking of the Inventory                                  Possession of Inventory Records

 27.1 NONE
Case 24-10164-KBO       Doc 280      Filed 03/06/24     Page 112 of 119

                  Statements – Part 13 – Question 25
       Other businesses in which the debtor has or had an interest
Cano Health, LLC             Case 24-10164-KBO                 Doc 280         Filed 03/06/24           Page 113 of 119Case Number:                  24-10167


   Part 13:      Details About the Debtor's Business or Connections to Any Business

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the
debtor at the time of the filing of this case.

       None

 Name and Address                                             Positition and Nature of any Interest                        Percent of Interest, if any

 28.1 DAVID ARMSTRONG                                       SECRETARY
      9725 NW 117TH AVENUE MIAMI, FL 33178

 28.2 DEMARQUETTE KENT                                      CHIEF EXECUTIVE OFFICER
      9725 NW 117TH AVENUE MIAMI, FL 33178

 28.3 ELADIO GIL                                            INTERIM CHIEF FINANCIAL OFFICER
      9725 NW 117TH AVENUE MIAMI, FL 33178

 28.4 JENNIFER HEVIA                                        CHIEF PEOPLE OFFICER
      9725 NW 117TH AVENUE MIAMI, FL 33178

 28.5 MICHAEL SHEEHAN                                       ASSOCIATE GENERAL COUNSEL, SEC COMPLIANCE
      9725 NW 117TH AVENUE MIAMI, FL 33178

 28.6 PRIMARY CARE (ITC) INTERMEDIATE                       MEMBER
      HOLDINGS, LLC
      9725 NW 117TH AVENUE MIAMI, FL 33178

 28.7 ROBERT CAMERLINCK                                     CHIEF OPERATING OFFICER
      9725 NW 117TH AVENUE MIAMI, FL 33178
Cano Health, LLC             Case 24-10164-KBO                  Doc 280         Filed 03/06/24           Page 114 of 119Case Number:                  24-10167


   Part 13:      Details About the Debtor's Business or Connections to Any Business

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the
debtor, or shareholders in control of the debtor who no longer hold these positions?

       None

 Name and Address                                   Positition and Nature of Interest                       Period During Which Position Was Held

 29.1 AMY CHARLEY                                  CHIEF ADMINISTRATIVE OFFICER                                              - 5/26/2023
      REDACTED

 29.2 BARBARA FERREIRO                             CHIEF BRAND OFFICER                                                       - 8/10/2023
      REDACTED

 29.3 BRIAN D. KOPPY                               CHIEF FINANCIAL OFFICER                                                   - 9/28/2023
      REDACTED

 29.4 FELIX QUEVEDO                                PRESIDENT, DGM                                                             - 6/9/2023
      REDACTED
                                               1
 29.5 FREDERICK S. GREEN                           INTERIM CHIEF LEGAL OFFICER                                              - 12/23/2023
      REDACTED

 29.6 JASON R. CONGER                              CHIEF GROWTH OFFICER                                                       - 7/1/2023
      REDACTED

 29.7 JOHN J. MCGOOHAN                             CHIEF STRATEGY OFFICER                                                     - 5/3/2023
      REDACTED

 29.8 MARK A. NOVELL                               CHIEF ACCOUNTING OFFICER                                                  - 10/9/2023
      REDACTED

 29.9 MARLOW BLAS HERNANDEZ                        CHIEF EXECUTIVE OFFICER                                                   - 6/18/2023
      REDACTED

 29.10 MICHAEL QUEVEDO                             PRESIDENT, UNIVERSITY HEALTH CARE                                          - 6/9/2023
       REDACTED

 29.11 PEDRO CORDERO                               CHIEF POPULATION HEALTH OFFICER                                           - 8/14/2023
       REDACTED

 29.12 RICHARD B. AGUILAR                          CHIEF CLINICAL OFFICER                                                     - 8/8/2023
       REDACTED
Cano Health, LLC            Case 24-10164-KBO    Doc 280   Filed 03/06/24   Page 115 of 119Case Number:   24-10167

Footnotes- Part 13, Question 29

 1.End date includes period as 1099 contractor
Cano Health, LLC               Case 24-10164-KBO                     Doc 280              Filed 03/06/24          Page 116 of 119Case Number:                     24-10167


    Part 13:      Details About the Debtor's Business or Connections to Any Business

30. Payments, Distributions, or Withdrawals Credited or Given to Insiders

Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on
loans, stock redemptions, and options exercised?

        None

 Name and Address of Recipient and Relationship to                            Amount         Amount Description          Dates      Reason for Providing the Value
 Debtor

 30.1 SEE SOFA PART 2, QUESTION 4                                                     -
                         TOTAL SEE SOFA PART 2, QUESTION 4                          $0

                                                                  TOTAL             $0
Cano Health, LLC            Case 24-10164-KBO                 Doc 280         Filed 03/06/24          Page 117 of 119Case Number:   24-10167


   Part 13:      Details About the Debtor's Business or Connections to Any Business

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       None

 Name of Parent Corporation                                    Employer Identification Number of the Parent Corporation

 31.1 CANO HEALTH, INC.                                      XX-XXXXXXX
Cano Health, LLC            Case 24-10164-KBO                  Doc 280         Filed 03/06/24           Page 118 of 119Case Number:   24-10167


   Part 13:      Details About the Debtor's Business or Connections to Any Business

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

       None

 Name of Pension Fund                                           Employer Identification Number of the Pension Fund

 32.1 NONE
                       Case 24-10164-KBO               Doc 280         Filed 03/06/24         Page 119 of 119


Cano Health, LLC                                                                                   Case Number:             24-10167

    Part 14:         Signature and Declaration

Warning -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
I have examined the information in this Statement of Financial Affairs and any attachments and have a resonable belief that the
information is true and correct.
I declare under penalty of perjury that the foregoing is true and correct.


Executed on:           March 6, 2024




Signature: /s/ Eladio Gil                                             Eladio Gil, Interim Chief Financial Officer
                                                                      Name and Title




Are additional pages to the Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?


  X No

      Yes
